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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


                                  :
 DONNA CURLING, et al.,           :
                                  :
     Plaintiff,                   :
                                  :
                                       CIVIL ACTION NO.
 v.                               :
                                       1:17-cv-2989-AT
                                  :
 BRAD RAFFENSPERGER, et al.,      :
                                  :
                                  :
     Defendants.                  :
                        OPINION AND ORDER

       Introduction

       This election case is currently before the Court on the Defendants’ Motions

for Summary Judgment. [Docs. 1567, 1568, 1571].

       Elections are contentious matters. So too are election cases. See Bush v.

Gore, 531 U.S. 98 (2000). But the central issue in this case is not about partisan

advantage, nor is it about how the winner of any specific election should be selected

or why a particular group of voters or candidates have allegedly been favored over

others, and it does not involve allegations of fraud. Cf. Jacobson v. Fla. Sec’y of

State, 974 F.3d 1236 (11th Cir. 2020); Wood v. Raffensperger, 981 F.3d 1307 (11th

Cir. 2020). Instead, this case focuses on whether Georgia’s statewide electronic

voting system,1 as currently designed and implemented, suffers from major


1 The State’s election system equipment is uniformly used throughout Georgia for in-person voting

in all elections, except when a select number of jurisdictions hold elections for a small number of
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cybersecurity deficiencies that unconstitutionally burden Plaintiffs’ First and

Fourteenth Amendment rights and capacity to case effective votes that are

accurately counted.2

       Since its inception, this election case has gone through multiple stages of

evolution. Plaintiffs have raised challenges to both the original, critically outdated

Direct Recording Electronic (“DRE”) voting system and the current Dominion

Ballot Marking Device (“BMD”) system that replaced the DRE system several years

into the case, starting in 2020. A plethora of new factual and legal developments

emerged along the way, topped off by the breach of the Coffee County election

system in early 2021. This breach and the copying and sharing of election system

software and voting data to actors and entities inside and outside of the state, as

well as through the internet, bear serious ramifications for the future vulnerability

of the State’s election system as a whole. Plaintiffs initially discovered this breach

in 2021 and, thereafter in 2022, conducted a series of depositions of individuals

involved in the breach, some of whom were indicted in the pending RICO criminal

case in Fulton County Superior Court. See Georgia v. Trump et al., 23SC188947

(Fulton Cty. Super. Ct. Aug. 14, 2023).




local offices in off election cycle years. O.C.G.A. § 21-2-300. Absentee ballots are processed and
tallied on county electronic scanners, which are also provided by the State.
2 The Court notes that the record evidence does not suggest that the Plaintiffs are conspiracy

theorists of any variety. Indeed, some of the nation’s leading cybersecurity experts and computer
scientists have provided testimony and affidavits on behalf of Plaintiffs’ case in the long course of
this litigation.
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       This case’s broad evidentiary scope can be daunting. To assist the reader’s

review of the Order, the Court has started by first providing a cast of many of the

key individuals and experts who, in the last few years, have played a role in this

case as well as a glossary of specialized terms and abbreviations. The Court then

proceeds to provide information necessary to give context for a range of relevant

topics, including, among others:

       • the use of computerized electronic voting systems in Georgia and
         the history of the cybersecurity and voting issues raised by
         Plaintiffs in their series of legal challenges, as previously addressed
         by this Court;

       • the cybersecurity and reliability issues surrounding the use of the
         relevant electronic voting systems and the auditing of such systems
         and voting results;

       • the cybersecurity experts’ evaluations and testimony regarding the
         State’s voting systems and exposure to breaches, especially in the
         absence of timely, needed software patches and the
         implementation of other cybersecurity protective measures;

       • the Department of Homeland Security’s Cybersecurity &
         Infrastructure Agency’s (“CISA”) review of the Dominion
         ImageCast X system and software (currently used in Georgia) and
         CISA’s issuance of a national advisory notice on June 3, 2022
         recommending that jurisdictions using this particular Dominion
         software and related technology implement specific measures to
         limit unauthorized access or manipulation of voting systems;

       • the serious security issues and long-term ramifications
         surrounding the breach of the Coffee County election system and
         unauthorized access to the State Dominion voting software and
         election data, and the resulting impact on future voting security;3




3 Issues regarding the State Defendants’ delayed and incomplete review of the Coffee County

breach are addressed in Section IV.E.4.f of this Order.
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      • Defendants’ principal defense that Plaintiffs lack standing to assert
        the constitutional claims raised in this case and, on the other side,
        the grounds Plaintiffs rely on to establish their legal standing to
        pursue their claims in this case — grounds including the alleged
        severe burden placed on their capacity to cast an effective and
        reliable vote by Defendants’ handling of the election system;

      • The Court’s legal and evidentiary analysis of the issues in dispute
        raised by the Defendants’ pending Motions for Summary
        Judgment.

      As these evidentiary and legal issues are complex and interwoven, review of

this Order takes patience. Ultimately, the Court concludes that there are material

facts in dispute presented in the record that preclude its grant of the State

Defendants’ Motions for Summary Judgment on the primary claims. [D0cs. 1567,

1568.] The Court will resolve these material factual disputes and related legal

issues based on the evidence presented at a bench trial to begin on January 9, 2024.

That said, the Court finds that several distinct requests for relief advanced solely

by the Coalition Plaintiffs are largely outside the scope of this case, as discussed in

Section V.D. of this Order. The Court also concludes that Fulton County’s Motion

for Summary Judgment [Doc. 1571] should be granted based on the County’s lack

of direct authority over the voting system matters in dispute here.

      To be clear from the start, the Court does not have the legal authority to grant

the broadest relief that Plaintiffs request in this case without directly infringing on

the state legislature’s vested power to enact legislation. Even if Plaintiffs prevail on

their substantive claims, the Court cannot order the Georgia legislature to pass

legislation creating a paper ballot voting system or judicially impose a statewide


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paper ballot system as injunctive relief in this case. Quite simply, the Court has the

legal authority to identify constitutional deficiencies with the existing voting

system, but it does not have the power to prescribe or mandate new voting systems

(i.e., a paper ballot system) to replace the current, legislatively enacted system. See

Burdick v. Takushi, 504 U.S. 428, 433–34 (1992); Wood v. Raffensperger, 501 F.

Supp. 3d 1310, 1327–28 (N.D. Ga. 2020), aff’d, 981 F.3d 1307 (11th Cir. 2020).

      That said, as the Eleventh Circuit previously recognized in this case, “suits

challenging election procedures [or policies] are routine,” and there are critical

issues raised in this case that do not “present a political question beyond this

Court’s reach.” Curling v. Raffensperger, 50 F.4th 1114, 1121 n.3 (11th Cir. 2022).

Still, Plaintiffs carry a heavy burden to establish a constitutional violation

connected to Georgia’s BMD electronic voting system, whether in the manner in

which the State Defendants have implemented the voting system — i.e., that it

imposes serious security voting risks and burdens impacting Plaintiffs’ voting

rights — or otherwise. If Plaintiffs prevail at trial on one or more of their claims,

there are pragmatic, sound remedial policy measures that could be ordered or

agreed upon by the parties, such as (1) providing for the use of printed ballots for

vote counting without the use of QR codes, (2) administering a broader scope and

number of election audits to address vote count accuracy and other related issues,

and (3) implementing other essential cybersecurity measures and policies

recommended by the nation’s leading cybersecurity experts and firms, including

the Department of Homeland Security’s CISA.

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       As the Court has consistently advised the parties, it is in the public interest

for them to seriously engage in the hard work of attempting to reach a consensual

resolution regarding those voting system remedial measures that the State could

implement and that the legislature could authorize funding for in the year ahead.

The Court cannot wave a magic wand in this case to address the varied challenges

to our democracy and election system in recent years, including those presented in

this case. But reasonable, timely discussion and compromise in this case, coupled

with prompt, informed legislative action, might certainly make a difference that

benefits the parties and the public. For now, though, the Court must proceed with

trial starting on January 7, 2023.

       Legal Standard

       The Court may grant summary judgment only if the record shows “that there

is no genuine issue as to any material fact and that the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A factual issue is genuine if

there is sufficient evidence for a reasonable jury to return a verdict in favor of the

non-moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

A factual issue is material if resolving the factual issue might change the suit’s

outcome under the governing law. Id. The motion should be granted only if no

rational fact finder could return a verdict in favor of the non-moving party. Id. at

249.

       When ruling on the motion, the Court must view all the evidence in the

record in the light most favorable to the non-moving party and resolve all factual

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disputes in the non-moving party’s favor. See Reeves v. Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 150 (2000). The moving party need not positively

disprove the opponent’s case; rather, the moving party must establish the lack of

evidentiary support for the non-moving party’s position. See Celotex Corp. v.

Catrett, 477 U.S. 317, 325 (1986). If the moving party meets this initial burden, in

order to survive summary judgment, the non-moving party must then present

competent evidence beyond the pleadings to show that there is a genuine issue for

trial. Id. at 324–26. The essential question is “whether the evidence presents a

sufficient disagreement to require submission to a jury [or trial judge] or whether

it is so one-sided that one party must prevail as a matter of law.” Anderson, 477

U.S. at 251–52.

       Cast of Characters and Glossary of Terms

       Before the Court plunges into the factual background of this matter, it

provides for the reader’s reference a “Cast of Characters” that includes the various

parties, entities, and other individuals who play a significant role in this case. The

Court lists only the individuals and entities that are specifically mentioned in this

Order.4

                                   CAST OF CHARACTERS5

4  When citing to depositions or transcripts, the Court references the official deposition or
transcript page number. When citing to prior orders issued by the Court or the parties’ briefs, the
Court uses the page number indicated at the bottom of the order or brief. Where a document or
exhibit includes no clear page number identification, the Court refers to the designated ECF page
number and indicates this reference by stating in the citation “at ECF [page number].”
5 In providing this background information, the Court does not include record citations to identify

the primary individuals but does include citations to identify experts and secondary players.


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      Plaintiffs and Their Representatives
        Curling Plaintiffs   The Curling Plaintiffs include Donna Curling,
                             Donna Price, and Jeffrey Schoenberg.
         Coalition Plaintiffs        The Coalition Plaintiffs include the Coalition for
                                     Good Governance (“CGG”), Laura Digges,
                                     William Digges, Ricardo Davis, and Megan
                                     Missett.
         The Coalition for           CGG is a non-profit, non-partisan corporation
         Good Governance             registered under the law of Colorado that
         (“CGG”)                     concentrates on issues of election security and
                                     transparency.
         Marilyn Marks               Ms. Marks is the executive director of CGG.
                                     However, she is not an individual Plaintiff in this
                                     litigation.

      Defendants
       State Defendants              The State Defendants include the Secretary of
                                     State of Georgia in his official capacity and
                                     members of the Georgia State Election Board,
                                     also in their official capacities.
         Fulton County               The Fulton County Defendants include members
         Defendants                  of the Fulton County Board of Registration and
                                     Elections in their official capacities.
      Officials of the Georgia Secretary of State’s Office
        Brad Raffensperger    Mr. Raffensperger is Georgia’s Secretary of State.
        Gabriel Sterling      Mr. Sterling is the Chief Operations Officer for
                              Georgia’s Secretary of State.
        Merritt Beaver        Mr. Beaver is the Chief Information Officer for
                              Georgia’s Secretary of State.
        Chris Harvey          Mr. Harvey is the former Director of Elections for
                              the Georgia Secretary of State (succeeded by
                              Blake Evans). He was previously the Chief
                              Investigator and Deputy Inspector General for
                              the Georgia Secretary of State.
        Michael Barnes        Mr. Barnes was the Director of the Center for
                              Election Services (“CES”) maintained by

There are also additional experts and individuals who have appeared and given testimony during
the long course of this litigation who are not identified in this list of characters.
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                        Kennesaw State University (“KSU”) and reported
                        to the Executive Director, Merle King. After the
                        State closed the KSU CES, Mr. Barnes was
                        transferred in January 2018 to perform the same
                        role in the Secretary of State’s Office. (9/17/2018
                        PI Order, Doc. 309 at 35.)
  Ryan Germany          Mr. Germany is the former general counsel for the
                        Georgia Secretary of State. Charlene McGowan
                        replaced Mr. Germany on February 25, 2023.
Experts
Plaintiffs’ Experts
  Dr. J. Alex           Dr. Halderman is a Professor of Computer
  Halderman             Science & Engineering at the University of
                        Michigan and Director of the University’s Center
                        for Computer Security and Society. He is a
                        nationally recognized expert in the fields of
                        cybersecurity and computer science in the context
                        of elections. He has testified in numerous forums
                        regarding cybersecurity, including at the United
                        States Senate Select Committee on Intelligence in
                        connection with its 2017 investigation of Russian
                        election hacking. He is one of the Curling
                        Plaintiffs’ experts. (Pls.’ Statement of Additional
                        Facts, Doc. 1637 ¶ 134.)
  Dr. Philip Stark      Dr. Stark is a Professor of Statistics and Associate
                        Dean of Mathematical and Physical Sciences at
                        the University of California, Berkeley; a faculty
                        member in the Graduate Program in
                        Computational Data Science and Engineering; a
                        co-investigator at the Berkeley Institute for Data
                        Science; and was previously the Chair of the
                        Department of Statistics and Director of the
                        Statistical Computing Facility. (See generally
                        Sept. 9, 2018 Decl. of Philip B. Stark, Doc. 296.)
                        He is a coauthor on papers on end-to-end
                        cryptographically verifiable voting systems. Dr.
                        Stark has consulted for many government
                        agencies and currently serves on the Advisory
                        Board of the U.S. Election Assistance
                        Commission and its cybersecurity subcommittee.
                        In addition to testifying as an expert in statistics
                        in both federal and state courts, Dr. Stark has
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                             testified before a host of other federal and state
                             legislative committees about election integrity,
                             voting equipment, and election audits. Dr. Stark’s
                             statistical “risk-limiting audits” approach to
                             auditing elections has been incorporated into
                             statutes in several states and in some respects in
                             Georgia’s new Election Code. (Id.)
        Kevin Skoglund       Mr. Skoglund is a cybersecurity expert and
                             consultant. He serves on the National Institute of
                             Science and Technology Voting System
                             Cybersecurity Working Group, which is an
                             advisory group to the U.S. Election Assistance
                             Commission. He is one of the Coalition Plaintiffs’
                             experts. (Dec. 12, 2022 Dep. of Kevin Skoglund,
                             Doc. 1561 pp. 41–42, 114.)
        Dr. Andrew Appel     Dr. Appel is the Eugene Professor of Computer
                             Science at Princeton University and served as
                             Chair of the Computer Science Department from
                             2009–15. Computer security is one of his primary
                             areas of specialization. (Declaration of Andrew
                             Appel, Doc. 1678-2 ¶¶ 1-6.)
        Harri Hursti         Mr. Hursti is an internationally recognized
                             security engineer, programmer, and “ethical
                             hacker” who specializes in computer election
                             security issues. (Declaration of Harri Hursti, Doc.
                             680-1 at ECF 37–43, ¶¶ 3–6.)
       Defendants’ Experts in Prior Stages of this Case6
        Dr. Juan Gilbert     Professor Gilbert is a Professor and Chair of the
                             Computer & Information Science & Engineering
                             Department of the University of Florida. He
                             served as one of the State Defendants’ experts
                             previously in this case. His work focuses on
                             individuals with disabilities’ access to technology,
                             including voting technologies. (10/11/20 PI
                             Order, Doc. 964 at 69.)
        Dr. Michael Shamos   Dr. Shamos is a Distinguished Career Professor in
                             the School of Computer Science at Carnegie
                             Mellon University and Director of the M.S. in

6 Defendants have given no indication at this juncture that these experts will be used in the current

phase of this case or at trial. Rather, Plaintiffs cite to the testimony of Dr. Gilbert and Dr. Shamos
in support of their arguments in opposition to Defendants’ summary judgment motions.
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                      Artificial Intelligence and Innovation at the
                      Language Technologies Institute. He has
                      participated in the examinations of electronic
                      voting systems in a number of states and testified
                      before an array of legislative bodies. He served as
                      an expert witness for the Secretary of State in the
                      2019 preliminary injunction hearing dealing with
                      the DRE voting machines. (July 10, 2019 Decl. of
                      Michael Shamos, Doc. 472-1 ¶ 4.) He has not
                      provided expert testimony in this case since 2019.
Data System Breach in Coffee County
 Cathy Latham         At the time of the events in Coffee County, Ms.
                      Latham served as the Coffee County Republican
                      Party Chair. (Aug. 8, 2022 Dep. of Cathleen
                      Latham, Doc. 1471-1 p. 17.)
 Misty Hampton        Ms. Hampton is the former Coffee County
                      Elections Supervisor. (Nov. 11, 2022 Dep. of
                      Emily Misty Hampton, Doc. 1610 p. 16.)
 Scott Hall           Mr. Hall is a bail bondsman who informed
                      Marilyn Marks during a phone call about the
                      unauthorized access in Coffee County. He also
                      acted as a leader in the Coffee County breach by
                      directing SullivanStrickler’s work on January 7,
                      2021. (Sept. 2, 2022 SullivanStrickler Rule
                      30(b)(6) Dep. of Dean Felicetti, Doc. 1489-2 p.
                      118; Transcript of Hall-Marks Call, Doc. 1364-1.)
 Doug Logan           Mr. Logan is the CEO of a company called Cyber
                      Ninjas. His business card was found on Misty
                      Hampton’s desk and he subsequently admitted to
                      uploading       Coffee      County      files    to
                      SullivanStrickler’s ShareFile site. (Nov. 18, 2022
                      Dep. of Doug Logan, Doc. 1612 pp. 9, 125.)
 Jeffrey Lenberg      Mr. Lenberg is a consultant who analyzed
                      Dominion election management system software
                      in person in both Coffee County, Georgia and
                      Michigan. (Nov. 21, 2022 Dep. of Jeffrey E.
                      Lenberg, Doc. 1613 p. 16.)
 SullivanStrickler    SullivanStrickler is an Atlanta-based firm that
                      was engaged by Jim Penrose and Doug Logan in
                      January 2021 to forensically image data from the
                      election equipment in the Coffee County Election
                      Office. (Sept. 2, 2022 SullivanStrickler 30(b)(6)
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                        Dep. of Dean M. Felicetti, Doc. 1489-2 pp. 18–19,
                        28–29, 86.) Sidney Powell paid for the firm’s
                        services. (Id. p. 75.) After collecting the data,
                        SullivanStrickler employees uploaded that
                        information to a ShareFile site, where it was
                        further accessed by others. Additional copies
                        were sent vis FedEx to attorney Stefanie Lambert
                        in Michigan. (Id. pp. 174–78.)
 Paul Maggio            Mr. Maggio is an employee of SullivanStrickler
                        who uploaded all of the data acquired in Coffee
                        County onto the Coffee County ShareFile. (Dec. 5,
                        2022 Decl. of Kevin Skoglund, Doc. 1635-44 ¶¶
                        56–57.)
 Dean Felicetti         Mr. Felicetti is SullivanStrickler’s Director of
                        Data Risk & Remediation and Rule 30(b)(6)
                        representative. (Sept. 2, 2022 SullivanStrickler
                        Rule 30(b)(6) Dep. of Dean Felicetti, Doc. 1489-2
                        p. 14.)
 Eric Chaney            Mr. Chaney is a former Coffee County Elections
                        Board member. (August 15, 2022 30(b)(6) Dep. of
                        Eric B. Chaney, Doc. 1471-11 pp. 13–14.)
 Alex Cruce             Mr. Cruce is the data analyst who flew to Coffee
                        County with Scott Hall. (Nov. 22, 2022 Dep. of
                        Alex Andrew Cruce, Doc . 1614 pp. 71–73, 142.)
 James Penrose          Mr.     Penrose     is   the     co-organizer   of
                        SullivanStrickler’s work in Coffee County and of
                        Doug Logan and Jeffrey Lenberg’s later visits to
                        the Coffee County Elections office. (Skoglund
                        Decl., Doc. 1635-44 ¶¶ 17, 116.)
 Charles Bundren        Mr. Bundren is an attorney and the co-organizer
                        of SullivanStrickler’s work in Coffee County and
                        of Doug Logan and Jeffrey Lenberg’s later visits
                        to the Coffee County Elections office. (Id. ¶¶ 16,
                        71, 116, 142.)
 Stefanie Lambert       Ms. Lambert is an attorney in Michigan who was
                        mailed copies of materials that SullivanStrickler
                        copied in Coffee County. She subsequently hired
                        Benjamin Cotton to analyze the data. (Id. ¶¶ 77–
                        78, 85.)
 Michael Lynch          Mr. Lynch is a private investigator in Michigan
                        who worked with Ms. Lambert. (Id. ¶¶ 79.)

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        James Barnes             Mr. Barnes replaced Misty Hampton as Coffee
                                 County Elections Supervisor after her February
                                 2021 termination. (July 20, 2022 Dep. of James
                                 A. Barnes, Jr., Doc. 1630-17 p. 85.)


      In addition to describing the individuals and entities relevant to this matter,

the Court also provides a “Glossary of Terms” to clarify the meaning of various

frequently used terms that appear in this Opinion and Order.



                                GLOSSARY OF TERMS
     BMD Software
      ImageCast X (“ICX”)          An ImageCast X (“ICX”) Prime Ballot Marking
      Prime Ballot Marking         Device (“BMD”) is an Android-based touch-
      Device (“BMD”)               screen device that allows voters to mark ballots
                                   on-screen and print them to an attached laser
                                   printer. (Redacted Expert Report of Dr. J. Alex
                                   Halderman “Redacted Halderman Report,”
                                   Doc. 1681 at 9.)
        ICX App                    An ICX App is an Android application
                                   developed by Dominion that is responsible for
                                   most of the BMD’s functionality. (Id. at 10.) The
                                   app is installed through a process called “side-
                                   loading” in which an Android application
                                   package (“APK”) file containing the software is
                                   uploaded from a USB device before each
                                   election in the form of an election definition file.
                                   (Id.) If an attacker were to obtain a copy of the
                                   APK file, he could potentially generate a new
                                   copycat APX file containing malicious code that
                                   could be installed in place of the real software.
                                   (Id. at 32.)
        ImageCast Precinct         An ImageCast Precinct (“ICP”) count scanner is
        (“ICP”) count scanner      a scanner used to count ballots produced by the
                                   BMD machines and those that are marked by
                                   hand in every county. (Id. at 11.)



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  Election Management     An EMS or election management system is “a
  System (“EMS”)          collection of servers and computers that operate
                          the Dominion Democracy Suite EMS
                          application software.” (Id. at 49.) In Georgia,
                          each county operates a separate election
                          management system. (Id.)
  QR Code                 A QR code is a two-dimensional barcode that is
                          intended to represent voters’ selections in
                          machine-readable but not human-readable
                          form. (Id. at 13.)
  Smart Card              A smart card is a card that a BMD uses to
                          authenticate technicians, poll workers, and
                          voters. (Id. at 26–31.)
  ImageCast Central       An ImageCast Central (“ICC”) central-count
  (“ICC”) central-count   scanner is a device used to record vote
  scanner                 selections from hand-marked absentee ballots.
  Pollbook                A pollbook is a database containing voter
                          identification information by precinct. (8/15/19
                          PI Order, Doc. 579 at 25 n.22.)
  PollPad                 A PollPad is a device containing electronic
                          Pollbook information. The PollPads are used to
                          check in voters at the polls and generate voter
                          access cards for the BMDs. (9/28/20 Paper
                          Backup PI Order, Doc. 918 at 19 & n.8.)
Auditing
  Risk Limiting Audit     An RLA is defined by Georgia statute as “an
  (“RLA”)                 audit protocol that makes use of statistical
                          methods and is designed to limit to acceptable
                          levels the risk of certifying a preliminary
                          election outcome that constitutes an incorrect
                          outcome.” O.C.G.A. § 21-2-498(a)(3). However,
                          more precise and particularized descriptions
                          and definitions of RLA methodology and results
                          are discussed and explained in source academic
                          literature, including that of Professor Stark.

                          A 2022 report of the National Conference of
                          State Legislature described these audits in this
                          manner:



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                                 “In recent years, researchers have developed
                                 statistically based audit techniques, referred to
                                 as risk-limiting audits (RLAs). These cut down
                                 on the number of ballots that need to be
                                 audited, while also providing statistical
                                 confidence that an incorrect election result is
                                 not certified (i.e., made official). As the name
                                 suggests, an RLA is designed to limit the risk
                                 that a contest is certified with the wrong winner.
                                 It does this by increasing the initial sample
                                 when discrepancies are found until either the
                                 level of confidence has been met or a full
                                 recount has been performed. RLAs are an
                                 incremental audit system: If the margin of an
                                 election is wide, very few ballots must be
                                 reviewed. If the margin is narrow, more will be
                                 reviewed up to the point that enough evidence
                                 is provided to confirm the declared election
                                 result.” (Id.)

                                 And the NCSL also notes that “A postelection
                                 audit may be able to detect whether any outside
                                 interference occurred, and security experts
                                 recommend them as one method of protecting
                                 the integrity of elections.”7 (Id.)

                                 Additionally, the NCSL Report found that, “All
                                 methods of RLAs require a voting system that
                                 produces a voter-verified paper audit trail” and
                                 modifications based on the type of voting
                                 equipment used. (Id.)
        Logic and Accuracy       Logic and accuracy testing is the process
        Testing                  through which election officials verify in
                                 advance of an election that all voting equipment
                                 is properly functioning, including the BMD
                                 touchscreens, printers, scanners, and PollPads.
                                 (10/11/20 PI Order, Doc. 964 at 51.) Georgia’s
                                 particular mode of conducting logic and
                                 accuracy testing is abbreviated in its scope. (Id.
                                 at 51–60.)

7   NCSL 2022 Report on Risk-Limiting Audits, https://www.ncsl.org/elections-and-
campaigns/risk-limiting-audits (last visited October 11, 2023).
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      Relevant Background

      This election security case has been a long roller coaster ride, with many

twists and turns. Below, the Court provides the background and context necessary

to understand the current dispute and the legal issues before the Court. In so

providing, the Court does not make any factual findings. And, as required at

summary judgment, the Court presents the facts in the light most favorable to the

non-moving parties — here, the Plaintiffs.

      With that framing in mind, the Court first, in Section A, discusses the

vulnerabilities and issues raised regarding the prior DRE voting system that

existed at the onset of this case. While this system is no longer in operation, many

of the very same concerns persist under the current BMD system. After addressing

the litigation and prior findings about the old DRE system, the Court, in Section B,

charts the State’s transition from the DRE system to the current BMD system.

Next, in Section C, the Court outlines Plaintiffs’ challenges to the constitutionality

of the current BMD system. Then, in Section D, the Court reviews the concerns

presented by the Plaintiffs at the 2020 preliminary injunction hearing, including

their central concerns related to the QR barcodes used to tabulate votes and the

auditability of the BMD system more broadly (among other issues). After that, in

Section E, the Court traces newer post-2020 developments regarding these same

vulnerability concerns. These new developments include: the issuance of a

comprehensive report by Plaintiff’s expert, Dr. Alex Halderman, regarding the

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vulnerabilities of the BMD system; the U.S. Department of Homeland Security’s

Cybersecurity and Infrastructure Agency’s (“CISA”) review and corroboration of

Dr. Halderman’s central findings; the results of a 2021 technical assessment

conducted by the State’s retained consulting cybersecurity firm, Fortalice; and, of

course, the now infamous breach of the election system in Coffee County, Georgia

and the State’s response to this breach. Finally, the Court addresses the present

posture of the case in Section F.

       In outlining the landscape of this case, the Court has endeavored to be

thorough, and, as such, asks the reader to buckle up and bear with the ride.

               The Vulnerabilities of the Previous DRE System (And Why
               They Are Still Relevant)

       Plaintiffs filed this lawsuit in 2017, raising constitutional challenges to the

election system that was then in place in Georgia. (Original Complaint, Doc. 1-2.)8

This integrated system (“the DRE system”) was composed of the Direct Recording

Electronic voting machines (“DREs”), the Global Election Management Systems

(“GEMS”) servers, and the online voter registration database. (See generally id.)

In the original complaint, Plaintiffs alleged that the system was compromised, had

not been properly examined and tested prior to the election as required by state

law, and was vulnerable to outside manipulation. Plaintiffs’ original complaint

thus alleged that the State’s continued use of the DRE system unconstitutionally

burdened their fundamental right to vote and denied them equal protection of the


8 The case was initially filed in the Superior Court of Fulton County on July 3, 2017. Defendants

removed the case to this Court shortly thereafter.
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laws as compared to voters using paper ballots, all in violation of the First and

Fourteenth Amendments. (See id. ¶¶ 120–52.)

                      1.      The Court’s 2018 Preliminary Injunction Order
                              Finds Serious Vulnerabilities in the DRE System

       In the summer of 2018, Plaintiffs filed motions for preliminary injunction in

which they sought, among other things, to enjoin the State from using the DRE

system in the November 2018 general election.9 (See Motions for PIs, Docs. 258,

260, 271.) In support, Plaintiffs presented evidence demonstrating that the State’s

central election server — maintained by Kennesaw State University’s (“KSU”)

Center for Election Services (“CES”) on behalf of the Secretary of State’s Office —

was publicly accessible on the internet from at least August 2016 to March 2017.

(9/17/2018 PI Order, Doc. 309 at 7–8.) In particular, Plaintiffs presented evidence

that, in August 2016, a professional cybersecurity expert, Logan Lamb, discovered

that he could access, via CES’s public website, multiple gigabytes of election data,

as well as thousands of files with private elector information (including home

addresses, birth dates, and more). (Id.) In addition, Lamb was able to access

(again, via the internet) the election management databases for at least 15 counties

— databases used to create ballot definitions; program memory cards; and tally,

store, and report all votes — as well as passwords that polling place supervisors

used to administer corrections to the DRE machines. (Id.) Lamb immediately




9 By that point the Plaintiffs had broken into two separate groups — the Curling Plaintiffs and the

Coalition Plaintiffs — and were represented by separate counsel.
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alerted the Executive Director overseeing CES, Merle King, of his discovery.

Despite this notification, no remedial action was taken at that time. (Id.)

      Months later, in February 2017, one of Lamb’s cybersecurity colleagues

(Chris Grayson) discovered that he was able to repeat what Lamb had done and

thus access the same key election data. (Id.) On March 1, Grayson notified another

colleague at KSU and, ultimately, through a chain of events, Executive Director of

CES King was notified again. (Id. at 8–9.) Days later, the FBI was alerted and took

temporary possession of the CES server.

      A few months after that, on July 7, 2017 — four days after this lawsuit was

originally filed in Fulton County Superior Court — all data on the hard drives of

KSU’s “elections.kennesaw.edu” server was destroyed by KSU/CES.10 The next

month, on August 9, 2017 — a day after this action was removed to this Court — all

data on the hard drive of a secondary server, which contained similar information

to the “elections.kennesaw.edu” server, was also destroyed by KSU/CES. (Id. at

9.)

      After these events, the Secretary of State’s Office shut down the CES and

absorbed its functions as of January 1, 2018. (Id. at 7, 9; see also 8/15/19 PI Order,

Doc. 579 at 63.) The only CES staff member transferred to the State was Michael

Barnes, a KSU/CES Director who reported to Executive Director King. (9/17/2018

PI Order, Doc. 309 at 35.) Mr. Barnes had a degree in public administration but no



10 In the Court’s 2020 PI Order, it made clear that it was KSU that destroyed the servers.
(10/11/2020 PI Order, Doc. 964 at 14 n.9)
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formal training or expertise in computer science or cybersecurity. (Id. at 35 n.26;

see also 8/15/19 PI Order, Doc. 579 at 63 n.47.) After his January 2018 transfer to

the Secretary of State’s Office, Mr. Barnes continued (and continues to this day) as

a Director of CES to play a major role in management of the electronic election

system.

       After holding a hearing on the preliminary injunction motions, the Court

ultimately (1) found that Plaintiffs had shown that the DRE system “pose[d] a

concrete risk of alteration of ballot counts that would impact their own votes,” but

(2) declined to grant injunctive relief because requiring Defendants to make a last-

minute switch to a different election system would undermine the government’s

and the public’s interest in the orderly administration of elections. (9/17/18 PI

Order, Doc. 309 at 38, 41–44.) Although the Court did not grant injunctive relief,

it “expressly warned Defendants that further delay by the State in remediating its

technologically outdated and vulnerable voting system would be intolerable.”

(8/15/19 PI Order, Doc. 579 at 3) (discussing 9/17/18 PI Order, Doc. 309 at 44.)

                   2.    The Court’s 2019 Preliminary Injunction Order
                         Finds “A Catalogue of Pervasive Problems”
                         Concerning the DRE System and Enjoins the
                         State From Using the DREs After the 2019
                         Election

      In late spring of 2019, Plaintiffs filed another round of motions for

preliminary injunction seeking to enjoin Defendants from using the DRE system

in the November 2019 local/municipal elections. (See Docs. 387, 419.) As relief,

Plaintiffs sought relief requiring Defendants to use hand-marked paper ballots

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(“HMPBs”) for the 2019 elections instead of the DREs. (See 8/15/19 PI Order, Doc.

579 at 4.) Plaintiffs also sought to require Defendants to address ongoing issues

with the voter registration database, which Plaintiffs contended was “riddled with

data reliability and accuracy problems that result in the unconstitutional

disenfranchisement and burdening of voters’ rights to cast regular ballots that are

actually counted.” (Id.)

      After a hearing, the Court granted in part and denied in part Plaintiffs’ 2019

preliminary injunction motions on August 15, 2019. (Id. at 152.) The Court found

that Plaintiffs had presented evidence of “a catalogue of pervasive voting problems

arising in the 2017-2018 election period” that had “compound[ed] and expand[ed]

the evidence established in the September 2018 preliminary injunction record.”

(Id. at 5.) This evidence demonstrated that Georgia’s election system burdened the

Plaintiffs’ right to cast secure, reliable ballots that were accurately counted. (Id.)

Those “pervasive voting problems” included, among other things, the lack of a

ballot paper trail, outdated operating systems and software, and further

developments regarding the breach of the election servers at KSU, as discussed

below.

                             a. Problems With the Lack of a Paper Voting
                                Trail

      First, the Court recognized that, because the DREs did not include a paper

voting trail, “No voters could verify whether their intended votes for particular

candidates were actually cast.” (Id. at 92.) The lack of a paper voting trail was

particularly concerning because of the risk of undetectable cyberattacks on the
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DREs. As a seminal report on voting systems from the National Academies of

Sciences (“NAS”) emphasized, “any voting system should allow a voter to verify

that the recorded ballot reflects his or her intent, which isn’t possible with

paperless DRE machines.” (Id. at 39) (quoting National Academies of Sciences,

Engineering, and Medicine, et al., Securing the Vote: Protecting American

Democracy 42, 80 (National Academies Press, 2018)). The NAS report

recommended that “voting machines that do not produce paper audit trails ‘be

removed from service as soon as possible.’” (Id. at 40) (quoting NAS report.)

Likewise, a 2019 report from the Senate Select Committee on Intelligence (“SSCI

report”) recommended that states discontinue using DREs on similar grounds,

noting that the machines “are now out of date.” (Id. at 41) (quoting 2016 U.S.

Election, Vol. 1: Russian Efforts Against Election Infrastructure with Additional

Views, 116th Cong., 1st Session (2019).)

                                 b. Problems   With     Outdated   Operating
                                    Systems and Failure to Implement Security
                                    Patches

       In the 2019 PI Order, the Court next noted that one component of the DRE

system — the GEMS server — was running on an outdated Windows XP/2000

operating system, and the DRE machines were operating on software from 2005

that was so out of date that the makers of the software were no longer supporting

it or providing security patches.11 (Id. at 22, 25.) The evidence further showed that,


11 The evidence also revealed that outside contractors for the Secretary of State’s CES unit were

using the GEMS server application on their home computers to build the ballots to be used on the


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for years, the State had failed to implement critical software patches, including a

software patch that was necessary to address a vulnerability that “ethical hacker”

and cybersecurity specialist Harri Hursti discovered in 2006. The State

Defendants’ own expert at that time, Dr. Michael Shamos, described this particular

vulnerability as “‘one of the most severe security flaws ever discovered in a voting

system,’ up to that time.” (Id. at 23) (quoting Deposition of Michael Shamos, Doc.

554.)

                                  c. Slow and Ineffective Response to KSU Data
                                     Breach

        Next, the Court reviewed newly available evidence regarding the CES/KSU

data breach, data systems mismanagement, and record destruction events

previously addressed in the 2018 PI Order. The expanded record revealed

additional troubling details regarding the breach. In particular, the evidence

demonstrated the extent of Mr. Lamb’s exhaustive efforts to bring security issues

to CES Executive Director King’s attention — including issues related to: the public

accessibility of the election server; grossly out-of-date essential windows software;

the use of particular software that was subject to malware for which there was a

public advisory; and anonymous users’ access to data files. (8/15/19 PI Order, Doc.

579 at 65.)

        The expanded record also revealed the extent to which CES Director Michael

Barnes was aware of Lamb’s August 2016 warning email regarding the above-


DREs. It was unclear what security protocols, if any, these contractors had been following. (Id. at
32.)
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described vulnerabilities and the extent to which he was aware that KSU

Information Office staff had confirmed these serious software threats, website

holes, and data-security exposures as of October 2016. (Id. at 65–67.)

       The supplemented record also showed the extensive efforts expended to

inspire responsive action from CES. In fact, it was only after (1) Lamb’s

cybersecurity colleague (Grayson) contacted another colleague at KSU (Andy

Green) in February 2017; (2) Green — after himself confirming the server exposure

— contacted KSU Chief Information Officer (Stephen Gay) in the University’s

Information Security Office (independent of CES); and (3) Gay — after having his

independent security team further confirm the system vulnerabilities — contacted

CES’s Executive Director Merle King, that any responsive action was taken to close

down the server and contact federal investigators. (Id. at 67–68.) Moreover, in

confirming the system vulnerabilities, Gay’s Information Security Office’s team

discovered, on March 4, 2017, that one of the exposed files contained 5.7 million

records with personal identifying information. (Id. at 68.)

       A detailed incident report issued on April 18, 2017 identified the seriousness

and extensiveness of the issues posed by CES’s and KSU’s handling of its IT

systems. (Id.) But there was no evidence that measures were taken to assess the

integrity of the election data (such as, e.g., checking for malware) that was

ultimately transferred from the CES/KSU server to the Secretary of State’s server.

(Id. at 69.)



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                                 d. Problems With the Voter Registration
                                    Database

       In addition, the Court found in its 2019 Order that Plaintiffs presented

significant evidence of vulnerabilities in the State’s voter registration database in

connection with the previously discussed exposure of voter data, the exposure of

passwords, and outdated software issues. 12 The Court additionally noted that the

voter registration database, in tandem with operational software, “play[s] a vital

role in the proper functioning of the voting system.”13 (Id. at 88–90.)

                                 e. Insufficient Remedial Action

       Following the KSU breach, the Secretary of State’s Office absorbed the

functions of the CES in January 2018. However, the State still insisted that despite

the “gaping breach and exposure of the CES/KSU system and voter database” that

“nothing amiss happened.” (Id. at 70.) The Court found that this position

“contradict[ed] the evidence.” (Id.) And although all the data on the hard drives

associated with the election server and a secondary server were mysteriously

destroyed a mere four days after Plaintiffs filed this lawsuit, Defendants argued

that the servers had simply been “repurposed” instead of wiped or destroyed. (Id.

at 65.) The Court found that this was not credible. (Id. at 70.)



12  The State’s retained cybersecurity firm, Fortalice, found that the Secretary of State’s then-
contractor for maintenance of its voter registration database, PCC, continued to use outdated
software which needed patches. (8/15/19 PI Order, Doc. 579 at 88.)
13 Because the voter registration database and electronic pollbooks could be accessed over the

Internet, the SSCI report considered them to be “vulnerable components of U.S. election
infrastructure.” (8/15/19 PI Order, Doc. 579 at 41–42.) Based on these vulnerabilities, the SSCI
report recommended that states update the software for their voter registration databases and
create paper backups of their pollbook information. (Id. at 42.)
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      Further, although the State had argued that they had taken some remedial

action by retaining Fortalice Solutions Company (“Fortalice”), a highly-qualified

forensic consulting firm, to perform three cybersecurity assessments for the

Secretary of State’s office, the Court found that these assessments were decidedly

limited in scope. As the Court noted, “[i]t was outside Fortalice’s contract scope to

focus on particular Election Division or GEMS data systems or conduct a review of

the voter registration system software and operation, or the state election data

systems’ interface with SOS servers and SOS and County data systems and the

cybersecurity and vulnerability issues posed by this interface.” (Id. at 77.) As a

result, “the surface of SOS cybersecurity issues was barely scratched.” (Id. at 76.)

Moreover, even with these limitations, Fortalice identified 22 cybersecurity risks

in its first assessment in October 2017, with 10 identified as high priority for

remediation action. (Id. at 77.) And it later identified an additional 15 risks in its

second assessment in February 2018, including what the Court described as “an

astonishingly grave array of deficits” in the software used to maintain the voter

registration database and in the Secretary of State’s Office’s handling of the

database. (Id. at 82.) In its third assessment in November 2018, Fortalice

determined that the State had remedied just three of the 22 risks identified in the

first assessment from a year earlier, in addition to making 20 additional

cybersecurity recommendations, 14 of which were low to no cost. (Id. at 84.)

      Based on all of this evidence, the Court stated, as it had in the 2018 PI Order,

that “the State had ‘stood by for far too long’ in failing to address the ‘mounting

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tide of evidence of the inadequacy and security risks’ posed” by the DRE system.

(Id. at 3) (quoting 9/17/18 PI Order, Doc. 309 at 43). Even so, after considering all

the evidence, the Court found that the balance of the equities, law, and the public

interest weighed against granting Plaintiffs’ request for an Order requiring a

HMPB system for the 2019 election cycle while it was in the process of

transitioning to a new statewide voting system for future elections (at discussed

next). But, the Court still directed the State Defendants to refrain from using

GEMS/DRE election system after 2019. (Id. at 139, 148.) The Court also directed,

among other remedial relief measures, the Secretary of State’s Office to work with

its consulting cybersecurity firm (Fortalice) to conduct an in-depth review and

formal assessment of issues relating to vulnerability and accuracy of the voter

registration database, as discussed in the 2018 and 2019 Orders, as well as other

election data system issues that would likely migrate with the State’s transition of

voting system to the new voting system authorized by the legislature in 2019.

             Georgia’s Transition From the DRE to the New Dominion
             BMD System in 2019

      In the midst of this litigation, the State enacted legislation requiring a switch

to a new election system — the Ballot-Marking Device (“BMD”) system.

                   1.     The Georgia Legislature Passes HB 316

      In April 2019, the Georgia State Legislature enacted House Bill No. 316 (“HB

316”) — a new law requiring the Secretary of State to replace the DRE system with

electronic ballot-marking devices and optical scanners. (See 8/7/20 PI Order, Doc.



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768 at 3.)14 HB 316 requires the State to switch to a new voting system that uses

“electronic ballot markers” for all in-person voting in federal, state, and county

elections.15 O.C.G.A. § 21-2-300(a)(2). The statute requires that electronic ballot

markers “produce paper ballots which are marked with the elector’s choices in a

format readable by the elector” and that votes are counted by scanners. Id. The

legislation further stipulated that the associated election equipment must be

certified by the U.S. Election Assistance Commission, and that the State switch to

the new system “[a]s soon as possible, once such equipment is certified by the

Secretary of State as safe and practicable for use.” Id. § 21-2-300(a)(2), (a)(3).

       HB 316 also included new requirements regarding audits. In particular, the

provisions require election superintendents to perform pre-certification audits “in

accordance with requirements set forth by rule or regulation of the State Election

Board.”16 Id. § 21-2-498(b). Accordingly, the State Election Board (“SEB”) later

issued a rule requiring every county to participate in one audit of a single statewide

race, selected by the Secretary of State, after the November general election in even



14 While HB 316 was signed into law on April 2, 2019, the contract, bidding, award, and
implementation processes took time and the Secretary of State did not issue an order decertifying
the DRE system until December 30, 2019, which was several months after the Court resolved the
2019 PI Motions in August 2019. (State Defs.’ Statement of Undisputed Material Facts “State
Defs.’ SUMF,” Doc. 1569 ¶ 3, 29.)
15 The statute defines an “[e]lectronic ballot marker” as “an electronic device that does not

compute or retain votes; may integrate components such as a ballot scanner, printer, touch screen
monitor, audio output, and navigational keypad; and uses electronic technology to independently
and privately mark a paper ballot at the direction of an elector, interpret ballot selections,
communicate such interpretation for elector verification, and print an elector verifiable paper
ballot.” O.C.G.A. § 21-2-2(7.1).
16 The State Election Board is responsible for issuing rules and regulations pertaining to election

audit procedures, including “security procedures to ensure that collection of validly cast ballots is
complete, accurate, and trustworthy throughout the audit.” Id. § 21-2-498(d).
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numbered years — i.e., one audit of a single statewide race every two years. See Ga.

Comp. R. & Regs. 183-1-15-.04(1). By statute, these audits must be performed “by

manual inspection of random samples of the paper official ballots.” O.C.G.A. § 21-

2-498(b).

        Additionally, at the time it was enacted, the statute contained an additional

provision requiring the Secretary of State to select at least one county to perform a

risk-limiting audit pilot program by December 31, 2021. 17 See O.C.G.A. § 21-2-498

(2019). This provision also required the Secretary of State to review the pilot

program and provide the General Assembly with a “comprehensive report,

including a plan on how to implement risk-limiting audits state wide.” Id. Finally,

if this risk-limiting audit pilot program was successful in achieving the specified

confidence level, the provision required that “all audits performed pursuant to this

Code section shall be similarly conducted, beginning not later than November 1,

2024.” Id. However, this provision was later removed from the statute and other

provisions were also weakened in 2023. (See Ex. 1, Pls.’ Notice of Change of State

Law on Audits, Doc. 1673.)

                       2.     The Secretary of State Issues Notice of Intent to
                              Award Contract to Dominion

       On July 29, 2019, the Secretary of State issued a Notice of Intent to award a

contract for the State’s new voting system to Dominion Voting Systems, Inc.


17 The relevant section of the election code defines a “[r]isk-limiting audit” as “an audit protocol

that makes use of statistical methods and is designed to limit to acceptable levels the risk of
certifying a preliminary election outcome that constitutes an incorrect outcome.” Id. § 21-2-
498(a)(3).
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(“Dominion”). (Decl. of Ryan Germany, Doc. 1569-3 ¶¶ 3–4.) The contract required

the new voting system to be fully implemented by March 24, 2020. (Id.) The State

ordered 30,050 BMDs under the contract and began working to implement the

new system. (Id. ¶ 5; State Defs.’ Statement of Undisputed Material Facts (“State

Defs.’ SUMF”) Doc. 1569 ¶ 9.)

                   3.    How the BMD System Functions

      The voting system the State ultimately selected — Dominion Democracy

Suite — includes the following components: BMDs and associated printers, ICC

scanners (used to count hand-marked absentee ballots) and ICP scanners (used to

count ballots produced by the BMD machines), Dominion’s EMS software, and

electronic PollPads. (Decl. of Dr. Eric D. Coomer “Coomer Decl.,” Doc. 1569-4 ¶ 3;

Pls.’ Corrected Joint Statement of Additional Facts, Doc. 1637 ¶ 79.) While the

State purchased entirely new equipment from Dominion, it continued to use

existing voter data from the ENET system to operate the PollPads. (Feb. 2, 2022

30(b)(6) Dep. of Sanford Merritt Beaver, Doc. 1628-31 pp. 19–21; see also 10/11/20

PI Order, Doc. 964 at 16.)

      In a prior Order, the Court described the process of voting on Dominion’s

BMD system as follows:

      Pollworkers use the ePollbook to confirm a voter is in the correct
      polling place and eligible to vote and then to encode and issue a voter
      access card. The voter inserts the access card into the BMD which
      pulls up the ballot style assigned to the voter encoded on the access
      card and displays voting options on the BMD touchscreen. After the
      voter makes her selections on the touchscreen, the BMD prints a
      paper ‘ballot’ containing a 2D barcode encoded with the selections and
      a human readable text summary of the voter’s selection . . . . The voter
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      is expected to review the human readable summary on the paper
      ballot printout to confirm that it correctly reflects the choices made on
      the touchscreen before casting her ballot by inserting it into a separate
      ballot scanner. The summary indicates the candidates for whom a vote
      was cast, but not the other candidates identified in each race.

(7/30/20 MTD Order, Doc. 751 at 4–5) (internal citations omitted).

      Notably, in the particular variation of the Dominion BMD system chosen by

the State, the scanners count in-person votes based on the selections contained

within the QR codes on the printouts — not the selections that appear on the

human-readable text. (Pls.’ Corrected Joint Statement of Additional Facts, Doc.

1637 ¶ 87; see Coomer Decl., Doc. 1569-4 ¶ 9 (“Dominion’s optical scanners (ICP)

can be used with BMD-marked paper ballots or hand-marked paper ballots. The

ICP units do not interpret the human-readable (text) portion of either type of

ballot. Instead, the ICP units are programmed to read the QR Code for the BMD

ballot or particular coordinates on hand marked ballot.”)). The QR codes are not

encrypted. (Redacted Halderman Report, Doc. 1681 at 20.) Once the scanner

records the information from the QR code, the scanner then saves this information

— i.e., the cast vote record — to removable flash cards for use by county election

officials for final tabulation. (7/30/20 MTD Order, Doc. 751 at 6.)

      While the scanners count the in-person votes based on the QR codes, in the

event of a recount (conducted pursuant to O.C.G.A. § 21-2-495) or an audit

(conducted pursuant to O.C.G.A. § 21-2-498), the human-readable text governs

instead of the QR code tabulation. O.C.G.A. § 21-2-379.23(d). Although another

version of Dominion’s BMD system allows the scanners to tabulate votes based on

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the human-readable text without the QR codes, that system has not yet been

adopted in Georgia. (Pls.’ Corrected Joint Statement of Additional Facts, Doc. 1637

¶ 86.)

         The BMD system was used for the first time on a statewide basis in Georgia

in the June 9, 2020 presidential primary election.18 (See 8/17/20 PI Order, Doc.

768 at 9–10.) Currently, the BMD system is being used for elections in all Georgia

counties. (State Defs.’ SUMF, Doc. 1569 ¶ 10.)19

               Plaintiffs’ Amended Complaints and Challenges to the
               Constitutionality of the New BMD System and the State’s
               Motion to Dismiss

         On October 15, 2019, both sets of Plaintiffs amended their Complaints to

assert constitutional challenges to the BMD system. (See Curling Pls.’ Third Am.

Compl., Doc. 627; Coalition Pls.’ First Suppl. Compl., Doc. 628.)20 Specifically, the

Curling Plaintiffs raised three substantive claims challenging the BMD system: a

violation of the fundamental right to vote under the Due Process Clause of the

Fourteenth Amendment (Count III), an Equal Protection Clause claim alleging

that in-person voters using the BMD system are deprived of equal protection as


18 The original March 24, 2020 rollout date was pushed back as a consequence of the COVID-19

pandemic. (8/17/20 PI Order, Doc. 768 at 9–10.)
19 As of November 2020, approximately twenty-four states used one or more components of the
Dominion Democracy Suite voting system. (Redacted Halderman Report, Doc. 1681 at 9.) Most
of these jurisdictions provided BMDs solely to voters upon request for disability voting
accessibility purposes or in specific counties. Georgia and South Carolina were the only states to
use BMDs as the primary method of voting statewide. (Id.)
20 The Curling Plaintiffs’ Third Amended Complaint challenges both the DRE system and the BMD

system. The Coalition Plaintiffs’ First Supplemental Complaint only challenges the BMD system;
however, the Coalition Plaintiffs continue to maintain their challenges to the DRE system that
they previously included in their Third Amended Complaint. (See Coalition Pls.’ Third Am.
Compl., Doc. 226.)
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compared to voters using absentee paper ballots (Count IV), and a request for a

declaratory judgment that the QR code system fails to comply with HB 316’s

statutory requirement for an elector-verifiable paper ballot. (Curling Pls.’ Third

Am. Compl., Doc. 627 ¶¶ 113–40.)

      The Coalition Plaintiffs similarly alleged that the BMD system violated their

fundamental right to vote under the First and Fourteenth Amendments (Count I)

and the Equal Protection Clause (Count II), and also raised a procedural due

process claim (Count III). (Coalition Pls.’ First Suppl. Compl., Doc. 628 ¶¶ 221–

45.) The Coalition Plaintiffs similarly request relief as to the QR codes. In addition

to raising these three claims, the Coalition Plaintiffs also included — as a

component of Counts I and II — an argument that the BMD system both infringed

upon their fundamental voting rights by denying them the right to cast a secret

ballot in person and denied them equal protection of the laws compared to

absentee voters who were permitted to cast a secret ballot. (See, e.g., id. ¶ 223.)

      In short order, the State Defendants moved to dismiss Plaintiffs’ Amended

Complaints, (Doc. 645), which the Court ultimately granted in part and denied in

part (7/30/20 MTD Order, Doc. 751 at 52). In its Order, the Court dismissed the

Curling Plaintiffs’ declaratory judgment claim and the Coalition Plaintiffs’

procedural due process claim without prejudice, but permitted Plaintiffs’




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remaining claims to proceed. (Id.)21 Thus, as to the BMD claims, the Curling

Plaintiffs’ Counts III and IV remain, as do the Coalition Plaintiffs’ Counts I and II.

               The Court’s 2020 Preliminary Injunction Order Addresses
               Vulnerabilities of the BMD System

       In August 2020, Plaintiffs filed their next round of motions for preliminary

injunction, now raising challenges to Defendants’ implementation of the BMD

system. (See Docs. 785, 809.) In their motions, Plaintiffs argued that the BMD

system suffered from many of the same deficiencies as the DRE system. According

to Plaintiffs, because the BMD system was not secure, reliable, or voter verifiable,

it unconstitutionally burdened their right to cast effective votes that would be

accurately counted. In particular, the Plaintiffs raised concerns regarding inter alia

the QR codes vulnerability to alteration or manipulation, questions about the

auditability of the new BMD system, and the State’s significant failure to

implement necessary elections software upgrades. The Coalition Plaintiffs also

separately raised issues related to ballot secrecy, the optical scanner settings used

to read absentee ballots, and problems with the voter information provided to the

counties on the pollbooks and PollPads.




21 The Curling Plaintiffs did not oppose dismissal of their declaratory relief claim (Count V). (See

7/30/20 Order, Doc. 751 at 30 n.18.) The Court dismissed the Coalition’s procedural due process
claim (Count III) because the Coalition Plaintiffs did not allege “that the State Defendants have
failed to provide adequate procedures to remedy the alleged harms,” especially where they could
seek relief in the state courts via a writ of mandamus. (7/30/20 Order, Doc. 751 at 49–51.) The
Court notes that, in a recent decision, the Georgia Court of Appeals found that the BMD’s QR code
system in fact does comply with HB 316’s voter-verifiable paper ballot requirement, though this
decision has been appealed. See VoterGA et al. v. State, 889 S.E.2d 322 (Ga. Ct. App. 2023),
appeal filed, S23C1132 (Ga. July 13, 2023).
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      As relief, both sets of Plaintiffs sought to require Defendants to utilize

HMPBs (hand-marked paper ballots) and conduct a larger number and more

meaningful audits of various types (pre-certification, post-election, and manual

tabulation audits) for the 2020 election. (See 10/11/20 PI Order, Doc. 964 at 2.)

The Court held lengthy hearings on September 8–9, 2020 on Plaintiffs’

preliminary injunction motions.

                   1.     Concerns Regarding QR Code Vulnerability to
                          Alteration

      As discussed above, the BMDs generate paper printouts that include both a

list of the voter’s selections and a QR code intended to reflect those selections. The

printout is then fed into a separate ballot scanner that records the information

from the QR code, not the list of the voter’s selections. The scanner saves the QR

code information to removable flash cards that are used for tabulating results.

(7/30/20 MTD Order, Doc. 751 at 6.) Plaintiffs argued that this system is

problematic because: (1) the machines that generated the printouts were

vulnerable to hacking/manipulation that could result in the alteration of either the

human-readable text or the selections contained in the QR codes; (2), Plaintiffs

could not verify whether the QR codes accurately reflected their selections; and (3)

the printouts could not be meaningfully audited. (See 10/11/20 PI Order, Doc. 964

at 19–20.)

      In support of their motion, the Curling Plaintiffs relied on evidence from

their cybersecurity expert, Dr. Alex Halderman. At the hearing, Dr. Halderman

demonstrated how malicious actors could potentially infiltrate the voting system
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through various cyberattacks, including attacks that would cause particular votes

to be changed or deleted, or enable the alteration or manipulation of the

unencrypted QR codes.22 (Id. at 24–25.) In its 2020 PI Order, the Court noted that

Dr. Halderman’s findings were consistent with a “broad consensus” among the

nation’s cybersecurity experts that electronic voting systems, such as the BMD

system, are susceptible to malware. (Id. at 26.) The same experts also agreed that

these vulnerabilities “take on greater significance” in the context of a BMD system,

like Georgia’s, because it relies on unauditable QR codes for counting votes that

cannot be read and verified by the voters before tabulation. (Id.).

                     2.     Concerns Regarding Lack of Auditing Ability and
                            Frequency of Audits

       The Plaintiffs also raised issues concerning the State’s ability to audit the

functionality of the BMDs, specifically in the event that the selections contained

within the QR codes did not match the selections that appear in the human-

readable text (for example, if the QR codes had been altered). (Id. a 67–68.) At the

hearing, the State Defendants argued that audits would look to the human-

readable text – not the QR codes. (Id. at 71–72.) Plaintiffs argued that audits would

not necessarily remediate this issue because most voters do not review each of their

selections contained in the human-readable text. This would not allow the




22 Days before the hearing, Dr. Halderman was for the first time provided access to a BMD and

the software variation that was used on the Georgia BMDs. He also used optical
scanners/tabulators programmed with Dominion’s software. (10/11/20 PI Order, Doc. 964 at 24.)
Dr. Halderman explained that he would need additional time to test the equipment given the
compressed timeframe.
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printouts to be properly audited against the QR data – and the review in this case

was made particularly more difficult by the tiny print on the printout ballot that

did not look like the ballot shown on the BMD. (Id. at 20.) In support, Plaintiff

presented, among other things, evidence from a study conducted by Dr.

Halderman and other researchers from the University of Michigan, in which only

6.5% of voters noticed when the printouts from BMD machines included human-

readable text that had been altered so that it did not contain the selections that the

voters had actually chosen. (Id. at 68.)

       Plaintiffs also took issue with the infrequency of audits. In particular, they

argued that auditing a single statewide race every two years was insufficient to

verify that their votes were being correctly counted because the results of these

audits would not address any down-ballot contests or contests that occurred in

other election cycles.23 These issues, among others, were addressed at length by

the Coalition Plaintiffs’ expert, Dr. Philip Stark. (See, e.g., id. at 72–73.)

                       3.     Concerns Regarding Software Upgrades

       Plaintiffs also presented evidence that a Dominion software upgrade was

available that would enable the scanners to capture voters’ selections as reflected

in the human-readable text of the printouts from the BMDs (i.e., “full face ballots”)

— which voters could read and verify — instead of the QR codes. (See, e.g., id. at 17


23 As a reminder, HB 316 requires election superintendents to perform pre-certification audits “in

accordance with requirements set forth by rule or regulation of the State Election Board.” 23 Id. §
21-2-498(b). The SEB has issued a rule requiring every county to participate in one audit of a
single statewide race selected by the Secretary of State after the November general election in even
numbered years. See Ga. Comp. R. & Regs. 183-1-15-.04(1).
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n.19.) In its Order, the Court remarked that it could not fathom why the State

would not at least be moving toward consideration of that option. (Id. at 146–47.)

                      4.      The Court’s Rulings on the 2020 PI Order

       After the hearing, the Court found that the evidence before it revealed

“serious system security vulnerability and operational issues” that adversely

affected Plaintiffs’ right to cast an effective vote that is accurately counted. (Id. at

143.) The Court explained that “[t]he substantial risks and long-run threats posed

by Georgia’s BMD system, at least as currently configured and implemented, are

evident.” (Id. at 89.) Nevertheless, the Court explained that “[w]hile [it] recognizes

Plaintiffs’ strong voting interest and evidentiary presentation that indicate they

may ultimately prevail in their claims,” the State’s administrative interests

associated with managing a fast-approaching election and the challenges involved

in a sweeping change in balloting methods weighed against granting broad

injunctive relief. (Id. at 84.) The therefore Court concluded,

       Ultimately, the Court must find that imposition of such a sweeping
       change in the State’s primary legally adopted method for conducting
       elections at this moment in the electoral cycle would fly in the face of
       binding appellate authority and the State’s strong interest in ensuring
       an orderly and manageable administration of the current election,
       consistent with state law. So, for this reason alone, despite the
       strength of Plaintiffs’ evidence, the Court must decline the Plaintiffs’
       Motions for Preliminary Injunction.

(Id. at 89.)24


24 At that time, the Court also ruled on the Coalition Plaintiffs’ separate challenges relating to

ballot secrecy, scanner settings for absentee ballot tabulation, and paper backups of the pollbooks
provided by the State to counties. The Court addresses these three component parts of the
Coalition Plaintiffs’ relief requests — which are separate and distinct from the broader challenge
to the BMD system — at greater length in Section V.D. of this Order, and so does not do so here.
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               Post 2020 Developments and Plaintiffs’ Additional Cited
               Evidence of Vulnerabilities of the BMD System

       The parties built a considerable evidentiary record in the years leading up to

the Court’s 2020 preliminary injunction orders. That record has substantially

grown in the nearly three years since. The most significant new evidence related to

Plaintiffs’ assertions of BMD system vulnerability includes: Dr. Halderman’s 2021

Report, the CISA Report, Fortalice’s 2021 Technical Assessment, and the 2021

voting system breach in Coffee County.

                      1.      Dr. Halderman’s July 2021 Report Identifies 7
                              Core Vulnerabilities

       On July 1, 2021, Dr. Halderman, submitted a detailed, lengthy Report both

(1) expounding on his prior testimony in this case and (2) identifying additional

vulnerabilities he found in the BMD system, based on his testing of a BMD and

associated election equipment provided to him by Fulton County. (See Redacted

Halderman Report, Doc. 1681.)25 To test the BMD and other election equipment,

Dr. Halderman and his assistant spent multiple weeks studying the voting

equipment, testing the equipment for vulnerabilities, and developing proof-of-

concept attacks, which Dr. Halderman contended could purportedly be effectuated

by malicious actors. (Id. at 4.)




25 Besides testing the BMD, Dr. Halderman, over a specific and authorized time period, examined

and had access to other equipment including the ICP scanner, a Poll Worker Card, a Technician
Card, a USB drive containing an ICX election definition file, and an off-the-shelf HP LaserJet
printer used to print ballots. (Id. at 18.) Dr. Halderman was not provided access to the Democracy
Suite EMS software — software that was later compromised in the Coffee County breach.
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      In the Principal Findings section of his Report, Dr. Halderman determined

that the BMD and related voting equipment suffered from “critical vulnerabilities”

that could “be exploited to subvert all of [the BMD’s] security mechanisms.” (Id. at

4–5.) In particular, Dr. Halderman identifies seven primary vulnerabilities, as

follows:

      1. Attackers can alter the QR codes on printed ballots to modify
         voters’ selections (id. at 4–5);

      2. Anyone with brief physical access to the BMD machines can install
         malware onto the machines (id. at 5);

      3. Attackers can forge or manipulate the smart cards that a BMD uses
         to authenticate technicians, poll workers, and voters, which could
         then be used by anyone with physical access to the machines to
         install malware onto the BMDs (id.);

      4. Attackers can execute arbitrary code with supervisory privileges
         and then exploit it to spread malware to all BMDs across a county
         or state (id.);

      5. Attackers can alter the BMD’s audit logs (id.);

      6. Attackers with brief access to a single BMD or a single Poll Worker
         Card and PIN can obtain the county-wide cryptographic keys,
         which are used for authentication and to protect election results on
         scanner memory cards (id.); and

      7. A dishonest election worker with just brief access to the ICP
         scanner’s memory card could determine how individual voters
         voted (id.).

      Dr. Halderman expounds on the specific nature of these vulnerabilities at

great length in his 2021 Report. As a brief example, related to his first identified

vulnerability — QR code alteration — Dr. Halderman explains how attackers could

cause the BMDs to print ballots with QR codes encoded with selections different

from a voter’s actual selections while leaving the human-readable text summary
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unchanged, making alterations difficult to detect. (Id. at 14.) As a second example,

related to his second, third, and fourth vulnerabilities — all of which concern

malware — Dr. Halderman explains that attackers could install malware on the

machines either by physical access (for example, by inserting a USB device) or by

remote access (for example, by modifying election definition files that election

workers copy to all BMDs before each election). (Id. at 32, 39, 49.) Although these

are just two general examples, and the Court does not delve further into Dr.

Halderman’s extensive vulnerability findings, the Court’s review of his full Report

indicates, at least at this juncture, that appropriate evidence and expert analysis

have been provided to support the seven outlined vulnerability findings.

      Besides addressing the specific vulnerabilities of the BMD machines and

related equipment, Dr. Halderman’s Report further opines on the broader risks

flowing from those vulnerabilities. For example, Dr. Halderman explains that the

risk of ballot manipulation is far greater when BMDs are used for all in-person

voters, like they are in Georgia, versus when BMDs are only used for a small

fraction of voters, e.g., voters who may require special accommodations. (Id. at

16.) When only a small subset of voters uses BMDs, even if an attacker changes

every BMD ballot, the attack could only affect the outcome of contests with very

narrow margins, which means that “successful fraud would usually require

cheating on such a large fraction of BMD ballots that it would likely be discovered.”

(Id.) Thus, jurisdictions where only a fraction of voters use BMDs are a less

appealing target than states where most voters use BMDs. (Id.)

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      Additionally, Dr. Halderman highlights the growing risk of an attack on a

Georgia election by various adversaries — such as domestic political actors,

election insiders, voters, and hostile foreign governments. (Id. at 12.) Regarding

foreign governments, Dr. Halderman explains that Russia targeted Georgia’s

election infrastructure during the 2016 election and states that other “hostile

foreign governments” might attempt to hack Georgia’s election system to change

election outcomes. (Id.)26 Regarding domestic political actors, Dr. Halderman

opines that politically motivated hackers might seek to alter individual votes and

change the outcome of an election. (Id. at 13.)

         Dr. Halderman also opines that election insiders and ordinary voters could

be recruited by domestic political actors or hostile sophisticated foreign nations to

attack Georgia’s voting system by, for instance, implanting malware. (Id. at 13.)

This opinion is consistent with a 2019 report from the Senate Select Committee on

Intelligence (“SSCI report”) (cited above in Section IV.2.a.), which recounted

hearings revealing Russian interference efforts with the 2016 election and voting

process. (8/15/19 PI Order, Doc. 579 at 40–42.) As the Court noted in its 2019 PI

Order:

      The July 2019 SSCI report noted that Russian government cyber
      actors engaged in operations to scan the election-related state
      infrastructure of all fifty states and conducted research on “general
      election-related web pages, voter ID information, election system
      software, and election service companies” and that Russian operatives


26 Dr. Halderman also explained that nation-state actors are among the most technically
sophisticated and well-resourced adversaries facing Georgia’s election system, and are
particularly difficult to defend against. (Id.)
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      were able to penetrate the voter registration databases and access
      voter registration data from Illinois and at least one other state.

(Id. at 42) (citing SSCI Report at 8, 22.) The Court further noted that:

      Counties in Georgia were targeted as well. In July 2018, Special
      Counsel Robert Mueller released an indictment that alleged that a
      Russian operative “visited the websites of certain counties in Georgia,
      Florida, and Iowa” on or about October 28, 2016.

(Id. at 42) (citing Georgia Official Election Bulletin, Doc. 471-7 at ECF 3.)

      These final observations unfortunately resonate with later developments

involving electronic distribution of Coffee County’s election data and software, to,

among others, unauthorized domestic political representatives and retained

contract software consultants. And critically, because the Coffee County election

software and voting data was uploaded to the internet, it was left open to

manipulation by other non-authorized individuals, organizations, or adversary

nations.

      While Dr. Halderman acknowledges in the overview of his Report that “[a]ll

voting systems face cybersecurity risks,” and that “there is no realistic mechanism

to fully secure vote casting and tabulation computer systems from cyber threats,”

he also emphasizes that not all voting systems are equally vulnerable. (Id. at 4.)

Based on the seven particular vulnerabilities he identified, Dr. Halderman

provides the following “Main Conclusions” in his Report:

           • The ICX BMDs are not sufficiently secured against
             technical compromise to withstand vote-altering attacks by bad
             actors who are likely to attack future elections in Georgia. . . .



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          • The ICX BMDs can be compromised to the same extent
            and as or more easily than the AccuVote TS and TS-X
            DREs they replaced. . . .

          • Despite the addition of a paper trail, ICX malware can still
            change individual votes and most election outcomes
            without detection . . . Although outcome-changing fraud
            conducted in this manner could be detected by a risk-limiting
            audit, Georgia requires a risk-limiting audit of only one contest
            every two years,27 so the vast majority of elections and contests
            have no such assurance. And even the most robust risk-limiting
            audit can only assess an election outcome; it cannot evaluate
            whether individual votes counted as intended. . . .

          • The ICX’s vulnerabilities also make it possible for an
            attacker to compromise the auditability of the ballots,
            by altering both the QR codes and the human readable text.
            Such cheating could not be detected by an [risk-limiting audit]
            or a hand count, since all records of the voter’s intent would be
            wrong. . . .

          • Using vulnerable ICX BMDs for all in-person voters, as
            Georgia does, greatly magnifies the security risks
            compared to jurisdictions that use hand-marked paper ballots
            but provide BMDs to voter upon request. . . .

          • The critical vulnerabilities in the ICX — and the wide variety of
            lesser but still serious security issues — indicate that it was
            developed without sufficient attention to security
            during design, software engineering, and testing. . . . [I]t would
            be extremely difficult to retrofit security into a system that was
            not initially produced with such a process.

(Id. at 6–7) (emphases added). The Court has provided this highly condensed

summary of Dr. Halderman’s 66-page, single-spaced Report (excluding the

exhibits attached to the Report) — which contains significantly more information.




27 In 2023, the Georgia legislature modified the requirements for auditing. O.C.G.A.   § 21-2-
498(b).
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                      2.      U.S. Department of Homeland Security’s
                              Cybersecurity and Infrastructure Agency (CISA)
                              Corroborates Dr. Halderman’s Findings

       The next big development that occurred in the case involves the CISA28

Advisory. Approximately six weeks after filing the Halderman Report, the Curling

Plaintiffs asked the Court to authorize them to share the Report with CISA so that

it could review the vulnerabilities identified by Dr. Halderman and begin its own

vulnerability disclosure process, if appropriate. (See Aug. 10, 2021 Hr’g Tr., Doc.

1160 p. 83.) The Court authorized the Curling Plaintiffs to share Dr. Halderman’s

Report with CISA. (See Feb. 2, 2022 Hr’g Tr., Doc. 1307 at p. 30.) After its review,

CISA issued and posted its public ICS Advisory addressing “Vulnerabilities

Affecting Dominion Voting Systems ImageCast X” on June 3, 2022. (CISA

Advisory, Doc. 1631-46.)

       In its Advisory, CISA confirmed many of the vulnerabilities identified by Dr.

Halderman but also noted that it found (as of 6/3/2022) “no evidence that these

vulnerabilities have been exploited in any elections.” (Id. at ECF 2.) CISA also

stated that, to exploit these vulnerabilities, a malicious actor would need to have

physical access to either a BMD or the EMS, or otherwise have the ability to modify



28 CISA is an operational component of the U.S. Department of Homeland Security. As DHS’s

website explains, in part: “The Cybersecurity and Infrastructure Security Agency (CISA) leads the
national effort to understand, manage, and reduce risk to our cyber and physical infrastructure.”
Further, “[t]he agency has two primary operational functions. First, CISA is the operational lead
for federal cybersecurity, charged with protecting and defending federal civilian executive branch
networks,” and “[s]econd, CISA is the national coordinator for critical infrastructure security and
resilience, working with partners across government and industry to protect and defend the
nation’s critical infrastructure.” See https://www.dhs.gov/topics/cybersecurity, (last visited
September 9, 2023).
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files before they are uploaded to the BMDs. (See id.) At the time of the report, CISA

was unaware of the Coffee County breach, which began in January 2021.

      In addition to confirming specific vulnerabilities, CISA detailed a series of

mitigation steps that jurisdictions using Dominion’s voting system should follow

to prevent vulnerabilities from being exploited. (Id. at ECF 3–4.) On this

mitigation front, CISA noted that “[m]any of these mitigations are already typically

standard practice in jurisdictions where these devices are in use and can be

enhanced to further guard against exploitation of these vulnerabilities.” (Id. at ECF

2.) According to CISA, Dominion represented that many vulnerabilities at issue

had already been addressed in later versions of its software. (Id. at ECF 4.) CISA

therefore recommended that jurisdictions using Dominion’s software “[c]ontact

Dominion Voting Systems to determine which software and/or firmware updates

need to be applied.” (Id.) Despite this, a number of critical software updates related

to the operation of Dominion’s software and equipment have not been purchased

or installed in Georgia as of the date of this Order.

      Besides using up-to-date software and firmware, CISA also recommended

other mitigation steps. These mitigation steps included ensuring that:

      • “all affected devices are physically protected before, during, and
        after voting”;
      • “ImageCast X and the Election Management System (EMS) are not
        connected to any external (i.e., Internet accessible) networks”;
      • “carefully selected protective and detective physical security
        measures (for example, locks and tamper-evident seals) are
        implemented on all affected devices, including on connected
        devices such as printers and connecting cables”; and

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       • “all ImageCast X devices are subjected to rigorous pre- and post-
         election testing.”

(Id.) As another mitigation step, CISA recommended that jurisdictions “[c]onduct

rigorous post-election tabulation audits of the human-readable portions of

physical ballots and paper records.” (Id.) It emphasized that — in jurisdictions like

Georgia, where votes are counted based on the selections contained within a QR

code — these audits “are especially crucial to detect attacks . . . a barcode is

manipulated to be tabulated inconsistently with the human-readable portion of the

paper ballot.” (Id.) CISA added that, as an alternative to the QR code-based system,

“the ImageCast X provides the configuration option to produce ballots that do not

print barcodes for tabulation.” (Id.)29 To date, no evidence has been presented that

the State Defendants have implemented CISA’s recommended mitigation steps.

                       3.      Fortalice’s 2021 Technical Assessment Identifies
                               Several Vulnerabilities in the Secretary of State’s
                               Internal and External Systems

       The next relevant development concerns a 2021 assessment conducted by

Fortalice, a forensic services company retained by the State Defendants. 30 Unlike

Dr. Halderman, who focused his assessment on the potential vulnerabilities of the



29 As previously noted, the Court indicated in its 2020 PI Order that it “cannot fathom why, post-

election, the State and Dominion would not at least be moving toward consideration of the
software upgrade option.” (10/11/20 PI Order, Doc. 964 at 146.)
30 The Secretary of State’s Office hired Fortalice to perform cybersecurity assessments initially in

2017 and 2018. The head of Fortalice, Theresa Payton, testified at the August 2019 hearing
regarding the work that her computer forensics firm had done as of that date and which of their
findings required follow-up remedial action. Fortalice’s review at that time — as in the years
thereafter — focused on the forensic security issues facing the Secretary of State’s Office at large,
rather than on the Elections Division in particular, or on election security in county election offices
across the state. (See 8/15/19 PI Order, Doc. 579 at 75–89.)
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election equipment, operations, and Dominion software, Fortalice focused its

assessment on potential vulnerabilities in the Secretary of State’s Office’s external,

public-facing websites and its internal network. (Fortalice 2021 Report, Doc. 1635-

28 at ECF 5.)

       After testing for weaknesses in the Secretary of State’s Office’s external and

internal systems, Fortalice identified eight specific vulnerabilities, and provided a

rating of high, medium, or low risk for each vulnerability — with four

vulnerabilities rated high risk, three rated medium risk, and one rated low risk. (Id.

at ECF 8.) These vulnerabilities involved, among other things, issues with insecure

password storage or repeated/weak passwords, overly broad file sharing

accessibility within the internal system, and failure to maintain software patches.

(Id.) Besides identifying these vulnerabilities, Fortalice also provided low- to no-

cost recommendations on how the State could address each vulnerability. (Id.)

       Despite this Fortalice Report, there is no evidence in the record (one way or

another) that the State Defendants have remediated these risks, or what corrective

measures, if any, have been taken. There is also no evidence reflecting whether

Fortalice was ever asked to conduct any other security assessments of the Elections

Division or review its handling of cybersecurity issues arising in county election

offices across Georgia.31


31 According to the Secretary of State’s Office Chief Information Officer with responsibility for

election cybersecurity and technology, Merritt Beaver, Fortalice stopped providing written reports
of its technical assessments to the Secretary’s Office and began providing its reports over phone
because the written reports had been “taken out of context by the public.” (Feb. 2, 2022 Rule


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                      4.     Breach of Voting System in Coffee County By
                             Various Political Actors and Hired Consultants
                             (1/7/21 and Onward)

       Perhaps the most significant development since the 2020 PI phase of this

case involves the breach of the voting system in Coffee County, Georgia, which

began on January 7, 2021, the day after the attack on the Capitol in Washington,

D.C. Plaintiffs brought this revelation to the Court’s attention when the parties

were on the verge of completing discovery in 2022. The events of the Coffee County

breach and the ensuing developments are complex and sprawling. The Court

provides a short summary before outlining the events in more detail in the

following sections.

       Broadly speaking, the Coffee County breach involved various individuals

and entities (1) providing and gaining unauthorized access to Coffee County voting

equipment, data, and software over the course of multiple dates; (2) copying,

downloading, and imaging the County’s equipment, data, and software; (3)

uploading and sharing that data and software on the internet via a file-sharing

website; and (4) further distributing physical copies of forensic voting material

downloaded from Coffee County. (Declaration of Kevin Skoglund (“Skoglund

Decl.”), Doc. 1635-44 ¶ 9.) These acts were committed by a number of individuals

and entities including, among many others, the Coffee County Republican Party




30(b)(6) Dep. of Merritt Beaver, Doc. 1370-2 pp. 71–72.) Beaver is the Chief Information Officer
for both the Georgia Secretary of State and Insurance and Safety Fire Commission. (Id. p. 94.)
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Chair (Cathy Latham32), the former Coffee County Election Supervisor (Misty

Hampton), a private bail bondsman politically active in challenging the aftermath

of the 2020 Presidential election (Scott Hall), employees of an Atlanta-based

forensics firm (SullivanStrickler), attorneys who retained SullivanStrickler

(including Sidney Powell), a hired security consultant (Jeffrey Lenberg), and the

CEO of a company called Cyber Ninjas (Doug Logan). (Id. ¶¶ 9, 15, 22, 59.)

Plaintiffs’ experts have opined that the above-described copying and broad

distribution of voting system data and software materially increases the risk that a

future Georgia election will be attacked — especially because all 159 counties in

Georgia use the same voting system software and system configurations. (See, e.g.,

Nov. 2022 Decl. of Alex Halderman, Doc. 1635-19 ¶ 6.b.)

       In this case, the State Defendants claim that they first learned of the Coffee

County breach in February 2022 (over a year after the breach began), during a

deposition of Gabriel Sterling, the Chief Operating Officer of the SOS’s Office,

which was conducted for this case.33 (See Joint Discovery Statement, Doc. 1360 at

5.) During Sterling’s deposition, counsel for the Coalition Plaintiff played a

recording of a March 202134 phone conversation between the Coalition’s Executive



32 Ms. Latham testified before the Georgia Legislature on December 30, 2020 regarding her
concerns about the Dominion voting system and the election. (See Georgia Senate Election Law
Study Subcommittee of the Standing Senate Judiciary Committee: December 30, 2020 Meeting
Minutes, Docs. 1360-2, 1360-3.)
33 The State Defendants contend that they would have known about the unauthorized access

earlier if Plaintiffs had disclosed the recording to them sooner.
34 Mr. Hall’s call seems to have occurred in March 2021. (See Feb. 24, 2022 Dep. of Gabriel

Sterling, Doc. 1370-5 p. 260) (where Plaintiffs’ counsel represents that call took place in March of
2021).
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Director, Marilyn Marks, and bail bondsman Scott Hall, which Hall had initiated.35

On the call, Mr. Hall explained how he and others were present at the Coffee

County election office on January 7, 2021 when a forensic team from

SullivanStrickler performed a review of the election equipment and data systems;

began copying the election software, voter ballots, and data; and examined and

handled the voting equipment. (Recording of Hall/Marks Call, Doc. 1363; Partial

Tr. of Marks/Hall Call, Doc. 1364.)

       Although the State Defendants assert that they did not learn of the Coffee

County breach until Mr. Sterling’s February 2022 deposition, the State was aware

of, and was in fact investigating, other election-related concerns in Coffee County

from December of 2020 through the spring of 2021, some of which were at least in

part connected to the breach. These investigations are discussed at length in

Subsection f. Having provided this overview, the Court dives into significantly

more detail below.36




35 No evidence has been presented that Mr. Hall had a prior existing connection with Ms. Marks.
36 The Court’s recounting of the facts in this section are largely drawn from declarations submitted

by Plaintiffs’ cybersecurity experts, Kevin Skoglund and Dr. Alex Halderman. In preparation for
his testimony, Mr. Skoglund reviewed Coffee County Election Office surveillance footage as well
as forensic images from Coffee County’s EMS server and other election equipment. (Declaration
of Kevin Skoglund (“Skoglund Decl.”), Doc. 1635-44 ¶ 5; PSAMF, Doc. 1626 ¶ 314; Defs.’ Resp. to
PSAMF, Doc. 1653 ¶ 314.) Dr. Halderman also reviewed forensic images from Coffee County’s
EMS server and other election equipment. (PSAMF, Doc. 1626 ¶ 314.) The events captured in the
surveillance footage discussed in this Order were discovered after one volunteer for the Coalition,
Paschal McKibben, spent approximately 177 hours reviewing video footage related to the breach
in Coffee County. (See 2/10/23 Decl. of Marilyn Marks, Doc. 1618 ¶¶ 25–26.)
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                                a. Physical Access to Coffee County’s Election
                                   Equipment and Copying of Software and
                                   Data Begins on January 7, 2021

       On January 7, 2021, four employees from an Atlanta-based forensics firm,

SullivanStrickler, travelled to the Coffee County Election Office and used forensic

tools and techniques to copy election software and data over a seven-hour period.

(Skoglund Decl., Doc. 1635-44 ¶¶ 9.b, 24.) SullivanStrickler’s work was directed by

Scott Hall, Cathy Latham, and Misty Hampton, and was paid for by Sidney Powell,

a lawyer associated with Donald Trump. (Sept. 2, 2022 SullivanStrickler Rule

30(b)(6) Dep. of Dean Felicetti, Doc. 1489-2 pp. 75, 146.)37

       During their seven hours in the Coffee County Election Office on January 7,

SullivanStrickler’s team copied and forensically imaged a significant number of

election equipment items. Importantly, the Coalition Plaintiffs’ expert explained

that a “forensic image is a copy of a physical data storage device which copies every

data bit exactly as it exists on the device,” and can even include previously deleted

data. (Skoglund Decl., Doc. 1635-44 ¶ 41.) Therefore, such a forensic image “has

significantly more fidelity to the original device than a copy made by dragging

directories and files to a new device.” (Id.) The particular items forensically imaged

and collected by the SullivanStrickler team on January 7, 2021 included:

   • the Coffee County’s Election Management System server
     (“EMS”) as it existed on January 7, 2021 (id. ¶ 42). Data on the server

37 Besides the four SullivanStrickler employees, Hall, Latham, and Hampton, other individuals
present throughout the day included: Coffee County Election Board Member Eric Chaney; a
former Coffee County Election Board Member named Ed Voyles; a data analyst named Alex
Cruce; and an assistant to Ms. Hampton. (Skoglund Decl., Doc. 1635-44 ¶¶ 21, 22.)


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      included the Windows installation and configuration, the Dominion
      EMS software, and all election data present on the server as of that
      date (Nov. 2022 Decl. of Alex Halderman, Doc. 1635-19 ¶ 12.a);

   • the Dominion ICC central-count scanner (which is used to
     record vote selections from absentee ballots) as it existed on January
     7, 2021 (Skoglund Decl., Doc. 1635-44 ¶ 44). Data on the ICC scanner
     hard drive included the Windows installation and configuration as
     well as the Dominion ICC software (Nov. 2022 Decl. of Alex
     Halderman, Doc. 1635-19 ¶ 12.b);

   • 18 CompactFlash memory cards used with Dominion ImageCast
     Precinct (“ICP”) scanners/tabulators from Coffee County as they
     existed on January 7, 2021 (Skoglund Decl., Doc. 1635-44 ¶ 46). These
     18 memory cards contained data from the 2021 runoff election, as well
     as residual ballot images from the 2020 General Election (id. ¶ 49);

   • A Mobile Ballot Printing laptop as it existed on January 7, 2021
     (id. ¶ 53). Data on this laptop’s hard drive included Windows
     installation and configuration and the Dominion mobile ballot
     production software (Nov. 2022 Decl. of Alex Halderman, Doc. 1635-
     19 ¶ 12.c);

   • 7 USB drives as they existed on January 7, 2021 (Skoglund Decl.,
     Doc. 1635-44 ¶ 50). Six of these USB drives contained election projects
     (such as data about ballots, contests, candidates, etc., see id. ¶ 51), and
     one appears to have been used to install election definition files on
     Coffee County’s BMD machines (Nov. 2022 Decl. of Alex Halderman,
     Doc. 1635-19 ¶ 12.g.)

      Besides forensically imaging items, the SullivanStrickler team also copied

the following items on January 7, 2021:

   • the Android application software or ICX application installation
     files for Georgia’s BMDs (which is responsible for most of the BMDs
     functionality) (id. ¶ 12.d);

   • a version of the application software for the Dominion ICP
     scanners (the scanners used to count ballots produced by BMD
     machines) (id. ¶ 12.e);



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   • partial, but not complete, data from 20 PollPad devices (id. ¶
     12.h);

   • election-related reports for the 2020 General Election and 2021
     Run-off Election (Skoglund Decl., Doc. 1635-44 ¶ 53); and

   • scanned images of ballots from the 2021 Run-Off election (id.).

       Of all of the data forensically imaged and copied, Dr. Halderman opined that

the ICX Android application software/installation files contain “the most

important information that someone would need to develop attacks against the”

BMDs. (Nov. 2022 Decl. of Alex Halderman, Doc. 1635-19 ¶ 15.)

                                  b. Election Software and Data is Uploaded
                                     and Accessed from January 2021 Onward

       After collecting the aforementioned software and data, the SullivanStrickler

team (specifically an employee named Paul Maggio), uploaded all the acquired

information onto ShareFile, an internet-based file storage and sharing site, that

could be accessed by specific users (“the Coffee County ShareFile”). 38 (Skoglund

Decl., Doc. 1635-44 ¶¶ 56–57.) An activity log from ShareFile indicates that at least

five or six individuals downloaded the Coffee County data during January and

February 2021, and at least some of these individuals shared their ShareFile

credentials with others. (Nov. 2022 Decl. of Alex Halderman, Doc. 1635-19 ¶ 13;

Skoglund Decl., Doc. 1635-44 ¶ 75.) In addition, some of these individuals may




38 Administrators of a ShareFile account “can grant users permission to access certain directories.”

(Skoglund Decl., Doc. 1635-44 ¶ 56.) Users can then “upload and download files in those
directories through a public website.” (Id.)
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have further distributed the election software and data. (Skoglund Decl., Doc.

1635-44 ¶ 75.)

         One individual who downloaded the Coffee County data, Doug Logan of

CyberNinjas,39 testified that he then converted the forensic images of the server

and the central-count scanner into “virtual machines” and uploaded those virtual

machines onto the Coffee County ShareFile in January 2021. (See Logan Dep., Doc.

1612 at pp. 125–126.)40 Logan explained that “converting [forensic images] [in]to

a virtual machine allows you to potentially, you know, boot up the device and be

able to utilize it like it was the computer in order to take a look at the way the things

operate, and more closely examine it like it was a local system you were using.” (Id.

at pp. 125–126.) In other words, “Logan uploaded a new version of the forensic

image that could be used more easily for analysis.” (Skoglund Decl., Doc. 1635-44

¶ 63.)

         All in all, Plaintiffs contend that the user activity of SullivanStrickler’s

ShareFile site shows that at least 10 individuals “downloaded data from locations

as far-reaching as California, Kansas, England, and Italy.” (Curling Opp. Brief,

Doc. 1625 at 17) (citing Download Records, Doc. 1635-37.) This trail, of course,


39 Logan’s Cyber Ninjas firm performed a widely criticized, allegedly partisan, audit of the Arizona

presidential election that was rejected by Maricopa County and Arizona Secretary of State’s Office
election officials. See https://www.nbcnews.com/politics/politics-news/cyber-ninjas-company-
led-arizona-gop-election-audit-shutting-down-n1287145 (published January 6, 2022), (last
visited October 15, 2023). The Cyber Ninjas business announced its closing at the time of the
conclusion of the Arizona election audit review process.
40 According to Dr. Halderman, a “virtual machine simulates a running computer system and

allows an analyst to interactively operate a copy of the computer—logging into Windows, running
applications, etc.—without modifying the forensic image or the original computer.” (Nov. 2022
Decl. of Alex Halderman, Doc. 1635-19 ¶ 22.)
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does not disclose who else these individuals — or other entities in possession of the

downloaded data — transferred that election software and voting data to, or the

chain reaction flowing from those transfers.

                              c. Continued Physical Access to Coffee County
                                 Elections Equipment on January 18–19,
                                 2021

      On January 18, 2021, four individuals — consultant Jeffrey Lenberg, Doug

Logan (of Cyber Ninjas), Elections Supervisor Misty Hampton, and her daughter

— were present in the Coffee County Elections Office for a four-hour period.

(Skoglund Decl., Doc. 1635-44 ¶ 94.) Security cameras revealed that, during that

timeframe, Hampton and her daughter retrieved election equipment including

blank ballots and an ICP scanner (the scanner used to count ballots produced by

the BMDs). (Id. ¶¶ 95–96.) The next day, the same group returned for

approximately nine hours, during which time they handled a second ICP scanner

and roll of paper tape used for printing ICP election results. (Id. ¶ 96.)

      In his deposition, consultant Jeffrey Lenberg testified that the group went to

Coffee County because they believed there was “a major anomaly,” and they

wanted to “run testing on the equipment” to test their theory. (Lenberg Dep., Doc.

1613 pp. 110–112.) When they showed up, Misty Hampton “got on her BMD” and

“created a number of ballots,” some for Biden and some for Trump, so that the

group could run “ICP testing” of the ICP scanner. (Id.) They also retrieved blank

ballots to fill out by hand to run testing of the ICC scanner (used for paper ballots).




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(Id.) Together, the group ran “batch after batch after batch” and “were running the

same ballots over and over and over and over.” (Id.)

      The Coalition Plaintiffs’ expert, Mr. Skogland, explained that a review of the

ICC scanner log files (files that log information about user activity) showed that,

on January 18, the ICC scanner scanned 772 ballots in 6 batches, and on January

19, scanned 5,084 ballots in 33 batches. (Skoglund Decl., Doc. 1635-44 ¶ 108)

(further noting that later on January 19, “the log file recorded a noticeable increase

in scanner errors and batches that halted on ambiguous marks on a ballot.”) Unlike

the ICC scanners (used for the paper ballots), it is not clear what exactly the group

did with the ICP scanners. (Id. ¶ 110.) However, Lenberg testified that Hampton

opened up one of the two ICP scanners to look inside the equipment. (Lenberg

Dep., Doc. 1613 p. 289.)

      In addition to “running tests” on the scanners, Lenberg also testified that he

changed the dates on the ICC scanners and the EMS server to assess whether there

had been a potential hack. (Id. pp. 117–118) (explaining that Lenberg thought that

a “bad actor” might “potentially use the date as a trigger,” and so he thought “let’s

reverse the date on the machine. [He] asked Misty to do that, to set the date back

to November 5th, so that it would be within a reasonable period of time of the

election in case that was being used as a trigger mechanism.”)

      According to Plaintiffs’ expert Mr. Skogland, Lenberg and Logan’s activities

were organized by two attorneys (James Penrose and attorney Charles Bundren).

(See Skoglund Decl., Doc. 1635-44 ¶¶ 9.e; 16.) At least one of these attorneys

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(Penrose) was associated with Sidney Powell and her organization Defending the

Republic. (Lenberg Dep., Doc. 1613 p. 32.)

                              d. Continued Physical Access to Coffee County
                                 Elections Equipment from January 25–29,
                                 2021

      The next unauthorized physical access to, and handling of, Coffee County

election equipment occurred over the course of five straight days, between January

25–29, 2021. On January 25, three of the same individuals — consultant Lenberg,

Elections Supervisor Hampton, and her daughter — returned to the Coffee County

Elections Office where they accessed an ICP scanner, blank ballots, a BMD, and a

printer. (Skoglund Decl., Doc. 1635-44 ¶ 118.) Mr. Skogland’s subsequent review

of the EMS server revealed that, on this date, the election event software was used

to program memory cards and USB drives to be used with a BMD and scanner. (Id.

¶ 120.) Additionally, log files show that more than 500 ballots were scanned in 25

batches. (Id. ¶ 122.)

      On January 26, Lenberg returned to the Coffee County Elections Office, and,

at some point during his visit, an inspector with the Secretary of State

Investigations Division arrived to speak with Hampton about voting matters that

the state was investigating in Coffee County. (Id. ¶ 123.) Lenberg left Hampton’s

office and did not return until the State’s inspector left. (Id.)

      On January 27, Lenberg returned to the Coffee County Election Office once

again but left after 23 minutes. (Id. ¶ 125.) That same day, consultant Lenberg,

consistent with his testimony that he believed there to be “an anomaly,” (Lenberg

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Dep., Doc. 1613 pp. 110–112), submitted an Open Records Request to Coffee

County, stating that he was “doing independent research to help verify the accuracy

of the 2020 General Election” and requested copies of the ICP scanner result tapes

and the batch and tally sheets for the full hand recount of the 2020 General

Election. (Skoglund Decl., Doc. 1635-44 ¶ 127.)

       On January 28, Lenberg returned to the Coffee County Election Office, this

time to pick up a thumb drive from Hampton containing a compressed file named

“Coffee CF.zip,” which included data from the 2021 Run-off Election. (Id. ¶¶ 129–

30.) On January 29, Lenberg returned to the Coffee County Election Office, during

which time Hampton accessed and showed him a PollPad, demonstrated how it

worked, and showed him how it could be connected to the internet. (Lenberg Dep.,

Doc. 1613 pp. 71–72.)

                                 e. Arrangements Made for Forensic Voting
                                    Material Downloaded from Coffee County
                                    to be Further Distributed to Entities and
                                    Persons Outside the State

       Coffee County election equipment and data was further compromised in

April 2021. That month, Paul Maggio (an employee of SullivanStrickler) had a disk

drive — which included all forensic material copied at the Coffee County Elections

Office — sent to consultant Lenberg and private investigator Michael Lynch41 in

Michigan. (Skoglund Decl., Doc. 1635-44 ¶¶ 76–81.) Maggio did this at the request




41 Michael Lynch is a private investigator who Lenberg testified worked closely with Stephanie

Lambert. (Id. ¶ 79; Lenberg Dep., Doc. 1613 p. 103:9–16.)
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of attorneys Penrose and Lambert; Maggio invoiced Lambert for the work. (Id. ¶

77.) Upon receipt, Lenberg made a copy of the disk drive. (Id. ¶ 81.)

      Michigan-based attorney Lambert took the mailed disk drive and provided

it to a digital security firm, CyFIR, so that CyFIR could forensically examine the

Coffee County election software and data. (Id. ¶¶ 84–85.) The founder of CyFIR

(Ben Cotton) later testified that he accessed the SullivanStrickler Coffee County

ShareFile and downloaded Coffee County files stored there on or around June 11–

12, 2021. (Id. ¶ 87.) Cotton further testified that the data was still saved on his

computer at the time of his deposition on August 25, 2022. (Id.)

                                        ***

      In light of the above events — spanning from January 7, 2021 to the present

— it is, according to Dr. Halderman, currently impossible to determine the number

of people or entities that have copies of the Coffee County software and data. (Nov.

2022 Decl. of Alex Halderman, Doc. 1635-19 ¶ 13.) Indeed, according to Dr.

Halderman, anyone who has a copy of the software and data has the level of access

sufficient to discover several vulnerabilities in the EMS sever and the ICC scanner,

craft malware to exploit those vulnerabilities, and test the malware against copies

of the EMS server and ICC scanner running in virtual machines. (Id. ¶ 14.) Thus,

because of these “outside group(s) and individuals copying and distribution of the

proprietary software that operates Georgia’s election system and specific system

configurations” the risk that a future Georgia election will be attacked has

“materially increased.” (Id. ¶ 6.b.)

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                                f. The State Defendants’ Response to Events
                                   in Coffee County

       The State Defendants contend that they were not aware of the Coffee County

breach that began in January 2021 until February 2022. This is despite the fact

that the State was aware of, and was even investigating, other election-related

issues in Coffee County during the same timeframe. Some of these issues were

connected to the Coffee County breach. These election-related issues include: the

Secretary of State’s investigations into Hampton’s December 2020 posting of a

YouTube video about manipulation of Dominion software; the State’s investigation

into Coffee County’s handling of the 2020 presidential election recount; and the

Secretary of State’s communications with the new replacement Coffee County

Elections Supervisor about EMS server passwords no longer working and the

related discovery of a business card for Doug Logan’s Cyber Ninjas on the base of

Misty Hampton’s computer. The Court outlines the State’s awareness of, and

response to, these events now.

       The first election-related issue that the State Defendants knew of involves a

YouTube video posted by Coffee County Elections Supervisor Hampton in

December of 2020. (See Hampton YouTube Video Screenshots and Video Link,

Doc. 1630-22.) In the video, Hampton discusses various ways that Dominion’s

election software could allegedly be manipulated.42 (Secretary of State Report of

Investigation, Doc. 1630-26 at 2.) The video shows Hampton sitting in front of a


42 (See Hampton YouTube Video Screenshots and Video Link, Doc. 1630-22 at 3) (exhibit includes

video link: https://www.youtube.com/watch?v=46CAKyyObls&t=16s.)
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computer, with what appears to be a note with a password written on it taped to

the bottom of the computer screen. (Nov. 22, 2022 Decl. of J. Alex Halderman,

Doc. 1635-19 ¶ 54.) In reviewing the video, Dr. Halderman surmised that the

password displayed was the login password for the Coffee County EMS server. (Id.

¶ 55.)43 The Secretary of State’s Office was aware of this video and opened an

investigation as a result of its posting. (Secretary of State Report of Investigation,

Doc. 1630-26 at 2.)

       The Misty Hampton YouTube video was not the only election issue the

Secretary of State’s Office was investigating in Coffee County. On December 9,

2020, the Secretary of State’s Office opened an investigation into Coffee County’s

handling of the 2020 presidential election recount and recount procedures after

receiving a letter from the Coffee County Board of Elections and Registration

stating that it could not certify its recount. (See SOS Press Release, Doc. 1360-4.)

During this timeframe, the State was also investigating a third issue in Coffee

County related to an absentee ballot request from a voter. (Secretary of State

Report of Investigation, Doc. 1630-26 at 2–3.)

       The Report of Investigation covering these three issues indicates that the

Secretary of State’s Office sent investigators to Coffee County on multiple dates to

look into these events. (Id.) Surveillance footage confirms this, showing that



43 Dr. Halderman opined that, although the EMS server password was changed in December

2020, shortly after the YouTube video emerged, the password that appears on the note was (at
the time of his declaration) still being used as the password for the ICC scanner workstation, which
apparently had the same password as the EMS server. (Id. ¶¶ 55–56.)
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investigators visited Coffee County on three dates in winter 2020–2021: December

11, 2020; January 20, 2021; and January 26, 2021. (Pls.’ Statement of Additional

Facts, Doc. 1637 ¶ 337.) Notably, one of these visits occurred on the same date

(January 26, 2021) that consultant Jeffrey Lenberg was present in the Coffee

County Elections Office. (Id. ¶ 338.) Ms. Hampton also testified that, at some point

after she resigned in February 2021,44 an investigator from the Secretary of State’s

Office contacted her to discuss an unrelated issue about a Coffee County voting

activist who filed a complaint about her treatment by the Coffee County Elections

Office after she allegedly touched the voting machines during the 2020 election.

(Nov. 11, 2022 Dep. of Misty Hampton, Doc. 1610 pp. 227–29, 237.)

       Months later, in September 2021, the Secretary of State’s Office issued its

summary of findings related to the investigation into these three issues, including

the YouTube video incident. (Secretary of State Report of Investigation, Doc. 1630-

26.) This Report of Investigation does not reference any events of the Coffee

County breach that began on January 7, 2021 — or system irregularities that might

have been suggested by the evidence collected during the investigations.




44 Ms. Hampton was forced to resign from her position as Coffee County Elections Supervisor in

February 2021, though the precise reason for her termination remains unclear. For example, in
Gabe Sterling’s deposition, he stated that he understood Ms. Hampton was terminated for her
alleged falsification of time records. (Sterling Dep., Doc. 1370-5 p. 265). But Ms. Hampton’s
testified at her deposition that it was her belief that she was forced to resign because of the video
of people coming in and out of the Elections Office, and that “the State and Dominion was coming
down on Coffee County.” (Hampton Dep., Doc. 1610 pp. 142–143.) Hampton ultimately was
replaced by James Barnes in April 2021. (July 20, 2022 Dep. of James A. Barnes, Jr., Doc. 1630-
17 p. 85.)
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      Besides the three issues addressed in the Report of Investigation, the

Secretary of State’s Office, in April and May 2021, also received a phone call and

later emails from the new Elections Supervisor in Coffee County, James Barnes. In

his call and emails, Barnes indicated that passwords for Coffee County’s EMS

server no longer worked and that a business card for the Doug Logan’s Cyber

Ninjas business was found at the base of Hampton’s computer. (May 7, 2021 Email

from James Barnes to Chris Harvey, Doc. 1631-27 at 3–4.) Specifically, a few weeks

into his tenure, in April 2021, Barnes discovered that the EMS server and ICC

scanner passwords no longer worked. (July 20, 2022 Dep. of James A. Barnes, Jr.,

Doc. 1630-17 pp. 107–08.) Upon making this discovery, Barnes notified the Center

for Elections Systems by phone. (Id.) The discovery that the passwords did not

work further concerned Barnes because he had seen a copy of Doug Logan’s Cyber

Ninjas business card at the base of Ms. Hampton’s computer. (May 7, 2021 Email

from James Barnes to Chris Harvey, Doc. 1631-27 at 3–4.) In light of this additional

concern, Barnes emailed the Secretary of State’s Director of Elections, Chris

Harvey, about his discovery of the Cyber Ninja’s business card. (July 20, 2022 Dep.

of James A. Barnes, Jr., Doc. 1630-17 p. 108; May 7, 2021 Email from James Barnes

to Chris Harvey, Doc. 1631-27.) Barnes later explained that part of the reason he

contacted the Secretary of State’s Office was because he was concerned that the

server was potentially compromised, and he thought there could be a connection

between Hampton’s association with the Cyber Ninjas and the EMS and ICC

passwords not working. (July 20, 2022 Dep. of James Barnes, Doc. 1630-17 p. 162)

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(stating “part of my concern was that, you know, potentially somebody had done

something to that server”).

      Four days after receiving Mr. Barnes’s email (on May 11, 2021), the Director

of Elections (Chris Harvey) responded, noting:

      James,

      Thanks for sending this. I think it might be prudent to see if there has
      been any contact between the person on the card and anyone in your
      office and/or if they have had any access to any of your equipment.

      I have let our investigations Division and CES know, and they might
      follow up with you. Let me know if you have questions or concerns.


(May 11, 2021 Email from Chris Harvey to James Barnes, Doc. 1631-27 at 1.)

Ultimately, after two individuals from CES followed up with Mr. Barnes, the

Secretary of State’s Office replaced the Coffee County EMS server and the

computer attached to the ICC around June 8, 2021. (Pls.’ Statement of Additional

Facts, Doc. 1637 ¶ 359.) No other equipment was replaced and no other follow-up

appears to have occurred at the time.

      Nearly a year later, in mid-March 2022, the Secretary of State’s Office

opened an investigation into the Coffee County breach some weeks or months after

Mr. Sterling had listened to the recording of the call between Scott Hall and Marks

at his deposition. (Aug. 2, 2022 Decl. of Ryan Germany, Doc. 1444-1 ¶ 21.) Despite

this knowledge, the State Defendants continued to deny that there was any cause

for concern. For example, in a Discovery Statement that was submitted to the Court

on April 6, 2022, the State Defendants represented that, “State Defendants are


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investigating several issues related to Coffee County but at this time do not believe

any of them demonstrate a breach of actual equipment.” (Joint Discovery

Statement, Doc. 1360 at 5.) And several weeks later, the Secretary of State’s COO

Gabriel Sterling went a step further, claiming at a public forum that the breach

“didn’t happen.” (See Carter Center Panel Video, Doc. 1633-17) (“So we are still

dealing with that here and we still have to prove negatives in all these cases. It’s

similar across the board. But like, we had claims . . . even recently there was people

saying: ‘We went to Coffee County. We imaged everything.’ There’s no evidence of

any of that. It didn’t happen.”). When he was later asked about Mr. Sterling’s

comments in a September 2022 interview, Secretary Raffensperger said that the

reason why Mr. Sterling thought nothing had happened was because the

individuals the Secretary of State’s investigators had interviewed had not been

truthful. (See 11Alive Article, Doc. 1633-16.) Raffensperger simultaneously

maintained that the Secretary’s office learned about the breach early on and had

been continuing to investigate the matter.45 (Id.) The Secretary of State’s General

Counsel, Ryan Germany further explained, “[g]iven the type of allegations and the

fact that the person asserting these claims had made many other allegations that

were not factually supported regarding the 2020 election, our office determined to



45 The article Plaintiffs reference notes that there were several inconsistencies in Secretary
Raffensperger’s remarks. He initially stated that the Secretary of State’s Office knew of the breach
in January of 2021, but within minutes of so stating, an aide corrected the Secretary of State’s
response off camera and offered May of 2021 as the correct date. (See 11Alive Article, Doc. 1633-
16.) The article then adds that afterwards “a representative with the Secretary of State's Office
clarified that the office did not know about or began investigating Coffee County until July 2022.”
(Id.)
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first undertake a forensic evaluation of the server at issue . . . ” (Aug. 2, 2022 Decl.

of Ryan Germany, Doc. 1444-1 ¶ 22.)

      In attempting to undertake such a forensic evaluation, the Secretary of

State’s Office, in spring 2022, contacted Dominion to attempt to gain access to the

Coffee County EMS. However, Dominion was unsuccessful. (Id. ¶ 23; see Oct. 12,

2022 30(b)(6) Dep. of Gabriel Sterling, Doc. 1635-27 pp. 212–15.) After

Dominion’s efforts failed, the Secretary of State’s Office brought in a consulting

expert with prior GBI experience to attempt to access to the server. (Aug. 2, 2022

Decl. of Ryan Germany, Doc. 1444-1 ¶ 25.) This consulting expert, Jim Persinger,

ultimately gained access to the server on or around July 5, 2022. (Nov. 10, 2022

Decl. of James Persinger, Doc. 1635-40 ¶ 22.)

      About a month later, the Secretary of State’s Office referred the matter to

GBI on August 2, 2022 via a letter from the Secretary of State’s Deputy General

Counsel, Steven Ellis, to GBI Director Vic Reynolds. (Letter from Steven Ellis to

Vic Reynolds, Doc. 1633-33 at 2.) The letter stated, in relevant part,

      Our office is investigating allegations that unauthorized individuals
      claim to have accessed various election materials and equipment in
      Coffee County, Georgia under case number SEB2020-250. During the
      course of our investigation, we have identified evidence that indicates
      the possibility of the commission of cyber- and computer-related
      crimes. . . .

      As a result, I write to request the GBI exercise its authority to assist
      agencies with investigations to assist the Secretary of State’s office in
      its investigation of possible election- and cyber-related crimes in
      Coffee County, Georgia.




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(Id.) The GBI opened an investigation into the breach, which remained ongoing at

the time Defendants filed their Motions for Summary Judgment on January 9,

2023. (See List of SOS Investigations, Doc. 1633-18.)

       Nearly two months after this August 2, 2022 request to GBI — and possibly

more than a year and a half after information regarding the breach became evident

— the Secretary of State’s Office replaced the remaining equipment in the Coffee

County Election Office on September 26, 2022. (SOS 9/23/22 Announcement,

Doc. 1632-45; Notice of Filing Re: Coffee County Equipment, Doc. 1632-46.) The

equipment replaced included all BMDs; all printers that were used with the BMDs;

and all the precinct scanners, flash cards, and thumb drives; but not the EMS

server and ICC scanner, as those had been replaced in June 2021. (Notice of Filing

Re: Coffee County Equipment, Doc. 1632-46; Oct. 12, 2022 30(b)(6) Dep. of

Gabriel Sterling, Doc. 1635-27 pp. 159–61.) The replaced EMS Server and ICC

Scanner, though, would have been subject to any possible malware potentially

transferred by the above-mentioned voting equipment in the time before such

voting equipment was replaced in September 2022.

       Although the equipment was replaced, thus far, none of it has been

examined for malware. (Id. p. 152; Pls.’ Resp. to State Defs.’ SUMF, Doc. 1638 ¶

437.)46 According to published news accounts, the GBI investigation was

completed and turned over to the Georgia Attorney General’s Office on or about

September 7, 2023. Also, on August 14, 2023, the Fulton Count DA’s office


46 The parties dispute the significance of this fact.


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unveiled a criminal indictment of Cathy Latham, Scott Hall, Misty Hampton,

Sidney Powell, former President Donald J. Trump, and others related to their

conduct in Coffee County. See Georgia v. Trump et al., 23SC188947 (Fulton Cty.

Super. Ct. Aug. 14, 2023).47

                Current Procedural Posture

       On January 9, 2023, State Defendants and the Fulton County Defendants

filed Motions for Summary Judgment on all claims. (Docs. 1567, 1568, 1571.) In the

following weeks, the parties submitted over 350 pages of briefing and thousands

of pages of exhibits in support of their positions. The Court held oral argument on

Defendants’ Motions on May 2, 2023. Since that time, the parties have also filed

several notices of supplemental authority identifying new factual and legal

developments for the Court’s consideration. The Court also held two lengthy status

conferences with counsel in the months following oral argument. (See 6/16/23

Minute Entry, Doc. 1683; 9/1/23 Minute Entry, Doc. 1695.) With this

comprehensive evidentiary framing, the Court now moves to its analysis of the

legal issues.




47 Latham, Hall, Hampton, Powell, were charged with violation of the Georgia Racketeer
Influenced and Corrupt Organizations (“RICO”) Act, conspiracy to commit election fraud,
conspiracy: to commit computer theft, to commit computer trespass, to commit computer
invasion of privacy, and to defraud the State. Latham was also charged with impersonating a
public officer, forgery in the first degree, false statements and writings, and criminal attempt to
commit filing false documents. See Georgia v. Trump et al., 23SC188947 (Fulton Cty. Super. Ct.
Aug. 14, 2023). At this point, Hall, Powell, and two other defendants in the case (Jenna Ellis and
Kenneth Chesebro) have entered guilty pleas.
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      Discussion

      Defendants contend that they are entitled to summary judgment both on

jurisdictional grounds and on the merits. Broadly speaking, the State Defendants

argue that the Court lacks jurisdiction over Plaintiffs’ claims because Plaintiffs lack

standing to challenge the current BMD system and because any remaining claims

related to the old DRE system are now moot. The Fulton County Defendants

separately argue that Plaintiffs’ claims against them should fail because they are

not proper defendants in this matter.

      On the merits, Defendants argue that they are entitled to summary judgment

on all claims because Plaintiffs fail to present any evidence that the BMD system

imposes a burden on their constitutional rights, and, even if they had, those

burdens would be insufficient to override the State’s interest in implementing the

existing BMD system. (State Defs.’ MSJ., Doc. 1568-1 at 2–3) (arguing that “the

State’s interest in an orderly election system more than justifies the choice of that

equipment,” and in any case, “Georgia’s choice of equipment rests squarely within

the constitutional authority of the state legislature.”)

      In Plaintiffs’ view, they have presented sufficient evidence to establish

standing, or, “[a]t the very least, material facts pertaining to standing are disputed

and must await resolution at trial.” (Coalition Pls.’ Opp’n, Doc. 1624 at 79.) With

respect to the merits, Plaintiffs argue that “material facts are disputed as to the

existence and magnitude of the burdens” imposed by the current election system,

and that the “task of weighing th[ose] burdens” should be left for trial. (Id.)

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      Before diving in, the Court notes that many of the parties’ jurisdictional

arguments substantially overlap with their merits arguments. For example,

Defendants argument that Plaintiffs lack standing because their asserted harm is

speculative overlaps with their argument on the merits that Plaintiffs fail to

establish that the current BMD system burdens their constitutional rights. There

is thus some repetition of the relevant arguments and evidence.

      In resolving the pending motions, the Court begins by addressing threshold

questions of standing and mootness. After finding that Plaintiffs have, viewing the

facts in their favor, provided sufficient evidence to support standing, the Court

then considers the merits of Plaintiffs’ constitutional claims. After addressing the

merits of the fundamental right to vote and equal protection claims, the Court

addresses the remaining components of the Coalition Plaintiffs’ claims related to

ballot secrecy, scanner settings, and paper backups of the pollbooks.

            Standing

      Defendants first assert that because all Plaintiffs lack Article III standing to

pursue their claims, summary judgment should be granted for lack of subject

matter jurisdiction. See Kennedy v. Floridian Hotel, Inc., 998 F.3d 1221, 1229 (11th

Cir. 2021) (cleaned up) (“The standing doctrine stems directly from Article III’s

case or controversy requirement and implicates our subject matter jurisdiction.”).

Plaintiffs counter that numerous outstanding factual issues preclude the Court

from granting Defendants summary judgment on standing grounds.




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      A plaintiff must demonstrate standing “for each claim he seeks to press and

for each form of relief that is sought.” Town of Chester, N.Y. v. Laroe Estates, Inc.,

581 U.S. 433, 439 (2017) (quoting Davis v. Fed. Election Comm’n, 554 U.S. 724,

734 (2008)). The question of whether a plaintiff has standing is separate from the

question of whether the plaintiff will ultimately prevail on the merits of his asserted

claims. See Wooden v. Bd. of Regents of Univ. Sys. of Ga., 247 F.3d 1262, 1280

(11th Cir. 2001). But courts will often have to consider certain aspects of the merits

of a plaintiff’s claims to make the threshold standing determination. See Warth,

422 U.S. at 500–01 (1975) (citations omitted).

      A plaintiff must establish three elements to have Article III standing. First,

“the plaintiff must have suffered an ‘injury in fact.’” United States v. Hays, 515 U.S.

737, 743 (1995) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). To

satisfy this requirement, a plaintiff must show “an invasion of a legally protected

interest that is (a) concrete and particularized, and (b) actual or imminent, not

conjectural or hypothetical.” Id. at 743 (quoting Lujan, 504 U.S. at 560); see Fla.

State Conference of NAACP v. Browning, 522 F.3d 1153, 1159 (11th Cir. 2008).

Second, the injury must have been fairly traceable to the defendant’s challenged

actions rather than to “the independent action of some third party not before the

court.” Lujan, 504 U.S. at 560 (quoting Simon v. E. Ky. Welfare Rights Org., 426

U.S. 26, 41–42 (1976)); see Browning, 522 F.3d at 1159. Third, the plaintiff’s

injury, or threat of injury, must be “likely . . . redressed by a favorable decision.”



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Lujan, 504 U.S. at 561 (citing Simon, 426 U.S. at 38); see Browning, 522 F.3d at

1159.

        Here, each set of Plaintiffs asserts that they have standing. The Curling

Plaintiffs argue that they each have individual standing. The Coalition Plaintiffs

argue that their individual Plaintiffs have individual standing and that their

organizational Plaintiff, CGG, has both organizational standing in its own right and

associational standing on behalf of its members. See Warth, 422 U.S. at 511 (stating

that an organization may have standing both “in its own right to seek judicial relief

from injury to itself” and to “assert the rights of its members, at least so long as the

challenged infractions adversely affect its members’ associational ties”). The Court

begins by addressing whether CGG has organizational standing.

                    1.     CGG’s Standing

        “An organization can establish standing in two ways: (1) through its

members (i.e., associational standing) and (2) through its own injury in fact that

satisfies the traceability and redressability elements” (i.e., standing in its own

right). Ga. Ass’n of Latino Elected Officials, Inc. (“GALEO”) v. Gwinnett Cnty. Bd.

of Registration & Elections, 36 F.4th 1100, 1114 (2022). The Coalition Plaintiffs

assert that CGG has both associational standing and standing in its own right. The

Court first determines whether CGG has standing in its own right.

        To assess whether an organizational plaintiff has standing in its own right,

the Court conducts “the same inquiry as in the case of an individual.” See Havens

Realty Corp. v. Coleman, 455 U.S. 363, 378–79 (1982). It must demonstrate “(1)

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an injury in fact that (2) is fairly traceable to the challenged action of the defendant

and (3) is likely to be redressed by a favorable decision.” See Jacobson v. Florida,

974 F.3d 1236, 1245 (11th Cir. 2020) (citing Lujan, 504 U.S. 555, 560–61). The

Court addresses each element in turn.

                              a. Injury in Fact

      It is well established that “an organization can establish its own injury in fact

under a diversion of resources theory.” See GALEO, 36 F.4th at 1114 (citing

Jacobson, 974 F.3d at 1249–50); Fair Fight Action, Inc. v. Raffensperger, 634 F.

Supp. 3d 1128, 1177 (N.D. Ga. 2022). “Under this theory, an organization has

standing ‘if the defendant’s illegal acts impair its ability to engage in its projects by

forcing the organization to divert resources to counteract those illegal acts.’”

GALEO, 36 F.4th at 1114 (quoting Jacobson, 974 F.3d at 1250). But this requires

the organizational plaintiff to “explain where it would have to ‘divert resources

away from in order to spend additional resources on combating’ the effects of the

defendant’s alleged conduct.” GALEO, 36 F.4th at 1114 (quoting Jacobson, 974

F.3d at 1250) (emphasis original); see, e.g., Common Cause/Ga. v. Billups

(“Billups”), 554 F.3d 1340,1350 (11th Cir. 2009) (finding an organization had

standing because it diverted “resources from its regular activities to educate and

assist voters in complying with” a challenged photo ID law); Browning, 522 F.3d

at 1164–66 (finding an organization had standing because it diverted resources

from performing voter registration drives and election monitoring to “educating




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volunteers and voters on compliance with [the challenged law] and to resolving the

problem of voters left off the registration rolls on election day”).

      Additionally, an organization seeking to establish standing under a

diversion-of-resources theory “cannot do so by inflicting harm on itself to address

its members’ ‘fears of hypothetical future harm that is not certainly impending.’”

City of S. Miami v. Governor, 65 F.4th 631, 638 (11th Cir. 2023) (quoting Clapper

v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013)). Thus, “[t]o prove injury in fact

based on an organization’s diversion of resources to protect individuals from harm,

the organizational plaintiff must prove both that it has diverted its resources and

that the injury to the identifiable community that the organization seeks to protect

is itself a legally cognizable Article III injury that is closely connected to the

diversion.” City of Miami, 65 F.4th at 638–39 (emphasis original). Such harm

“must be concrete and imminent.” Id. at 639.

      Plaintiffs contend that the Eleventh Circuit has already confirmed that CGG

has organizational standing through a diversion-of-resources theory in this case.

Specifically, they point to the Eleventh Circuit’s decision regarding the State

Defendants’ appeal of the Court’s paper backup and scanner setting Orders. See

Curling, 50 F.4th at 1121. There, one argument the State Defendants raised before

the Eleventh Circuit was that this Court lacked jurisdiction to hear the case because

the Coalition Plaintiffs lacked standing. The Eleventh Circuit squarely rejected that

argument. It explained:



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       We have recognized that voting advocacy organizations like the
       Coalition have standing to sue when a policy will force them “to divert
       personnel and time to educating volunteers and voters” and to
       resolving problems that the policy presents “on election day.” Florida
       State Conf. of the NAACP v. Browning, 522 F.3d 1153, 1165–66 (11th
       Cir. 2008); see also, e.g., Georgia Ass’n of Latino Elected Offs., Inc.,
       v. Gwinnett Cnty. Bd. of Registration & Elections, 36 F.4th 1100, 1114
       (11th Cir. 2022). Because the Coalition credibly made that assertion,
       the district court had jurisdiction to hear the Coalition’s and its
       members’ requests for injunctive relief.48

Id. Thus, the Eleventh Circuit “confirmed” that CGG had standing at that point in

the case’s litigation. See id.

       In light of this finding by the Eleventh Circuit, Plaintiffs contend that the

“law-of-the-case doctrine” requires the Court to treat the issue of standing as

already decided. This doctrine holds that “an issue decided at one stage of a case is

binding at later stages of the same case.” Schiavo ex rel. Schindler v. Schiavo, 403

F.3d 1289, 1291 (11th Cir. 2005) (citation omitted); see also A.A. Profiles, Inc. v.

City of Fort Lauderdale, 253 F.3d 576, 582 (11th Cir. 2001) (“Generally, the law of

the case doctrine requires a court to follow what has been explicitly or by necessary

implication decided by a prior appellate decision.”). Although there are “a few


48 During the oral argument for the appeal, several Judges on the Eleventh Circuit panel appeared

highly skeptical of the State Defendants’ arguments that CGG lacked organizational standing.
Several minutes into defense counsel’s argument, one of the panelists, Judge Grant inquired,
“what do you identify specifically as different between this set of this organizational plaintiff
versus the dozens that we have found have standing for in other election cases?” Oral Argument
at 04:24–04:35. Curling v. Raffensperger, 50 F.4th 1114 (11th Cir. 2022) (No. 20-13730),
https://www.ca11.uscourts.gov/oral-argument-recordings?title=20-13730&field_oar_case_
name_value=&field_oral_argument_date_value%5Bvalue%5D%5Byear%5D=&field_oral_argu
ment_date_value%5Bvalue%5D%5Bmonth%5D=. Another one of the panelists, Judge Luck,
advised the Coalition Plaintiffs’ counsel right at the start of his response time that he should focus
his arguments on the merits instead of standing. Id. at 14:33–14:48. And just a few minutes later,
he reiterated to counsel, “I think you have standing.” Id. at. 19:15–19:16. Shortly thereafter, Judge
Grant stated, “We are not talking about standing. Standing is over.” Id. at 20:36–20:38.

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discreet exceptions” to application of the law-of-the-case doctrine, see Schiavo,

403 F.3d at 1292, Defendants have not established that any apply here. Thus, the

law-of-the-case doctrine requires the Court follow what was previously decided by

the Eleventh Circuit. See A.A. Profiles, Inc., 253 F.3d at 582.

      But the State Defendants contend that the issue of CGG’s standing was not

conclusively decided in the Eleventh Circuit’s 2022 opinion. They argue that

because the 2022 opinion concerned Plaintiffs’ preliminary injunction motions,

and the Coalition Plaintiffs must now clear a higher evidentiary bar to establish

standing at summary judgment, the issue is once again before the Court. On this

issue, the Court acknowledges that CGG must establish that it has standing “with

the manner and degree of evidence required at the successive stages of the

litigation.” Jacobson, 974 F.3d at 1245 (quoting Lujan, 504 U.S. at 561). But as

discussed below, after review of the relevant legal and evidentiary factors, the

Court finds that CGG has continued to satisfy that burden for purposes of summary

judgment.

                          i. CGG Diverted Resources to Counteract
                             Defendants’ Alleged Unlawful Conduct

      To begin, Plaintiffs have shown that CGG has diverted resources to combat

Defendants’ alleged unlawful conduct. See City of Miami, 65 F.4th at 638. CGG’s

executive director, Marilyn Marks, has provided both oral and written testimony

explaining the numerous ways in which Defendants’ continued use of the BMD

system and refusal to institute needed changes has strained CGG’s resources and


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resulted in CGG and its members diverting their resources away from other

projects. In addition to challenging Defendants’ use of the BMD system through

this litigation, Marks stated that CGG has engaged in the following activities in

response to Defendants’ conduct: lobbying state and county lawmakers about

BMD-related issues, including by “promoting effective audits”; attending SAFE

Commission49 meetings; educating its own members about both “the problems

with the BMDs” and the “necessity for audits”; and proposing rules to the SEB

addressing these same topics. (Mar. 17, 2022 30(b)(6) Dep. of Marilyn Marks, Doc.

1569-25 pp. 158–59.) In a February 12, 2021 declaration, Marks provided a laundry

list of projects that CGG had diverted its attention from as a consequence of its

work on this case and related issues surrounding the State’s use of the BMD

system. Marks explained:

       Some examples include: inability to participate in the EAC’s current
       process of accepting comments on the controversial pending
       Voluntary Voting System Standards; sharply reducing active
       involvement in Election Verification Network (a national organization
       of election experts); declining most speaking invitations on the topic
       of election security; ceased active involvement in State Audit Working
       Group (experts focused on developing election auditing standards);
       ceased activity in weekly meetings of Election Cybersecurity Working
       Group (a group proposing VVSG standards to NIST); ceased work in
       on-going drive-up voting project CGG initiated in North Carolina;
       became inactive in working with other North Carolina election
       transparency groups on voter education and transparency efforts in
       Wake County; reduced collaboration with North Carolina NAACP on
       voter education on election security; stopped participation in
       meetings of the North Carolina State Board of Elections; stopped
49 According to the Georgia Secretary of State’s website, the Secure, Accessible & Fair Elections

(“SAFE”) Commission was established by former Secretary of State Brian Kemp in 2018 “to study
options for Georgia’s next voting system.” Election Safeguards, Georgia Secretary of State Brad
Raffensperger, https://sos.ga.gov/page/elections-safeguards (last visited July 11, 2023).

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       participation in Charlotte-Mecklenburg Board of Elections meetings;
       lacked resources to provide requested consulting support for another
       non-profit organization’s North Carolina state court case on ballot
       marking devices; abandoned CGG’s plans to file a lawsuit in North
       Carolina against the use of ballot marking devices; deferred plans to
       file a lawsuit in North Carolina on the violations of secret ballot laws;
       limiting CGG’s involvement in the current effort to educate the New
       York State Board of Elections on the problems in using Ballot Marking
       Devices; declining request of Colorado members to help educate the
       Boulder Colorado City Council on problems with Instant Runoff
       Voting; declining the request of Georgia members to conduct voter
       education or author an opinion piece on the difficulties with Ranked
       Choice Voting; cancel plans for candidate forum on election security
       prior to the November election; cancel plans to conduct a meeting
       regarding Georgia needed election law changes with a group of
       Georgia lawmakers; delayed preparation of education materials for
       Georgia election officials regarding HB270; and failing to keep our
       website, fundraising efforts and donor communications current.

(2/12/21 Suppl. Decl. of Marilyn Marks, Doc. 1071-2 ¶ 10.)

       In a February 2023 declaration, Marks stated that these types of activities

“continue to be activities CGG resources have been diverted from in order to

challenge the conduct of the Defendants with respect to the use of the BMD

system.” (2/10/23 Decl. of Marilyn Marks, Doc. 1618 ¶ 35.)50 She added that in past

years, CGG prepared drafts of potential legislation and met with lawmakers during

the Georgia General Assembly’s legislative session about issues related to


50 The State Defendants argue that the Court should not consider Ms. Marks’s declaration
testimony about how CGG diverted its resources because it contradicts her prior deposition
testimony in which — at least according to the State Defendants — she failed to explain how CGG
diverted its resources. They rely on the Eleventh Circuit’s decision in Van T. Junkins & Associates
v. U.S. Industries, Inc., 736 F.2d 656 (11th Cir. 1984), where it stated, “When a party has given
clear answers to unambiguous questions which negate the existence of any genuine issue of
material fact, that party cannot thereafter create such an issue with an affidavit that merely
contradicts, without explanation, previously given clear testimony,” id. at 657. Contrary to the
State Defendants’ suggestion, Marks’s declaration is not a sham affidavit as it is fully consistent
with her prior testimony about the myriad ways in which CGG has diverted its resources in
response to Defendants’ conduct. (See 2/12/21 Suppl. Decl. of Marilyn Marks, Doc. 1071-2 ¶ 10.)
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government transparency and oversight. (Id. ¶ 31.) But she explained that “[t]he

demands of challenging the BMD system have curtailed most legislative lobbying

activity for CGG projects.” (Id.)

      Marks also identified one CGG volunteer in particular, Paschal McKibben,

who she claimed spent approximately 177 hours since last fall reviewing video

surveillance footage of the unauthorized access to the voting system in Coffee

County, Georgia, which had prevented him from engaging in other CGG projects.

(Id. ¶¶ 25–26.) Marks explained,

      The hours that Mr. McKibben has spent on the Coffee County video
      were hours taken away from his ability and capacity to undertake
      video creation and editing projects he has volunteered to do for CGG.
      He has volunteered to help create training and educational videos, but
      because of our efforts to challenge the BMD voting system, he is
      unable to engage in those activities and our team is unable to organize
      such efforts. Those efforts would include educational videos on our
      Accurate Count Project with Scrutineers, and our desired Ranked
      Choice Voting educational efforts, advising municipal officials on
      conducting their own elections, among other topics.

(Id. ¶ 26.) Marks also noted, “Mr. McKibben has been a poll observer for CGG, but

was unable to serve except in a limited capacity during the 2022 general election

and runoff because of the priority and time urgency of the Coffee County video

project.” (Id. ¶ 27.) And although Mr. McKibben “volunteered to participate as a

CGG monitor in [CGG’s] joint Scrutineers ‘Accurate Count’ project to create an

audit trail of Election Night Reporting results,” Marks stated that she “asked him

to prioritize the Coffee County video review instead.” (Id. ¶ 28.)

      In short, just as the Eleventh Circuit previously concluded, Plaintiffs have

“credibly” asserted that CGG has diverted resources in response to Defendants’
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conduct. See Curling, 50 F.4th at 1121. Plaintiffs have provided sufficient evidence

that CGG’s “actual ability to conduct specific projects” not only will be, but in fact,

has been “frustrated.” See Browning, 522 F.3d at 1166. “Such concrete and

demonstrable injury to the organization’s activities — with the consequent drain

on the organization’s resources — constitutes far more than simply a setback to the

organization’s abstract social interests[.]” Havens Realty Corp., 455 U.S. at 379.

“This effect on the operations of the organization[ is] a ‘concrete injury’ sufficient

to confer standing.” Billups, 554 F.3d at 1350 (citing Browning, 522 F.3d at 1165–

66).

        None of Defendants’ arguments to the contrary are persuasive. First, relying

on Equal Rights Center v. Post Properties, Inc., 633 F.3d 1136 (D.C. Cir. 2011), the

State Defendants argue that CGG’s claimed diversion is really just an increase in

litigation expenses, and that CGG cannot claim to be injured simply by virtue of

increases in such expenses.51 But as the court in Equal Rights Center observed,

“While the diversion of resources to litigation or investigation in anticipation of



51 Counsel for the State Defendants raised a similar argument when addressing the issue of

standing before the Eleventh Circuit. Evidently, the panel was not persuaded. When counsel for
the State Defendants argued that CGG lacked standing because “the Coalition exists to litigate,
that is its sole purpose,” Judge Luck responded, “so I looked at that and I know you make that
argument but . . . at least in their allegations . . . it is alleged the executive director . . . would now
have to spend efforts on education, instruction, and litigation as a result and otherwise would
have done work on auditing and election reform efforts which is not litigation related so it seems
to be — you might have a point if the only goal was litigation and that’s what they’re doing but this
seems to be not that, this seems to be true diversion from at least something else.” Oral Argument
at 04:39–05:16. Curling v. Raffensperger, 50 F.4th 1114 (11th Cir. 2022) (No. 20-13730),
https://www.ca11.uscourts.gov/oral-argument-recordings?title=20-13730&field_oar_case_
name_value=&field_oral_argument_date_value%5Bvalue%5D%5Byear%5D=&field_oral_argu
ment_date_value%5Bvalue%5D%5Bmonth%5D=.

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litigation does not constitute an injury in fact sufficient to support standing, [an

organization’s] alleged diversion of resources to programs designed to counteract

the injury to its interest . . . could constitute such an injury.” Id. at 1140 (emphasis

added). Here, the Coalition Plaintiffs have provided evidence of not only an

increase in litigation expenses, but also a “diversion of resources to programs

designed to counteract the injury to its interest” as a consequence of Defendants’

use of the BMD system. See id.

      For example, CGG member Elizabeth Throop testified that she had

previously helped prepare slideshows for webinars to educate the public on a wide

range of topics ranging “from best practices for poll watchers, to the role of the

State Election Board, to the importance of audits.” (2/7/23 Suppl. Decl. of

Elizabeth Throop, Doc. 1596 ¶ 29.) But as a consequence of Defendants’ conduct,

she explained that “CGG has had to devote considerable time in these

presentations to covering problematic aspects of Georgia’s BMD voting system”

instead of other topics. (Id.) Throop also stated that a “significant part” of her work

for CGG in the past has been attending monthly meetings of the DeKalb Board of

Registration and Elections (“BRE”) and presenting comments to the Board, but

her recent comments have largely been focused on issues surrounding the BMD

system’s voting equipment to the exclusion of other issues. (Id. ¶¶ 30–31.) She

added, “CGG could be providing a great resource to the DeKalb BRE in many other

aspects of election administration and transparency, but the challenge to the

voting system diverts the time available to do so.” (Id.) Along these same lines,

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Throop explained that she originally started poll watching for CGG “to find out

whether voters are dissuaded or prevented from casting their votes due to

challenging forms, notices, and ballots,” but that the need to focus on election

security issues has prevented her from doing so. (Id. ¶ 8.)

      As Ms. Throop’s testimony indicates, although CGG has clearly diverted

significant resources from other projects to support its efforts to challenge the

BMD system through this litigation, it has also devoted significant resources

toward responding to the State’s use of the BMD system and educating citizens

regarding their use of the election system through other avenues. (See also 2/7/23

Decl. of Jeanne Dufort, Doc. 1593 ¶ 52 (“The time spent on this litigation and other

work challenging the BMD system greatly limits my ability to perform other work

for CGG.”) (emphasis added); 2/7/23 Decl. of Aileen Nakamura, Doc. 1597 ¶ 88

(“[T]his litigation and CGG’s administrative and lobbying challenges to the BMD

system have prevented, reduced or delayed much of CGG’s important work.”)

(emphasis added)).

      Second, the State Defendants argue that the Coalition Plaintiffs cannot

establish standing on a diversion-of-resources theory because filing lawsuits and

engaging in advocacy related to electronic voting and election administration is

already a part of CGG’s organizational mission. In other words, they argue that the

sorts of tasks that the Coalition Plaintiffs have performed in response to

Defendants’ conduct are all tasks that CGG would have performed anyway. But as

this Court recently explained, “a plaintiff may show a diversion of resources even

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if it diverts from one activity aimed at achieving an organizational mission to a

different activity aimed at that same mission.” Fair Fight Action, Inc., 634 F. Supp.

3d at 1178 (collecting cases). “Similarly, when an organization diverts its resources

to achieve its typical goal in a different or amplified manner, the organization may

still gain standing.” Id. (citing GALEO, 36 F.4th at 1115, and Browning, 522 F.3d

at 1166). Simply put, CGG can certainly establish a diversion of resources by

showing that its expenditure of resources in response to Defendants’ conduct has

limited its ability to pursue other projects that also advance its organizational

mission. In such circumstances, “because plaintiffs cannot bring to bear limitless

resources, their noneconomic goals will suffer.” Browning, 522 F.3d at 1166. The

State Defendants’ arguments to the contrary are unpersuasive.

      Next, the State Defendants argue that CGG has failed to provide sufficient

evidence of a diversion of resources because it has kept inadequate records to

substantiate its claims of diversion. For instance, the State Defendants note that

CGG does not maintain a written annual budget or track volunteer time. (See State

Defs.’ SUMF, Doc. 1569 ¶¶ 189, 199.) And they contend that these issues make it

impossible to “quantify” any diverted volunteer time or determine “how much of

[CGG’s] claimed diversion is due to this litigation and how much is due to other

factors,” “which requests for assistance from other organizations it receives that

are rejected due to a general lack of resources as opposed to its claims in this case,”

or “when it diverts resources based on the actions of nonparty counties versus the

actions of State Defendants.” (State Defs.’ Mot. for Summ. J., Doc. 1568-1 at 10–

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11.) The Court understands the State Defendants’ concerns about the adequacy of

CGG’s records. However, these supposed recordkeeping shortfalls do not erase the

Coalition Plaintiffs’ credible assertions — made through sworn testimony, which

the Eleventh Circuit has previously accepted as adequate — that CGG has diverted

its resources in response to Defendants’ conduct. Given the solid and credible

record that CGG has established, the Court does not view a higher degree of

quantification as required at this stage of the proceedings.

      As a fallback, the State Defendants argue that CGG has not been injured

because it has used this case for fundraising purposes, meaning that it has

financially benefitted from Defendants’ conduct instead of being harmed. To the

Court’s knowledge, no court has ever accepted this novel argument. Regardless,

CGG’s fundraising numbers would not eliminate its claimed injuries to its

organizational and broader educational interests or its diversion of resources in

response to the State’s conduct.

                          ii. CGG’s Diversion of Resources is Closely
                              Connected to Efforts to Protect an Identifiable
                              Community      from      a    Nonspeculative,
                              Cognizable Injury

      In the cases where the Eleventh Circuit “has found standing based on a

resource-diversion theory, the organizations pointed to a concrete harm to an

identifiable community, not speculative fears of future harm.” City of S. Miami, 65

F.4th at 639. As City of South Miami explained:

      In Browning, the organizations helped black voters comply with new
      voting rules that went into effect before an election. Those rules

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      applied to all voters, “forcing” the organizations to divert resources to
      educate these voters before the election. Browning, 522 F.3d at 1165.
      Similarly, in Georgia Latino Alliance for Human Rights v. Governor
      of Georgia, 691 F.3d 1250 (11th Cir. 2012), illegal immigrants faced a
      “credible threat of detention” under a new immigration law. Id. at
      1258. So the law “forc[ed]” the organizations to divert resources to
      protect illegal immigrants from this imminent harm. Id. at 1260.

Id. Thus, to establish a resource-diversion injury, CGG “must present . . . concrete

evidence to substantiate its fears,” rather than “commit resources based on mere

conjecture about possible governmental actions.” Id. (cleaned up). At this juncture,

the Court concludes that when all facts and inferences are construed in Plaintiffs’

favor, the robust record that they have put forth meets this burden for purposes of

summary judgment and establishing standing.

      Here, CGG has been forced to divert resources to protect its members’ right

to have their votes counted as cast if they are required to vote on Georgia’s BMD

voting system. The harm CGG fears is not based on unsupported or speculative

notions, but is shown by testimony, documentation, and expert evidence. While

Plaintiffs’ assembled record may not ultimately carry the day at trial, the Court

deems it sufficient to establish the organization’s injury in fact at summary

judgment.

      First, an injury to CGG members’ right to have their votes counted as cast is

a concrete, legally cognizable Article III injury. See City of S. Miami, 65 F.4th at

639–40. As the Supreme Court has recognized, “all qualified voters have a

constitutionally protected right to vote,” and that right necessarily encompasses

“the right of qualified voters within a state to cast their ballots and have them

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counted.” Reynolds v. Sims, 377 U.S. 533, 554–54 (1964) (emphasis added). An

injury to CGG members’ right to have their votes counted as cast is thus sufficiently

concrete for standing purposes.

      Second, this injury is closely connected to CGG’s diversion of resources. See

City of S. Miami, 65 F.4th at 639–40. Construing the facts in their favor, Plaintiffs

have put forth sufficient evidence to show that CGG has diverted its resources in

response to the State Defendants’ selection, implementation, and maintenance of

an election system that allegedly injures CGG members’ right to have their vote

counted as cast.

      Third, this injury is a sufficiently “imminent” threat to CGG members to

survive summary judgment. See City of S. Miami, 65 F.4th at 638, 640. “While this

standard does not require a plaintiff to show that it is ‘literally certain that the

harms they identify will come about,’ it, at the very least, requires a showing that

there is a ‘substantial risk’ that the harm will occur.” Tsao v. Captiva MVP Rest.

Partners, LLC, 986 F.3d 1332, 1338–39 (11th Cir. 2021) (quoting Clapper, 568 U.S.

at 414 n.5). Construing all facts and inferences in Plaintiffs’ favor, as the Court

must, this standard is satisfied here.

      In the 2020 PI Order, the Court previously concluded that “[t]he substantial

risks and long-run threats posed by Georgia’s BMD system, at least as currently

configured and implemented, are evident.” (10/11/20 PI Order, Doc. 964 at 89.)

The Court explained that Plaintiffs had “shown demonstrable evidence that the

manner in which Defendants’ alleged mode of implementation of the BMD voting

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system, logic and accuracy testing procedures, and audit protocols deprives them

or puts them at imminent risk of deprivation of their fundamental right to cast an

effective vote (i.e., a vote that is accurately counted).” (Id. at 79).

      Among other evidence submitted with Plaintiffs’ preliminary injunction

motion was Dr. Halderman’s testimony that, like the DRE system before it, the

BMD system relied on out-of-date and vulnerable software. (See Aug. 19, 2020

Decl. of Alex Halderman, Doc. 785-2 ¶ 16.) Dr. Halderman explained that out-of-

date software components present a security risk “because they frequently contain

known, publicly documented vulnerabilities that have been corrected in later

versions.” (Id. ¶ 17.) Accordingly, Dr. Halderman noted that Texas had refused to

certify Dominion’s BMD system for use in its own elections based on a number of

vulnerabilities that its examiners discovered in the system. (Id. ¶¶ 19–20.) And the

PI Order recognized that Georgia was “the only state using the Dominion QR

barcode-based BMD system statewide as the mandatory voting method for all in-

person voters.” (10/11/20 PI Order, Doc. 964 at 15.)

      Plaintiffs also presented significant evidence that both U.S. and Georgia

elections are targets for hacking. Dr. Halderman testified that 18 states were the

subject of cyberattacks in the 2016 election cycle, including Georgia. (Aug. 7, 2018

Decl. of Alex Halderman, Doc. 1628-1 ¶ 8.) And the Secretary of State’s own

cybersecurity consultant, Theresa Payton of Fortalice — who previously served as

the White House Chief Information Officer to President George W. Bush — agreed

in her 2019 testimony that, before the 2018 midterm elections, she believed it was

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a certainty that the elections would be targeted by hackers. (July 25, 2019 PI Hr’g

Tr., Doc. 1628-29 at 206) (“Q. And going into the midterm elections of last year,

you had grave concerns about election interference; correct? A. I did, yes. Still do.

Q. In fact, going into the midterms of last year, you believe that one thing that we

can be sure of is that a U.S. election will be hacked, no doubt about it; right? A.

Yes.”)

         These concerns were further corroborated by numerous government

reports, some of which were discussed earlier in this Order. (See 8/15/19 PI Order,

Doc. 579 at 35–42) (discussing, e.g., Senate Select Committee on Intelligence

Report). For example, Russia’s efforts to interfere with the 2016 election in “more

than two dozen states” — including Georgia — were described in detail in the

Mueller Report. (Aug. 19, 2020 Decl. of Alex Halderman, Doc. 785-2 ¶ 60.) In

2020, Dr. Halderman testified that the Mueller Report’s findings “leav[e] no doubt

that Russia and other adversaries will strike again.” (Id. ¶ 60.) Likewise, the Office

of the Director of National Intelligence “assessed that foreign threats to the 2020

election include[d] ‘ongoing and potential activity’ from Russia, China, and Iran,”

and “conclude[ed] that ‘[f]oreign efforts to influence or interfere with our elections

are a direct threat to the fabric of our democracy.’” (Aug. 19, 2020 Decl. of Alex

Halderman, Doc. 785-2 ¶ 62) (citing Office of the Director of National Intelligence,

“Statement by NCSC Director William Evanina: Election Threat Update for the

American Public” (Aug. 7, 2020)). Ultimately, Dr. Halderman opined that



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“Georgia’s BMD-based election system does not achieve the level of security

necessary to withstand an attack by these sophisticated adversaries.” (Id. ¶ 63.)

      Based on this and other evidence, the Court concluded in the 2020 PI Order

that the risks presented by the BMD system as it was then configured “are neither

hypothetical nor remote under the current circumstances.” (10/11/20 PI Order,

Doc. 964 at 145.) Instead, the Court found that “[t]he Plaintiffs’ national

cybersecurity experts [had] convincingly present[ed] evidence that this is not a

question of ‘might this actually ever happen?’ – but ‘when it will happen,’ especially

if further protective measures are not taken.” (Id.)

      Presently, Plaintiffs’ briefs opposing the pending Motions for Summary

Judgment continue to rely on much of the same evidence that was before the Court

in 2020. But importantly, Plaintiffs also offer new evidence, which has come to

light since the Court’s 2020 PI Order. This new evidence further supports a finding

that that the current configuration of Georgia’s BMD voting system and its mode

of implementation and oversight by State Defendants present a substantial risk

that CGG members’ votes will not be counted as cast.

      Plaintiffs first point to Dr. Halderman’s July 2021 Expert Report, which

demonstrates in painstaking detail how numerous attacks on Georgia’s election

system could become a reality. It describes how a malicious actor could insert

malware in a BMD device, alter audit logs, or even change votes by manipulating

the QR codes containing a voters’ selections.



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       The Department of Homeland Security’s Cybersecurity & Infrastructure

Security Agency corroborated many of the vulnerabilities identified in the

Halderman Report,52 and indicated that these vulnerabilities should be mitigated

as soon as possible. (CISA Advisory, Doc. 1631-46 at ECF 2.) But to date, the record

evidence indicates that these vulnerabilities remain exposed. There is currently no

evidence that the State has taken action to implement CISA’s recommended

mitigation steps or otherwise responded to the vulnerabilities identified by Dr.

Halderman. This is despite the fact that the Georgia Secretary of State’s Chief

Operations Officer, Gabriel Sterling, agrees that these mitigation steps should be

implemented.53 (Oct. 12, 2022 30(b)(6) Dep. of Gabriel Sterling, Doc. 1562 p. 349.)

       As was the case in 2020, Defendants fail to identify a single cybersecurity

expert who endorses the current configuration of Georgia’s BMD system.54 (See

Feb. 11, 2022 30(b)(6) Dep. of Michael Barnes, Director of the Election Center

Director for the Georgia Secretary of State, Doc. 1634-55 p. 296) (“Q. Can you

identify one cybersecurity election expert that has endorsed the current Georgia




52 The State Defendants’ rebuttal expert on other related voting issues, Dr. Juan Gilbert, stated

that he does not disagree with many of the technical failings identified by Dr. Halderman, (Oct.
29, 2021 Dep. of Juan Gilbert, Doc. 1635-17 pp. 217–45), and that Dr. Halderman was someone
whom he would personally defer to on cybersecurity issues, (id. p. 144).
53 However, Sterling clarified that he thought at least one of CISA’s recommendations was not

technically feasible. (See Oct. 12, 2022 30(b)(6) Dep. of Gabriel Sterling, Doc. 1562 pp. 349–50.)
54 The State Defendants’ expert, Dr. Gilbert, who specializes in disability access issues in the

voting realm, indicated that he supported the State’s use of the BMD system, but acknowledges
that he does not have Dr. Halderman’s background in cybersecurity. In addition, even though Dr.
Gilbert represented that he thought a QR code-based system could be used, he stated, “if I had my
choice, I would recommend not using them.” (Oct. 29, 2021 Dep. of Juan Gilbert, Doc. 1635-17
pp. 88–89.) In Dr. Gilbert’s view, eliminating the QR codes and switching to a full-face ballot
system is “a solution that would get rid of a lot of these issues that we're discussing.” (Id. at 88.)
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system as a reliable voting system? A. I cannot.”). 55 Although Defendants cite a

2018 NAS report to argue that the scientific community recommends the use of

BMDs, Plaintiffs have provided evidence that, since the report was issued, the

scientific consensus surrounding the use of BMDs has changed. (See Pls.’ Resp. to

State Defs.’ SUMF, Doc. 1638 ¶¶ 6, 427; see also Jan. 27, 2022 Dep. of Andrew

Appel, Doc. 1553 p. 54.)56

       And critically, the ongoing revelations regarding the January 2021 Coffee

County election equipment breach lend serious support to Plaintiffs’ argument that

the current configuration of Georgia’s BMD voting system presents a substantial

risk that CGG members’ votes will not be counted as cast. For some time, the State

Defendants’ principal response to the issues raised in the 2021 Halderman Report

was that Dr. Halderman was only able to simulate attacks on the State’s election

system because he had unfettered access to the equipment. And they maintained

that malicious actors would be unable to replicate any of those attacks because,

unlike Dr. Halderman, they could not obtain access to the equipment. (See, e.g.,

Feb. 24, 2022 30(b)(6) Dep. of Gabriel Sterling, Doc. 1634-53 pp. 70–71.) Plaintiffs

persuasively contend that the Coffee County breach undermines that argument.



55 The Court acknowledges that the MITRE Corporation performed a positive evaluation of the

BMD system on behalf of Dominion, but as the Court previously explained, the Court cannot
properly consider the MITRE Report for purposes of summary judgment. (See Doc. 1680 at 7)
(“As the Defendants did not seek to make the MITRE Report available to the Plaintiffs during the
discovery period prior to summary judgment briefing, the Court will not consider the MITRE
report in connection with the summary judgment motion.”). The Court also notes that the MITRE
Corporation never reviewed the BMD system’s actual implementation in Georgia or elsewhere or
security practices used (or not used) in connection with this implementation.
56 Whether this evidence is conclusive is another question.


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(See Jan. 3, 2023 Dep. of Alex Halderman, Doc. 1570-8 p. 42) (stating that his

takeaway from the Coffee County breach was that “the equipment is vulnerable”

and outsiders could now obtain access to the election system to exploit

vulnerabilities).

       For his part, Dr. Halderman has testified that as a result of the Coffee County

breach, “[t]he risk that a future Georgia election will be attacked materially

increased,” particularly in light of the copying and wide geographic distribution of

Dominion’s software.57 (Nov. 22, 2022 Decl. of Alex Halderman, Doc. 1635-19 ¶

6.b.) Because copies of the Dominion software and voting system data from Coffee

County were uploaded to the Internet, Dr. Halderman has opined that it is

presently impossible to determine precisely how many people or entities have

copies of the software and data, or will have copies in the future. (Id. ¶ 13.)

       He further explained that this distribution of the proprietary Dominion

software that operates Georgia’s election system (and data related to specific

system configurations) arising from the Coffee County capers materially increases

the risk that future Georgia elections will be attacked because “[t]echnical experts

who analyze this data can discover vulnerabilities and develop means to exploit

them.” (Nov. 22, 2022 Decl. of Alex Halderman, Doc. 1635-19 ¶ 6.b.) Critically, he

noted that the heightened risk resulting from this breach “applies not only to



57 Dr. Halderman had previously explained that “[s]oftware of the size and complexity of the

Dominion code inevitably has exploitable vulnerabilities” and “Nation-state attackers often
discover and exploit novel vulnerabilities in complex software.” (Aug. 19, 2020 Decl. of Alex
Halderman, Doc. 785-2 ¶ 15.)
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Coffee County but to all other Georgia counties too, since counties throughout the

state use the same Dominion software and the same or similar systems

configurations.” (Id.)

      In sum, Plaintiffs argue that the record shows that “[i]nherent design flaws,

critical security failings, futile protective measures, advanced persistent threats,

widely leaked voting software and data, extensive outsider access to the voting

system in its operational environment, continued use of that equipment in

subsequent elections, and persistent inaction by Defendants have manifested

Plaintiffs’ concerns to a degree that seemed unthinkable years ago.” (Curling Pls.’

Opp’n, Doc. 1636 at 72) (emphasis in original).

      Ultimately, after once again delving into the risks proposed by the current

configuration of Georgia’s BMD voting system, the Court concludes that — for

purposes of summary judgement — Plaintiffs have presented enough concrete

evidence to support CGG’s concern and fear that there is a substantial risk of injury

to its members’ right to have their votes counted as cast if they are required to vote

on Georgia’s BMD system. See City of S. Miami, 65 F.4th at 639. Because Plaintiffs

have sufficiently shown that CGG “has diverted its resources and that the injury to

the identifiable community that the organization seeks to protect is itself a legally

cognizable Article III injury that is closely connected to the diversion,” see City of

S. Miami, 65 F.4th at 638–39, they have satisfied the injury-in-fact element for

CGG’s standing.



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                              b. Traceability

      Having found that Plaintiffs presented sufficient evidence that CGG suffered

an injury in fact, the Court now considers whether CGG’s injury is traceable to the

Defendants. To meet the standing traceability requirement, a plaintiff’s claimed

injuries “must be ‘fairly traceable to the challenged action of the defendant, and

not the result of the independent action of some third party not before the court.’”

GALEO, 36 F.4th at 1115 (quoting Lujan, 504 U.S. at 560–61). To satisfy this

requirement, “a plaintiff need only demonstrate, as a matter of fact, ‘a fairly

traceable connection between the plaintiff’s injury and the complained of conduct

of the defendant.” GALEO, 36 F.4th at 1116 (quoting Charles H. Wesley Educ.

Found., Inc. v. Cox, 408 F.3d 1349, 1352 (11th Cir. 2005)) (emphasis omitted). And

when the plaintiff is an organization, the plaintiff “need only allege a drain on [the]

organization’s resources that ‘arises from the organization’s need to counteract the

defendants’ asserted illegal practices.” GALEO, 36 F.4th at 1116 (citing Browning,

522 F.3d at 1166) (internal quotation marks omitted).

      Here, the Coalition Plaintiffs contend that each set of the Defendants has

engaged in, and continues to engage in, unconstitutional conduct. According to

Plaintiffs, examples of this include: (1) the Secretary of State’s Office selecting and

approving the BMD system and continuing to maintain that system for use in

elections without providing necessary safeguards, patches, requisite monitoring

and oversight, and other intervention actions, despite known vulnerabilities and

deficiencies; (2) the SEB’s promulgation of rules and regulations pertaining to the

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implementation of that system, without taking essential corrective measures

required to address the election system’s cybersecurity, vulnerability, and in turn

reliability; and (3) the Fulton County Defendants continuing to use that system for

elections in Fulton County. Plaintiffs argue that this conduct has caused CGG to

divert significant resources from other projects, as discussed above.

      The State Defendants argue that, to the extent that CGG has been injured,

those injuries are attributable to third parties, such as third-party hackers who

Plaintiffs claim could exploit vulnerabilities in the State’s election system or rogue

election officials. In their Motion, the Fulton County Defendants argue that CGG’s

claimed injuries are not traceable to them either. Because the Secretary of State

and Board are ultimately responsible for selecting and approving the State’s

election system — which must be the same in each county under state law — the

Fulton County Defendants argue that they have no control over which election

system is used and are thus not proper parties to this case. See O.C.G.A. § 21-2-

300(a)(1) (“The equipment used for casting and counting votes in county, state,

and federal elections shall be the same in each county in this state and shall be

provided to each county by the state, as determined by the Secretary of State.”)

(emphasis added). For that reason, the Fulton County Defendants argue that to the

extent CGG has been injured, those injuries are attributable only to the State

Defendants and not to the Fulton County Defendants.

      In response to the State Defendants, the Coalition Plaintiffs argue that

CGG’s injuries are attributable to the State Defendants, and not third parties,

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because the State Defendants are the ones who are ultimately responsible for the

election system’s security and its insecurity. Regarding the Fulton County

Defendants, the Coalition Plaintiffs acknowledge that the State Defendants are

ultimately responsible for selecting the statewide election system. But they argue

that under a series of state statutory and regulatory provisions, Fulton County has

the authority to utilize HMPBs on an emergency basis as an alternative to using

the BMD system.58 The Coalition Plaintiffs claim the substantial risk that using

BMD system will violate voters’ constitutional rights qualifies as such an

emergency. And they indicate that the Fulton County Defendants have refused to

switch to a HMPB system on that basis, despite Plaintiffs’ requests.

       Regarding the BMD-related claims, the Court finds that CGG satisfied the

traceability requirement for its claims against the State Defendants based on

evidence that the State Defendants’ conduct caused CGG’s alleged diversion of

resources. See GALEO, 36 F.4th at 1116 (finding that traceability requirement was

satisfied based on allegations that defendants “engaged in illegal conduct and that

their conduct . . . caused GALEO to divert resources”). Specifically, the Court


58 See O.C.G.A. § 21-2-281 (“In any primary or election in which the use of voting equipment is

impossible or impracticable, for the reasons set out in Code Section 21-2-334, the primary or
election may be conducted by paper ballot in the manner provided in Code Section 21-2-334.”);
O.C.G.A. § 21-2-334 (“If a method of nomination or election for any candidate or office, or of
voting on any question is prescribed by law, in which the use of voting machines is not possible or
practicable, . . . the superintendent may arrange to have the voting for such candidates or offices
or for such questions conducted by paper ballots.”); Ga. Comp. R. & Regs. 183-1-12-.11(2)(c)–(d)
(“If an emergency situation makes utilizing the electronic ballot markers impossible or
impracticable, as determined by the election superintendent, the poll officer shall issue the voter
an emergency paper ballot that is to be filled out with a pen after verifying the identity of the voter
and that the person is a registered voter of the precinct. . . . The existence of an emergency
situation shall be in the discretion of the election supervisor.”).
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concludes at this juncture that Plaintiffs have sufficiently shown that CGG’s

diversion of resources is fairly traceable to the State Defendants’ selection,

implementation, and maintenance of an election system that allegedly fails to

provide CGG members with the means to cast a secure and effective vote. Although

the evidence suggests that counties59 are largely responsible for the physical

security of their own voting equipment, the State Defendants are still responsible

for selecting the voting system, maintaining its functionality, and for the overall

responsibility for management and mitigation of any system cybersecurity

vulnerabilities.60

       As the Court explained in its July 2020 Motion to Dismiss Order, the

primary source of Plaintiffs’ claimed injuries is “Defendants’ implementation of an

alleged unconstitutional voting system that is subject to the same demonstrated

vulnerabilities as the DREs and that is not a voter-verifiable and auditable paper

ballot system.” (7/30/20 MTD Order, Doc. 751 at 42.) Even if third parties

unaffiliated with the State Defendants would have to act to exploit the claimed

vulnerabilities before there was an effect on Plaintiffs’ votes, “the presence of


59 (See Feb. 24, 2022 30(b)(6) Dep. of Gabriel Sterling, Doc. 1634-53 p. 118 (“Q. Who is
responsible for securing elections, from the voting equipment to the servers to anything that
touches the election system in Georgia? A. The counties. We are responsible for our E.M.S.
[Election Management System] at our Center for Elections, but the counties secure the voting
equipment and secure their E.M.S.s.”); Feb. 11, 2022 30(b)(6) Dep. of Michael Barnes, Doc. 1634-
55 pp. 30–31 (stating that “[t]he counties are responsible for maintaining the security of their
voting equipment.”)).
60 (See Jan. 21, 2022 30(b)(6) Dep. of Derrick Gilstrap, Doc. 1630-13 p. 100 (“Q. Okay. So

regarding cyber attack vulnerabilities, Fulton County looks to Georgia Secretary of State’s Office
for guidance? Is that right? A. Yes, we do. Q. And they would look to the Secretary of State’s Office
for guidance on implementing any measures that were necessary to address cyber attack
vulnerabilities in Georgia’s election system. Is that also right? A. Yes.”))
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multiple actors in a chain of events that lead to the plaintiff’s injury does not mean

that traceability is lacking with respect to the conduct of a particular defendant.”

See Garcia-Bengochea, 57 F.4th at 927. To the extent the State Defendants have

failed to address known cybersecurity vulnerabilities on an ongoing and repeated

basis, or to implement essential auditing protocols and practices, those acts and

omissions would be plainly attributable to the State Defendants instead of third

parties, and are therefore traceable the State Defendants. (See 7/30/20 MTD

Order, Doc. 751 at 43.)

      The Court reaches a different conclusion regarding the Fulton County

Defendants. Unlike the State Defendants, the Fulton County Defendants are not

responsible for the State’s choice of voting system. Nor are the Fulton County

Defendants responsible for any unmitigated vulnerabilities in the State voting

system that may burden the voting rights of CGG members. Thus, to the extent

CGG or any other Plaintiffs have any viable claims, the proper defendants for those

claims are the State Defendants.

      In an effort to show that CGG’s claimed injuries are also attributable to the

Fulton County Defendants, the Coalition Plaintiffs rely on the theory that Fulton

County has the discretion to switch to a HMPB system in emergency situations,

including those circumstances that would pragmatically undermine citizens’

capacity to cast their votes reliably. Assuming that the violation of voters’




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constitutional rights can qualify as such an emergency,61 the existence of such an

emergency relative to the Coalition’s HMPB contention, as framed above, would

still depend on Plaintiffs’ success on the merits of their claims against the State

Defendants. Along these same lines, the Court has already rejected Plaintiffs’ prior

request for mandamus relief to require the Fulton County Defendants to switch to

a HMPB system because Plaintiffs had an alternative remedy: “injunctive relief in

connection with the Plaintiffs’ constitutional claims pursuant to § 1983.” See

Curling v. Raffensperger, 403 F. Supp. 3d 1311, 1348 (N.D. Ga. 2019). As far as the

Court is concerned, the State Defendants are the only proper Defendants for those

claims at this stage in the proceedings.62 Accordingly, Plaintiffs’ BMD-related

claims are not traceable to the Fulton County Defendants, and Fulton County’s

Motion for Summary Judgment [Doc. 1571] is therefore GRANTED.

                                  c. Redressability

       The last requirement that Plaintiffs must satisfy to establish Article III

standing is redressability, meaning that CGG’s claimed injury must be “likely to be

redressed by a favorable decision.” See Jacobson, 974 F.3d at 1245 (citing Lujan,

504 U.S. at 560–61). The State Defendants claim that CGG’s claims are not


61 The Court notes that the relevant state regulation focuses on pragmatic threats to the election

process. Thus, “the types of events that may be considered emergencies are power outages,
malfunctions causing a sufficient number of electronic ballot markers to be unavailable for use,
or waiting times longer than 30 minutes.” Ga. Comp. R. & Regs. 183-1-12-.11(2)(d). Obviously,
though, extremely long wait times and power outages or other serious malfunctions could have a
serious impact on voters’ reasonable access to the polls.
62 The Plaintiffs still retain the right to seek a state mandamus remedy in Fulton County Superior

Court pursuant to O.C.G.A. § 9-6-20 if the County refused to invoke its emergency authority to
remedy a serious operational failure in the conduct of a specific election in the County at large or
in any specific voting precinct, consistent with Ga. Comp. R. & Regs. 183-1-12-.11(2)(d).
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redressable because the threat of election manipulation cannot be completely

eliminated even under the organization’s preferred voting system — HMPBs. See

Weber v. Shelley, 347 F.3d 1101, 1106 (9th Cir. 2003) (stating that “the possibility

of electoral fraud can never be completely eliminated, no matter which type of

ballot is used”) (emphasis original). They assert that issues such as equipment

hacking, ballot security, and potential misconduct by local election officials can

still affect other voting systems, and that CGG’s members can never be absolutely

sure that their votes will be counted as cast, regardless of what election system the

State puts in place.63 But the Coalition Plaintiffs maintain that all of CGG’s injuries

would be redressed if the State Defendants were enjoined from using the BMD

system.

       The Court recognizes that no election system is flawless. However, the

inability to guarantee perfection does not prevent CGG from satisfying the

redressability requirement because CGG is not claiming that its members have a

right to a flawless election. See Curling, 334 F. Supp. 3d at 1318. Rather, as the

Court previously explained, “Plaintiffs are seeking relief to address a particular

voting system which they allege, as designed or as implemented by Defendants,

burdens Plaintiffs’ capacity to cast votes that are actually properly counted and

fails to produce a voter-verifiable auditable paper trail that is recognized as


63 The Fulton County Defendants argue that Plaintiffs’ claims against them are not redressable

because Fulton County cannot unilaterally adopt its own voting system without running afoul of
state law mandating the use of BMDs. The Court need not reach the issue of whether Plaintiffs’
BMD-related claims against the Fulton County Defendants are redressable given its conclusion
that those claims are not traceable to the Fulton County Defendants.

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essential on a national level by election security experts.” (7/30/20 MTD Order,

Doc. 751 at 44–45) (emphasis removed). In other words, “Plaintiffs are not asking

for a system impervious to all flaws or glitches.” (Id. at 45) (quoting Curling, 334

F. Supp. 3d at 1319). Instead, “[t]hey are seeking to vindicate their right to

effectively and reliably cast a verifiable vote reflective of their ballot choices.” (Id.)

      Although the Court fully acknowledges that it “does not sit as a guarantor of

a flawless election,” Ga. Shift v. Gwinnett Cnty. No. 1:19-cv-1135, 2020 WL

864938, at *6 (N.D. Ga. Feb. 12, 2020), the evidence presented by Plaintiffs at this

juncture demonstrates it is feasible to provide meaningful relief to redress the

challenged State conduct, practices, and associated harms at issue. While this relief

may not extend to a new legislative Hand Marked Paper Ballot system that

Plaintiffs seek as the gold standard, but which the legislature would have to enact,

there are remedial measures that could be implemented without the Court

invading the legislature’s sphere. Under the circumstances, the Court finds that the

redressability requirement is satisfied.

      Because Plaintiffs have adequately shown that CGG has suffered “(1) an

injury in fact that (2) is fairly traceable to the challenged action of the defendant

and (3) is likely to be redressed by a favorable decision,” Jacobson, 974 F.3d at

1245, the Court finds that CGG has provided sufficient evidence of Article III

standing for purposes of summary judgment.




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                   2.     The Remaining Plaintiffs’ Standing

      The Court now considers the remaining Plaintiffs’ standing to raise the

broader BMD claims. Plaintiffs argue that due to the “One Plaintiff Rule,” there is

no need for the Court to address whether the other Plaintiffs have standing once it

has confirmed CGG’s standing. Under this rule, “the presence of one party with

standing is sufficient to satisfy Article III’s case-or-controversy requirement” and

the Court need not determine whether other plaintiffs have standing before

proceeding to the merits of a case. See Rumsfeld v. Forum for Acad. & Institutional

Rts., Inc., 547 U.S. 47, 52 n.2 (2006); see also Fla. ex rel. Att’y Gen. v. U.S. Dep’t

of Health & Hum. Servs., 648 F.3d 1235, 1243 (11th Cir. 2011) (collecting cases)

(“The law is abundantly clear that so long as at least one plaintiff has standing to

raise each claim — as is the case here — we need not address whether the remaining

plaintiffs have standing.”) aff’d in pertinent part, rev’d in part sub nom. Nat’l

Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519 (2012). Although the State

Defendants acknowledge the foregoing authority, they argue that the Court should

decline to apply the One Plaintiff Rule in this case.

      The State Defendants first argue that the One Plaintiff Rule should only

apply when each set of Plaintiffs is seeking identical relief. As support, they point

to the Supreme Court’s decision in Town of Chester, New York v. Laroe Estates,

Inc., 581 U.S. 433 (2017). There, the Supreme Court held that even when one

plaintiff has standing, additional plaintiffs still must independently demonstrate

that they have standing “in order to pursue relief that is different from that which

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is sought by a party with standing.” Id. at 440. Stated another way, “[a]t least one

plaintiff must have standing to seek each form of relief requested in the complaint,”

and an additional plaintiff “must demonstrate Article III standing when it seeks

additional relief beyond that which the plaintiff [with standing] requests.” See id.

at 439.

       The State Defendants thus argue that the Curling Plaintiffs64 must

independently demonstrate that they have Article III standing because they are

seeking different relief than the Coalition Plaintiffs. They note that the two sets of

Plaintiffs have filed separate Complaints using different phrasing for their

requested relief, and that the Coalition Plaintiffs are seeking broader relief on

certain discrete issues — including paper backups of the pollbooks and updates to

the scanner settings. But as the Curling Plaintiffs note, each set of Plaintiffs are

seeking the same core relief: to enjoin Defendants from using the BMD system as

currently configured. It is of no consequence that the Coalition Plaintiffs are

seeking relief beyond what the Curling Plaintiffs requested because the BMD-

related relief sought by the Curling Plaintiffs is fully encompassed within the

Coalition Plaintiffs’ requested relief. Indeed, the Curling Plaintiffs are not seeking

“additional relief beyond that which the plaintiff [with standing] [here the CGG]


64 The parties focus their One Plaintiff Rule arguments on whether the Curling Plaintiffs can

proceed in the case based on the Coalition Plaintiffs’ organizational standing. However, the Court
understands that only CGG may assert organizational standing and not the other individual
Coalition Plaintiffs. Stated differently, it is “CGG” that has organizational standing and not “the
Coalition Plaintiffs” more broadly. For that reason, the Court’s consideration of the One Plaintiff
Rule has potential implications both for the Curling Plaintiffs and the individual Coalition
Plaintiffs.

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requests.” Id. In fact, it is the Coalition Plaintiffs — not the Curling Plaintiffs — that

have requested some limited additional remedial measures beyond the core relief

requested by both sets of Plaintiffs. As discussed later herein, these additional

relief requests have not been granted. Thus, the One Plaintiff Rule properly applies

here because the Curling Plaintiffs are seeking the identical core relief sought by

the Coalition Plaintiffs and have not sought relief exceeding that core relief.

      Defendants also emphasize that application of the One Plaintiff Rule is

discretionary. See Thiebaut v. Colo. Springs Utilities, 455 F. App’x 795, 802 (10th

Cir. 2011) (stating that “nothing in the cases addressing this principle suggests that

a court must permit a plaintiff that lacks standing to remain in a case whenever it

determines that a co-plaintiff has standing,” and adding that “courts retain

discretion to analyze the standing of all plaintiffs in a case and to dismiss those

plaintiffs that lack standing”) (emphasis original). They argue that there are

multiple reasons why the Court should decline to exercise its discretion here.

      First, the State Defendants argue that the One Plaintiff Rule was designed to

promote judicial efficiency, see id. (stating that the One Plaintiff Rule “encourages

judicial efficiency by permitting a court to proceed to the merits of a case involving

multiple plaintiffs seeking identical relief when it is clear that at least one plaintiff

has standing”), and that in some cases, rather than allowing all Plaintiffs to proceed

in the case, it may better serve the interest of judicial efficiency to “par[e] down a

case by eliminating plaintiffs who lack standing or otherwise fail to meet the

governing jurisdictional requirements,” see M.M.V. v. Garland, 1 F.4th 1100, 1110

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(D.C. Cir. 2021). In M.M.V. v. Garland — the case on which Defendants primarily

rely — the court refused to apply the One Plaintiff Rule because doing so would

have resulted in “more than 150 plaintiffs” proceeding with time-barred claims.

See id. at 1111. Here, there are far fewer plaintiffs than in M.M.V. Indeed, there are

only two sets of Plaintiffs, and just 8 Plaintiffs in total. The judicial efficiency

concerns at issue in M.M.V. simply are not implicated here.

      The State Defendants also argue that the One Plaintiff Rule should not apply

when “an individual plaintiff’s standing has an impact on the case in some

manner.” (State Defs.’ Reply Br., Doc. 1649 at 15–16.) In support, they cite Federal

Election Commission v. National Conservative Political Action Committee, 470

U.S. 480 (1985). There, the FEC and a group of plaintiffs affiliated with the

Democratic Party both sought declaratory relief to uphold the constitutionality of

a provision of the Federal Election Campaign Act of 1971 (“FECA”). Id. at 482–84.

The Supreme Court found that the FEC had standing based on a provision in FECA

stating that the FEC “shall have exclusive jurisdiction with respect to the civil

enforcement” of the Act. Id. at 485. But the Court declined to apply the One

Plaintiff Rule to allow the other plaintiffs to piggyback on the FEC’s standing,

because doing so “could seriously interfere with the agency’s exclusive jurisdiction

to determine how and when to enforce the Act.” See id. at 485–86. In this case,

there is no such analogous encroachment on a government agency’s exclusive

jurisdiction.



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       Last, Defendants argue that the Court should decline to apply the One

Plaintiff Rule because the two sets of Plaintiffs are represented by different

attorneys who will be separately entitled to attorney’s fees if they prevail in the

case. However, Defendants cite no authority for the proposition that the potential

for awarding multiple sets of attorney’s fees is a legitimate basis for declining to

apply the One Plaintiff Rule.

       And to the contrary, Plaintiffs have identified at least one “major voting

rights suit” — Shaw v. Hunt, 154 F.3d 161, 166 (4th Cir. 1998) — in which the court

awarded attorney’s fees to different sets of attorneys after earlier applying the One

Plaintiff Rule. See id. at 167. In Shaw, the court awarded attorney’s fees to a group

of intervenor plaintiffs following a successful challenge to North Carolina’s

congressional districts, even though the intervenors lacked standing on their own.

See id. at 163–64, 167. The court conferred the intervenor plaintiffs standing under

the One Plaintiff Rule because there was at least one plaintiff with Article III

standing and the intervenors “contributed significantly to the victory.” See id. at

167.

       Accordingly, even if some of the plaintiffs in this case were to lack

independent standing, they may still be entitled to attorney’s fees if they

significantly contributed to the Plaintiffs’ legally prevailing. Moreover, if Plaintiffs

were to prevail on the merits of their claims and the work performed by the two

sets of attorneys were truly duplicative, the Court could (and would) properly

consider whether duplication of work by the attorneys warranted a reduction of

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the fee award under 42 U.S.C. § 1988. However, this hypothetical has no bearing

on the Court’s decision to apply the One Plaintiff Rule in the first place.

       At bottom, the Court finds no basis for declining to apply the One Plaintiff

Rule in these circumstances, and therefore concludes that the remaining Plaintiffs

have standing to raise their asserted claims.

               Are Plaintiffs’ DRE Claims Moot?

       Having addressed standing, the Court is now faced with a different

jurisdictional question: whether Plaintiffs’ DRE claims are moot. “Mootness is a

jurisdictional question because the Court ‘is not empowered to decide moot

questions or abstract propositions.’” North Carolina v. Rice, 404 U.S. 244, 246

(1971) (internal quotations omitted). “[A] case is moot when it no longer presents

a live controversy with respect to which the court can give meaningful relief.” Fla.

Ass’n of Rehab. Facilities, Inc. v. State of Fla. Dep’t of Health & Rehab. Servs., 225

F.3d 1208, 1217 (11th Cir. 2000) (quoting Ethredge v. Hail, 996 F.2d 1173, 1175

(11th Cir. 1993)).

       The State Defendants argue that Plaintiffs’ DRE claims are moot because the

State has completely transitioned from the DRE system to the BMD system, as

authorized by HB 316, and because DREs have not been used in any Georgia

elections since the Court entered its PI Order in 2019.65 State Defendants also point

out that the Court has stated that it “does not intend to grant any further relief



65 They add that the current legislative scheme would prohibit the State from changing back to the

DRE system.
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relating to the use of the old DRE voting machines.” (State Defs.’ MSJ, Doc. 1567-

1 at 20) (citing 7/30/20 MTD Order, Doc. 751 at 20). They also point to the Curling

Plaintiffs’ lead counsel David Cross’s representation that all parties agree that the

Counts pertaining to the DRE claims “are moot.” (Id. at 18) (quoting 11/19/21 Hr’g

Tr., Doc. 1234 p. 73.)

      On the other side of the dispute, Plaintiffs either agree or do not dispute that

any challenge to the State’s use of DREs is moot. However, both groups of Plaintiffs

argue that the DRE claims are not totally moot to the extent that they challenge

particular components of the DRE system that were carried over to the current

BMD system: namely, the voter registration database. (Curling Pls.’ Opp’n, Doc.

1636 at 35.)

      On review, the Court finds that claims challenging the DRE voting machines

themselves — specifically Counts I and II of the Coalition Plaintiffs’ Third

Amended Complaint and Counts I and II of the Curling Plaintiffs Third Amended

Complaint — are moot. After the enactment of HB 316, the State fully transitioned

to a new voting system. This “comprehensive electoral reform[]” prevents the State

Defendants from returning to the old system even if it wanted to, rendering any

challenge to the old system moot. United States v. Georgia, 778 F.3d 1202, 1205

(11th Cir. 2015).

      While any challenge to the use of the DRE machines no longer presents a

live controversy, Plaintiffs may still challenge and present evidence on elements of

the DRE system that carried over to the BMD system, specifically evidence

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involving the voter registration database as a component of the existing voting

system and the policies and practices regarding matters such as updating of

software patches. The Court considers such evidence as reasonably within the

parameters of Plaintiffs’ substantive BMD-related claims. With the above caveat

and condition, the Court GRANTS summary judgment in favor of the State

Defendants on Counts I and II of the both the Curling and Coalition Plaintiffs’

Third Amended Complaints, i.e., the DRE claims.

             Merits of Plaintiffs’ Fundamental Right to Vote and Equal
             Protection Claims

      Having determined that the Plaintiffs have standing, the Court next assesses

Plaintiffs’ constitutional claims on the merits.

                   1.     Plaintiffs’ Constitutional Claims Challenging the
                          BMD System

      The claims remaining in this case are: the Curling Plaintiffs’ Counts III

(violation of the fundamental right to vote under the Due Process Clause of the

Fourteenth Amendment) and IV (violation of the Equal Protection Clause of the

Fourteenth Amendment), and the Coalition Plaintiffs’ Counts I (violation of the

fundamental right to vote under the First and Fourteenth Amendments) and II

(violation of the Equal Protection Clause of the Fourteenth Amendment).

      In this Circuit, courts analyze First and Fourteenth Amendment claims that

challenge election practices under the balancing test outlined by the Supreme

Court in Anderson v. Celebrezze, 460 U.S. 780 (1983) and Burdick v. Takushi, 504

U.S. 428 (1992). See Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1318


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(11th Cir. 2019). Most of the parties agree that this test should apply to each of

Plaintiffs’ constitutional claims.66 The Court is not convinced that an alternative

test should apply to any of the First and Fourteenth Amendment claims Plaintiffs

raise here, and will therefore analyze all of these claims together under the

Anderson-Burdick test.

       This test requires the Court to “weigh the ‘character and magnitude’ of the

burden that the State’s rule imposes” on Plaintiffs’ voting rights “against the

interests that the State contends justify that burden, and consider the extent to

which the State’s concerns make the burden necessary.” Timmons v. Twin Cities

Area New Party, 520 U.S. 351, 358 (1997) (citing Burdick, 504 U.S. at 434).

Ultimately, “the level of the scrutiny to which election laws are subject varies with

the burden they impose on constitutionally protected rights.” Stein v. Alabama

Sec’y of State, 774 F.3d 689, 694 (11th Cir. 2014).

       Laws that severely burden the right to vote “must be narrowly drawn to serve

a compelling state interest.” Lee, 915 F.3d at 1318 (citing Burdick, 504 U.S. at 434).

But “reasonable, nondiscriminatory restrictions that impose a minimal burden

may be warranted by the State’s important regulatory interests.” Billups, 554 F.3d

at 1352 (cleaned up). “And even when a law imposes only a slight burden on the

right to vote, relevant and legitimate interests of sufficient weight still must justify

that burden.” Lee, 915 F.3d at 1318–19 (citing Billups, 554 F.3d at 1352).


66 The Fulton County Defendants are the only party who argued that a traditional equal protection

analysis should apply to Plaintiffs’ equal protection claims instead of the Anderson-Burdick test.
As no other party asserts this argument, the Court does not address this contention.
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                             a. Anderson-Burdick Step One

      Consistent with the above authority, the Court first considers “the character

and magnitude of the burden” imposed by the allegedly unconstitutional conduct.

See Timmons, 520 U.S. at 358 (citation omitted). Here, the Court understands the

claimed constitutional burden to be the risk of harm that the current election

system’s security vulnerabilities and operational issues imposes on Plaintiffs’ right

to cast an effective, accurately counted vote. The State Defendants argue that the

BMD system imposes no constitutional burden. But Plaintiffs contend that the

burdens are severe, or at the very least, that there is a question of fact as to the

magnitude of the burden.

      In the 2020 PI Order, the Court stated that, based on the then-proffered

evidence, it viewed “the burden and the threatened deprivation as significant”

under step one of the Anderson-Burdick test. (10/11/20 PI Order, Doc. 964 at 79.)

The Court remarked that the “substantial risks and long-run threats posed by

Georgia’s BMD system” were “evident,” and included “serious system security

vulnerability and operational issues that may place Plaintiffs and other voters at

risk of deprivation of their fundamental right to cast an effective vote that is

accurately counted.” (See id. at 89, 143.) Based on the presented evidence, the

Court ultimately concluded that the Plaintiffs “put on a strong case indicating they

may prevail on the merits at some future juncture.” (Id. at 144).

      Since then, the evidentiary record in this case has grown. The 2021

Halderman Report, CISA’s 2022 security advisory corroborating the Halderman

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Report, and the revelations regarding the 2021 Coffee County voting system breach

are among the important new evidence that arguably further support the

substantial risks posed by Georgia’s BMD voting system. As the Court must view

the facts in the light most favorable to Plaintiffs on summary judgment, their

proffered evidence in support of their allegations — that the State’s election system

as currently configured presents an actual or imminent threat to Plaintiffs’

constitutional right to have their votes counted as cast — is sufficient at this stage.

Ultimately, the Court concludes that for the purpose of summary judgment, there

is a sufficient question of material fact regarding the magnitude of the burden

imposed by Georgia’s BMD voting system to warrant denial of the State

Defendants’ Motion for Summary Judgment.

      Despite the strength of the record Plaintiffs’ put forward, the State

Defendants argue that there are a variety of reasons why the Court should decline

to permit this case to proceed to trial on the merits. Upon review, none are

sufficiently persuasive as to justify granting summary judgment.

      First, the State Defendants argue that Plaintiffs cannot succeed on their due

process claims without affirmative state action. Specifically, they argue that failure

to prevent hacking or to mitigate cybersecurity vulnerabilities constitutes only

inaction by the State, which does not give rise to a colorable due process claim. The

Eleventh Circuit previously rejected this argument in the context of Plaintiffs’ DRE

claims. See Curling v. Sec’y of State of Ga., 761 F. App’x 927, 933 (11th Cir. 2019)

(explaining that the Plaintiffs challenge “both the State Defendants’ affirmative

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conduct and inaction,” and also noting that settled precedent allows for suits based

on the argument that “state officials’ inaction allegedly harms constitutional

rights”). The Court finds no basis to reach a different conclusion with respect to

Plaintiffs’ BMD claims.

      Second, the State Defendants argue that the Court should decline to hear the

case because it presents a non-justiciable political question. At least in the context

of the pollbook claim, the Eleventh Circuit has also already rejected that argument.

See Curling, 50 F.4th at 1121 n.3 (finding that the Coalition Plaintiffs’ claims do

not “present a political question beyond the Court’s reach”).

      In the current motions, the State Defendants argue that the burdens at issue

in Plaintiffs’ broader challenge to the BMD system present non-justiciable

questions because they are not the sort of burdens that would permit the Court to

engage in Anderson-Burdick balancing. In support, the State Defendants rely on a

portion of the Eleventh Circuit’s decision in Jacobson.

      There — in considering a challenge to a Florida statute governing the order

in which candidates’ names appeared on the ballot — the Eleventh Circuit found

that it was “impossible to identify a burden on voting rights imposed by the ballot

statute” that was “susceptible to the balancing test of Anderson and Burdick.”

Jacobson, 974 F.3d at 1261. The court explained that the statute was “unlike any

law that [the Eleventh Circuit] or the Supreme Court has ever evaluated under

Anderson and Burdick,” in that it did not, among other things, “make it more

difficult for individuals to vote or to choose the candidate of their choice,” “limit

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any political party’s or candidate’s access to the ballot,” or “create the risk that

some votes will go uncounted or be improperly counted.” See id. at 1261–62

(internal citations omitted). Instead, the challenged statute merely “determine[d]

the order in which candidates appear in each office block on the ballot.” Id. at 1262.

      But here, the burden Plaintiffs identify is one that Jacobson expressly

recognized as subject to balancing under Anderson and Burdick — namely, “the

risk that some votes will go uncounted or be improperly counted.” See id. at 1262.

The State Defendants’ reliance on Jacobson is therefore misplaced.

      Third, the State Defendants argue that Plaintiffs’ claims must fail because

electronic voting systems do not impose a “severe burden” simply by virtue of being

electronic. (State Defs.’ Reply, Doc. 1650 at 18). This argument is also unavailing.

       It is true that electronic voting systems are not per se unconstitutional. See

Banfield v. Cortes, 110 A.3d 155, 178 (Pa. 2015) (rejecting constitutional challenge

to Secretary of State’s decision to certify electronic voting system). But Plaintiffs

are not challenging the BMD system merely because it is electronic — they are

challenging the current configuration and implementation of Georgia’s BMD

voting system. (See 7/30/20 MTD Order, Doc 751 at 40) (“Plaintiffs challenge the

State Defendants’ implementation of a barcode-based [BMD] system with known

and demonstrated vulnerabilities contrary to the recommendations of voting

system experts that is incapable of being properly audited.”) Indeed, since the

onset of this case, Plaintiffs have presented specific evidence of data exposure

events and unaddressed system vulnerabilities in support of their claims.

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      Fourth, the State Defendants note that Plaintiffs’ policy preference for a

paper ballot system is an issue for the legislature. The Court agrees that, to the

extent Plaintiffs are seeking to have the Court order the State to switch to a HMPB

system, the Court lacks the authority to grant that specific relief. In fact, the Court

has reiterated this limitation since the earliest stages of this case. It is well

established that even if Plaintiffs prevail on their substantive claims, the Court

cannot require the State to make a statewide switch to HMPBs without

encroaching upon the State legislature’s power. See Burdick, 504 U.S. at 433–34;

Wood, 501 F. Supp. 3d at 1327–28.

      But as the Eleventh Circuit previously recognized, “Plaintiffs do not seek a

court order directing the precise way in which Georgia should conduct voting.

Instead, Plaintiffs seek only injunctive and declaratory relief against a system that

they decry as unconstitutionally unsecure.” Curling, 761 F. App’x at 934. Thus, if

the Plaintiffs succeed in challenging the State’s use of the BMD system as it is

currently configured — e.g., without implementing a software patch to address the

vulnerabilities identified by Dr. Halderman and corroborated by CISA, utilizing

QR codes that arguably enhance the risk of errors in the tabulation of Plaintiffs’

votes, and lacking sufficient audits to ensure that issues would be caught — there

may be sufficient grounds for the Court to enter injunctive relief directing the State




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Defendants to implement tailored remedial measures, given sufficient proof at

trial.67

       Fifth, the State Defendants argue that to the extent the BMD system imposes

a constitutional burden, Plaintiffs could avoid that burden simply by voting

absentee. For this argument, the State Defendants rely on the Eleventh Circuit’s

decision in New Georgia Project v. Raffensperger, 976 F.3d 1278 (11th Cir. 2020).

There, the Eleventh Circuit stayed a district court order enjoining the State from

enforcing Georgia’s “decades-old” absentee ballot deadline during the 2020

general election due to the effects of the COVID-19 pandemic. See id. at 1280, 1284.

The district court reasoned that the State’s refusal to extend the deadline

constituted a “severe” burden on voters because “a potentially substantial backlog”

of requested absentee ballots could result in some voters missing the deadline and

having their ballots rejected. See id. at 1281 (citation omitted).


67 The Court recognizes that a switch to HMPBs is Plaintiffs’ preferred remedy in this case.

However, the Curling Plaintiffs have also made it clear that a wholesale change to paper ballots is
not the only possible remedy. For example, in their Statement of Material Facts, Plaintiffs stated
that simply eliminating the QR code component of the BMD system “would somewhat mitigate”
their injuries. (Pls.’ Statement of Additional Facts, Doc. 1637 ¶ 159.)

Lead counsel for the Curling Plaintiffs, David Cross, made a similar point at oral argument. (See
5/2/23 Hr’g Tr., Doc. 1668 at ECF 17.) (“Lastly, Your Honor, while Mr. Tyson is right that
eliminating a QR code will not give us the full scope of the relief we’re asking for, it is certainly a
critical component of the relief we’re asking for. So if that is all we got — certainly we hope it is
not. We think we’re entitled to more — but that is part of the relief that we’re asking for. And I
wanted to make that clear.”).

And at least one Plaintiff has suggested that her claims might potentially be addressed if the State
Defendants performed more robust audits. (See Jan. 19, 2022 Dep. of Donna Curling, Doc. 1570-
1 at 71) (“Q. If the Court were to order — and I understand it’s a hypothetical; but if the Court were
to say we’re going to keep the BMDs as they are but order risk-limiting audits as even Dr. Stark
suggests, would your concerns about elections be resolved? . . . THE WITNESS: I would have to
think about it more deeply, but just my first impression is yes.”).
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      In granting the defendants’ motion to stay the district court’s injunction, the

Eleventh Circuit explained that under step one of the Anderson-Burdick test, “it is

just not enough to conclude that if some ballots are likely to be rejected because of

a [state election] rule, ‘the burden on many voters will be severe.’” Id. (citation

omitted). It also noted that the absentee ballot deadline was a nondiscriminatory

election rule that — like rules governing in-person and drop-box voting — imposed

a “reasonable burden” on voters to “exert some effort to ensure that their ballots

are submitted on time.” See id. at 1282, 1284. And to the extent that COVID

increased the demand for absentee ballots and risked some voters receiving their

mail-in ballots at too late a date, the Eleventh Circuit emphasized that Georgia

“provided numerous avenues to mitigate chances that voters will be unable to cast

their ballots,” including by providing the opportunity to engage in early voting, in-

person voting, or by submitting their ballot by drop box. See id. at 1281–82. Thus,

the court held that because the challenged deadline “imposes only a reasonable

burden even on absentee voters who receive their ballots later than usual, the

State’s interests easily survive the Anderson-Burdick framework.” Id. at 1282.

      Here, the State Defendants distort the Eleventh Circuit’s holding in New

Georgia Project to argue that “the widespread availability of absentee voting to all

voters including Curling Plaintiffs . . . dooms their claim” challenging the use of

Georgia’s BMD systems. (See State Defs.’ Reply, Doc. 1649 at 26). They assert that

“if the ability to vote in-person remove[d] any burden for absentee voting” in New

Georgia Project, then “surely the ability to vote absentee removes any burden for

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in-person voting” in this case. (State Defs.’ Reply, Doc. 1649 at 26.) The Court sees

several problems with this argument.

       To start, the Eleventh Circuit did not hold that, for the purposes of the

Anderson-Burdick analysis, the availability of alternative voting methods

“removes any burden” imposed on a certain voting method. Such a holding has no

basis in established case law,68 because courts — including the Eleventh Circuit in

New Georgia Project — routinely find that burdens have been imposed on one

method of voting despite the existence of other voting methods.69 See, e.g., New

Georgia Project, 976 F.3d at 1282 (recognizing that the challenged absentee ballot

deadline imposed “a reasonable burden” on absentee voters despite discussing at

length the other voting options available).

       Instead, the Eleventh Circuit’s holding in New Georgia Project is more

modest. It simply states that Georgia’s unwillingness to alter its decades-old

absentee ballot deadline to accommodate potential COVID exigencies did not

transform an otherwise “reasonable, nondiscriminatory” voting rule into a “severe”

burden on absentee voters, particularly where alternative voting methods could

help voters submit a timely vote if they received their absentee ballot too late. See

id. at 1284. The court thus concluded that the State’s administrative interests


68 And troublingly, such a rule would seem to have the perverse effect of enabling state actors to

engage in potentially antidemocratic gamesmanship with election regulations to favor certain
voting methods over others.
69 After all, a constitutional burden is still susceptible to balancing under the Anderson-Burdick

test even if it is not “severe.” See Billups, 554 F.3d at 1352 (“However slight [the] burden may
appear, ... it must be justified by relevant and legitimate state interests sufficiently weighty to
justify the limitation.” (alterations in original) (quoting Crawford v. Marion Cnty. Election Bd.,
553 U.S. 181, 191 (2008)).
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“easily” justified the “reasonable burden” the deadline imposed on absentee voters.

See id. at 1282.

      Here, Plaintiffs claim that Georgia’s current BMD voting system imposes a

severe constitutional burden on their right to have their votes accurately counted

as cast. Viewing all facts and inferences in Plaintiffs’ favor, the Court concludes

that for the purpose of summary judgment, there is a sufficient question of fact as

to the burden imposed by Georgia’s BMD voting system for this case to proceed

past summary judgment.

                              b. Anderson-Burdick Step Two

      Next, the Court considers the State’s justifications for the burdens imposed

by the BMD system and “the extent to which the State’s concerns make the burden

necessary.” See Timmons, 520 U.S. at 358. Here, it may well be that the burden is

only a “slight” one. If that is the case, “the State need not establish a compelling

interest to tip the constitutional scales in its direction.” Burdick, 504 U.S. at 439,

But no matter how slight the burden may be, “relevant and legitimate interests of

sufficient weight” must still justify it. Lee, 915 F.3d at 1318–19.

      Construing all facts and inferences in Plaintiffs’ favor, the Court concludes

that even if the BMD voting system only imposes a slight burden on Plaintiffs’

voting rights, there remains a genuine dispute of material fact as to whether the

State’s regulatory interests sufficiently justify the imposition of those burdens.

Although at this juncture the Court is not in a position to consider the weight of

the State Defendants’ proffered justifications, it notes that based on the formidable

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record Plaintiffs have assembled, it is not clear that a generically invoked

regulatory interest, such as a general interest “in conducting orderly elections,” will

be sufficient to justify the decision to maintain the current configuration of

Georgia’s BMD voting system without adopting any of remedial measures

identified by CISA, Dr. Halderman, Fortalice, or other experts.

                Remaining Components of Coalition Plaintiffs’ Claims

      Having addressed the Plaintiffs’ primary constitutional challenges to the

BMD system, the Court now turns to the Coalition Plaintiffs’ remaining theories of

constitutional violations. In conjunction with their broader challenges to the BMD

system, the Coalition Plaintiffs separately challenge other aspects of the BMD

system related to (1) ballot secrecy, (2) scanner settings used to count absentee

ballots, and (3) the voter registration database information provided by the State

to the counties by way of the pollbook and PollPads. Before diving into the merits,

the Court provides a brief procedural history of prior arguments and rulings on

these issues.

                     1.   Procedural History

      The Court first addressed these three issues upon review of the Coalition

Plaintiffs’ 2020 PI motion. In their 2020 motion, as to relief, the Coalition

Plaintiffs did not seek specific relief measures related to their ballot secrecy

arguments. As to scanner settings, the Coalition sought to require Defendants to

adjust the settings on Dominion’s optical scanners to provide more complete and

accurate capture of hand-made voting marks on absentee ballots so that these


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ballots could be properly reviewed and counted where the markings were

decipherable and manifested voter intent as to the ballot selections made. As to the

paper backup of pollbook information issue, the Coalition Plaintiffs sought to

require the Secretary of State’s Office to provide county election superintendents

with more up-to-date paper backups of the pollbook information to facilitate

efficient and accurate processing of voters at the polls and remedy the long lines

that had characterized early voting and use of the BMDs and pollbooks. (9/28/20

Paper Backup PI Order, Doc. 918 at 3; 10/11/20 PI Order, Doc. 964 at 3.)

      Upon review of the Coalition Plaintiffs’ 2020 PI motion, the Court first

concluded that the Coalition Plaintiffs had not established a likelihood of success

on the merits as to their ballot secrecy constitutional arguments.

      Second, as to the Coalition Plaintiffs’ scanner settings argument, the Court

recognized serious problems with the scanner settings used by Defendants to

capture vote selection markings on paper ballots, given the direct impact of the

scanner settings on whether paper ballot voting selections could be properly read,

and in light of Georgia law’s statutory requirement that votes “shall be counted”

where “the elector has marked [her] ballot in such a manner that [she] has

indicated clearly and without question the candidate for whom [she] desires to cast

[her] vote.” See O.C.G.A. § 21-2-438(c). The Court therefore concluded that the

Coalition Plaintiffs were entitled to injunctive relief on this issue. (10/11/20 PI

Order, Doc. 964 at 140–41.) The Court directed the Coalition Plaintiffs to submit

their own proposed injunctive relief measures as to appropriate scanner settings

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for the Court’s consideration and deferred ruling on the specifics of the injunctive

relief in the interim. (Id. at 141–42.)

        Finally, as to the third issue, the Court — by separate Order — recognized

evidence of electronic PollPad malfunctioning and inadequate paper backups of

the voter data required for processing voters expeditiously and accurately at the

polls. The Court issued an Order directing the Secretary of State to transmit paper

backups of the pollbooks to county election supervisors at the close of in-person

early voting to ensure that the paper backups would include up-to-date

information in the event of electronic PollPad failures. (9/28/20 Paper Backup PI

Order, Doc. 918 at 63–66.)

       The State Defendants subsequently appealed both the Paper Backup Order

and the Scanner Settings Order (and did so before the Court could order any relief

related to the scanner settings). On appeal, the Eleventh Circuit vacated the district

court’s Paper Backup Order and declined to address this Court’s ruling on the

scanner settings claim, as the Court had not ordered a specific remedy. See Curling

v. Raffensperger, 50 F. 4th 1114, 1125–1126 (11th Cir. 2022).70

       At summary judgment, the Coalition Plaintiffs continue to seek relief on

these issues. As such, the Court now reviews these issues anew.




70 The Coalition Plaintiffs did not file a fresh request for relief on the scanner settings issue after

the Eleventh Circuit’s ruling. While the Coalition Plaintiffs might conceivably have been waiting
for the Court to schedule a hearing on this issue, the Coalition Plaintiffs and their counsel have
never been shy about requesting hearings.
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                        2.      Ballot Secrecy

        In their First Supplemental Complaint (Doc. 628), the Coalition Plaintiffs

alleged, as a part of Counts I and II, that the BMD system burdens their right to

vote and deprives them of equal protection because it denies them the right to vote

on a secret ballot. (See e.g., id. ¶¶ 127, 129, 203, 223, 231.)71 In short, the Coalition

Plaintiffs contend that the BMD system deprives them of a secret ballot because

(1) the large, brightly-lit screens are visible to other voters and poll workers, and

(2) the ICP scanners provide certain records that, when compared to other

information (scanner voter counts, polling place video, etc.), make it possible to

match ballot images to voters. (See First Supp. Compl., Doc. 628 ¶¶ 121–129, 194,

223; Coalition Pls.’ Opp’n, Doc. 1624 at 72–73.) The Coalition Plaintiffs further

alleged that the State Defendants’ failure to ensure a secret ballot exposes them to

the “potential for identification, retaliation, and accountability based upon their

elector choices.” (Id. ¶ 127.)

        The Court previously addressed the Coalition Plaintiffs’ arguments on ballot

secrecy in its October 2020 Preliminary Injunction Order. (Doc. 964 at 89-93.)



71 The Coalition Plaintiffs also alleged that the BMD system deprived them of a secret ballot in
violation of the Georgia Constitution and Georgia statutory law in Count III, their procedural due
process claim (id. ¶ 240). In July of 2020, the Court dismissed without prejudice Count III
because the Coalition Plaintiffs did not allege “that the State Defendants have failed to provide
adequate procedures to remedy the alleged harms.” (7/30/20 Order, Doc. 751 at 49-51.) The Court
further noted that the Coalition Plaintiffs could not rely on the failure of the State Defendants to
provide due process where adequate state remedies were available in the state courts, specifically
via a writ of mandamus to address Plaintiffs’ alleged harm under Georgia law. (Id. at 50 n.28.)
Consequently, at this juncture, to the extent Plaintiffs assert that the lack of a secret ballot violates
the Georgia Constitution or Georgia statutes, such an argument is outside the scope of this case,
having been addressed and dismissed without prejudice by the Court’s prior Order.


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There, the Court denied any form of relief related to ballot secrecy because the

Coalition Plaintiffs failed to establish a likelihood of success on the merits on this

issue. (Id.) In particular, the Court noted that, although the Coalition Plaintiffs

presented some evidence of voter discomfort, they presented (1) no evidence from

any voter claiming that the publication of their vote selections subjected them to

threats, harassments, or reprisals, and (2) no evidence of “actual infringement of

voter anonymity as a result of the use of digitally recorded scanner timestamp

records.” (Id.)

      Now, in renewing this argument at summary judgment, the Coalition

Plaintiffs once again rely on affidavits from voters who have experienced

discomfort as a result of large, bright screens and also the possibility of matching

ballots to voters. (See, e.g., Jan. 31, 2023 Decl. of Virginia Forney ¶¶ 12–19 (noting

concerns related to public visibility of the touchscreens as well as the “permanent

traceable record that I’ve recently learned is available because of the non-

randomized recording of votes in the scanner”); Feb. 7, 2023 Decl. of Jeanne

Dufort, Doc. 1593 ¶¶ 16–21 (outlining “personal concerns with casting my vote

without reasonable ballot secrecy” especially “in a small county like Morgan

[County],” both as to viewability of touchscreens and ability to match a ballot

image with a voter)). The Coalition Plaintiffs have also introduced evidence that

Dr. Halderman more recently discovered a vulnerability in Dominion’s scanners

that could allow someone, theoretically, to “‘unshuffle’ ballot‐level data . . . such as

ballot images or cast vote records, and learn the order in which they were scanned,”

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and use that information to connect cast vote records to voters. (See Oct. 11, 2022

Letter from Halderman to Blake Evans, Doc. 1590-1.)

       Even accepting this evidence as true (as required at summary judgment), the

Coalition Plaintiffs still present no evidence to suggest that poll workers or

members of the public will attempt (or have attempted) to either observe their

voting selections or go through the multi-step process of associating their voting

selections with specific ballot images or cast vote records. As such, the Coalition

Plaintiffs fail to present any evidence that these potential concerns surrounding

ballot secrecy have produced any chilling effect on their ability to exercise their

rights to vote.72 In light of this dearth of evidence that the Coalition Plaintiffs’ ballot

secrecy discomforts “make it more difficult for [the Coalition Plaintiffs or their

members] to vote . . . or to choose the candidate of their choice,” they cannot

establish a legally viable burden. Jacobson, 974 F.3d at 1261.73 Absent evidence to



72 As previously discussed, Plaintiffs have presented sufficient evidence to suggest United States
and Georgia elections are targets for hacking by malicious actors — at least for purposes of
summary judgment. But the Coalition Plaintiffs have presented no evidence to suggest that
anyone — hackers, malicious poll workers, or even neighborhood busybodies — actually seek to
discover how they or their members personally voted, or that they or their members have been in
any way prevented from voting their conscience. Thus, unlike their broader challenge to the BMD
system on the ground that it creates a material risk that their votes “will go uncounted or be
improperly counted,” the Coalition Plaintiffs’ separate ballot secrecy challenges have not resulted
in any evidence of a burden on the right to vote “that is susceptible to the balancing test of
Anderson and Burdick.” Jacobson, 974 F.3d at 1261.
73 The Court, however, recognizes the reality that the large, bright screens can be seen by other

voters and poll workers. (Feb. 7, 2023 Decl. of Aileen Nakamura, Doc. 1597 ¶ 17) (“Based on my
personal observations, in every polling place I have observed, it is almost always possible to see
how voters are voting from certain angles or when one is walking past a voter, no matter the
equipment configurations attempted.”). The Court also recognizes that possible solutions to this
issue exist — such as the State’s purchase and provision of privacy screens. However, in light of
the governing legal authority, such a fix falls within the realm of the State’s administrative and
regulatory authority.
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support a legally viable burden on the Coalition Plaintiffs’ right to vote, this ballot

secrecy component of the Coalition Plaintiffs’ claims cannot proceed to trial.74

                       3.      Scanner Settings

       Next, the Court addresses the Coalition Plaintiffs’ request for relief as to ICC

scanner settings used for absentee hand ballots completed by the voter’s hand

markings. For context: without proper adjustment of scanner settings, the optical

scanners show more ballot “blanks” in each race’s voting “bubble” to be filled out

with the voter’s candidate selection. While the ballot instructions do advise voters

to fill in the ballot bubbles, Georgia law explicitly provides that voters who have

marked their choices with an X or check mark (✓) must be reviewed by the local

election office adjudication board, and if clearly reflecting voter intent, be counted

in the vote tally. See O.C.G.A. §§ 21-2-438(b)&(c)75; Ga. Comp. R. & Regs. 183-1-

15-.02(2)(2).


74 As noted above, however, the Coalition Plaintiffs’ claims and arguments that the lack of a secret

ballot violates the Georgia Constitution or Georgia law has not been adjudicated in this case, and
they therefore may further pursue those arguments in state court.
75 Sections (b) and (c) of O.C.G.A. § 21-2-438 provide as follows:



(b) At elections, any ballot marked by any other mark than a cross (X) or check (✓) mark in the
spaces provided for that purpose shall be void and not counted; provided, however, that no vote
recorded thereon shall be declared void because a cross (X) or check (✓) mark thereon is irregular
in form. A cross (X) or check (✓) mark in the square opposite the names of the nominees of a
political party or body for the offices of President and Vice President shall be counted as a vote for
every candidate of that party or body for the offices of presidential elector.

(c) Notwithstanding any other provisions of this chapter to the contrary and in accordance with
the rules and regulations of the State Election Board promulgated pursuant to paragraph (7) of
Code Section 21-2-31, if the elector has marked his or her ballot in such a manner that he or she
has indicated clearly and without question the candidate for whom he or she desires to cast his or
her vote, his or her ballot shall be counted and such candidate shall receive his or her vote,
notwithstanding the fact that the elector in indicating his or her choice may have marked his or
her ballot in a manner other than as prescribed by this chapter.
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      In the latter part of the 2020 election cycle, after complaints raised by CGG

and its members as well as national news articles about this issue, the State Board

of Elections approved a modification in the scanner settings that partially — but

not fully — addressed this important problem. (See 10/11/2020 Order, Doc. 964 at

122–23.) This resulted in a larger number of hand ballots being reviewed on the

local election board level to assess whether the voter had clearly indicated each of

his or her intended ballot selections. However, in the Coalition Plaintiffs’ view,

there remained additional software and technology issues that needed to be

addressed to ensure accurate and full reporting of the scanned hand ballot votes.

(10/11/2020 PI Order, Doc. 964 at 93–142.)

      The Coalition Plaintiffs contended in the 2020 PI proceedings, and now do

again, that the change in the scanner settings approved by the State Board of

Elections did not address the full scope of the hand marked ballots votes still being

skipped and not counted by the scanners. (Coalition Pls.’ Resp., Doc. 1624 at 74–

75.) At the PI hearing, the Coalition Plaintiffs’ expert on scanner technology, Harri

Hursti, testified that further adjustments in the scanner software were both

technically feasible and necessary to improve the quality of the scanning process

and images so as to make hand marks more clearly visible for review. These

technical adjustments would allow proper review and counting of visible additional

ballot marks as cognizable votes. (See generally 10/11/2020 PI Order, Doc. 964 at

99–104.) Mr. Hursti testified at the 2020 preliminary injunction hearing that the

ICC central count scanner “can be configured to capture higher quality and more

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information retaining images” and also is capable of producing images of a

significant higher order of magnitude than it currently produces based on

Dominion’s programming. (Id. at 126, 133–34.) As Hursti explained, “the way the

scanner is used in this environment is like driving your sports car locked on the

first gear.” (Id. at 134.) Further, Hursti explained that the central count scanner is

recording a lower quality image than it is capable of because, “as part of the

configuration, that scanner is instructed to produce low quality images with a

reduced amount of information.” (Id.)76 Hursti proceeded to make specific

remedial recommendations.

       As evidenced by its 2020 PI Order, the Court is troubled by the Defendants

having not proceeded to implement additional adjustments in their scanner

software to maximize the State’s capacity to ensure that all hand ballot votes are

properly and fully counted to the extent reasonably feasible. Indeed, the prospect

of uncounted legitimate votes resulting from use of default scanner settings that

are not sufficiently refined to properly determine voter intent on some unknown

number of hand-marked absentee ballots where there are clear markings (but the

ballot bubbles are not fully colored in) is disturbing. But, upon review of the

current record, the Court concludes that the Coalition Plaintiffs have not provided

sufficient evidence that the State’s current scanner settings for counting absentee



76 Coalition member Jeannie Dufort also testified at the 2020 hearing of her experience in feeding
a series of test hand ballots into a scanner in four possible ways and receiving different
information each time identifying different messages as to which hand votes were ambiguous.
(10/11/2020 PI Order, Doc. 964 at 104—105.)
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ballots rises to the level of a serious burden on their fundamental voting rights

sufficient to overcome the State’s regulatory interest in administering the election

using existing settings.77 Curling v. Raffensperger, 50 F.4th at 1122—25 (“[I]f

federal courts were to flyspeck every election rule . . . our enforcement practices

would bar States from carrying out their constitutional responsibility to prescribe

election rules.”)

       As the evidence demonstrates, this is a complex issue requiring further

analysis for assessing the best technical adjustments needed on the road ahead.

For that reason, among others, the Court concludes that the scanner settings issue

is best addressed by the State Election Board or through the Georgia courts based

upon the clear statutory mandates, outlined above, that seek to ensure that hand

ballots are fully reviewed for markings indicating “voter intent” and that such votes

be included in vote tallies where so warranted. While the Court recognizes why the

Coalition sought relief in connection with the scanners pursuant to their

substantive constitutional claims in this case, this portion of their relief claim rests

in large part on state law guarantees and technical issues that require follow-up.




77 As the Court noted in its prior Order (Doc. 964), the State Election Board, in September of 2020,

approved a regulation instructing that the ICC scanners be set such that “[d]etection of 20% or
more fill-in of the target area surrounded by the oval shall be considered a vote for the selection.”
(Id. at 122—23.) This was a lower percentage setting that the default setting of 35% that had
previously been used. (Id. at 101.) The burden imposed by the previous 35% setting might have
constituted a serious burden given the data presented to the State Board of Elections and later
reviewed by this Court. While the Court does not question Mr. Hursti’s expert testimony regarding
the additional software and technical modifications that could heighten the scanners’ precision,
the Court has insufficient information before it at this time to assess the scope of the impact of
the additional software modifications Mr. Hursti recommended.
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Accordingly, this Court cannot grant relief on this issue as part of the proceedings

in this case.

                       4.      Pollbooks/PollPads

       Finally, in challenging the BMD system and all its relevant components, the

Coalition Plaintiffs also raise issues related the security and reliability of Georgia’s

voter registration database, electronic pollbooks, and PollPads.78

       As refresher background information, on Election Day, the State’s primary

way of checking in voters for in-person voting “is with computer tablets containing

lists of eligible voters in each precinct. These [tablets] are also known as

‘PollPads.’” Curling v. Raffensperger, 50 F.4th at 1118. To create the PollPad

check-in lists, the State uses its electronic voter registration database. Id. Prior to

Election Day, as early voting proceeds, the voter registration database and the

PollPads are “updated to reflect whether voters have requested absentee ballots,

voted absentee, or voted early.” Id. In the event of errors or malfunctions with the

PollPads, state law requires each precinct to have a paper backup list. See Ga.

Comp. R. & Regs. 183-1-12-.19(1). Each of Georgia’s 159 counties may order its

paper backup list during a period ending the week before the election. Id. The

counties then distribute the sub-lists to their precincts. Id. But, because the paper


78 The State Defendants on one hand argue that Curling Plaintiffs’ pollbook/PollPad arguments

fall outside the bounds of this case as not properly pled in the operative complaints. The Court
has already “addressed and rejected” this argument, (See 9/28/20 Paper Backup PI Order, Doc.
918 at 4), and need not further address it here. On the flipside, the Coalition Plaintiffs argue that
the State Defendants have not addressed this “claim” in moving for summary judgment. But there
is no separate PollPad/pollbook “claim,” in this case. The Coalition Plaintiffs’ pollbook arguments
are raised as a component of their substantive constitutional claims (Counts I and II). The State
Defendants clearly moved for summary judgment in full as to both claims.
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backups have to be printed and distributed, they do not contain fully up-to-date

information come Election Day.

      In light of this problem, the Coalition Plaintiffs, at the preliminary

injunction stage, sought to require the State Defendants to push back the print date

for the paper backup lists so that the paper lists would include more up-to-date

information. After a hearing and the presentation of evidence, the Court granted

the Coalition Plaintiffs’ request for injunctive relief and ordered, among other

things, that the State provide updated paper backups at a later date. (See Doc. 918

at 64–67.) On appeal, the Eleventh Circuit vacated the preliminary injunction.

Curling, 50 F.4th at 1125. In particular, the Circuit Court concluded that the

Coalition Plaintiffs failed to demonstrate “a severe burden on the right to vote

attributable to the State’s print date for the paper backup,” and that, on the other

side of the scales, “relevant and legitimate state interests” justified the State’s

existing hard copy print date. Id. (citing “administrative factors—the need to

distribute a large number of lengthy lists while also managing other preparation

tasks in advance of Election Day”).

      Now, at summary judgment, the Coalition Plaintiffs rely, first, on the same

evidence that the Eleventh Circuit found insufficient to establish a burden that

outweighed the State’s administrative interests. In addition, the Coalition Plaintiffs

argue that new evidence supports the grant of relief here. In briefing, the Coalition

states, without citation, that “[t]he State Defendants do not update and distribute

paper pollbook back-ups when critically needed in runoff elections.” (Coalition

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Pls.’ Resp., Doc. 1624 at 77.) They also cite to new evidence that the PollPads are

connected to the internet. (Id.) (citing Lenberg's Dep Doc 1613 p. 72) (explaining

that, while at the Coffee County Elections Office, Ms. Hampton “showed me that it

was connected to the internet during its operation and that they literally could go

order Domino's Pizza and have it delivered while it was connected to the internet.”)

So, according to the Coalition, the PollPads are subject to the same cybersecurity

risks as the rest of the electronic voting machinery.

      The Court will not rehash a request for a remedy that the Eleventh Circuit

has already expressly disapproved as not justified or sufficiently tied to the voting

problems identified. Curling, 50 F.4th at 1123 (noting that “delays or wait times at

the polling places” were not sufficiently related to the fact that the State’s paper

backups were not up to date). Indeed, as the Court of Appeals noted the nature of

the curative remedy requested (i.e., the later provision of the voting information)

was distinctively administrative in character and challenged issues within the

discretion of the Secretary of State’s Office. But, to the extent the Coalition

Plaintiffs challenge the PollPads as a coordinated part of Georgia’s electronic

voting system — regardless of whether or not the Election Assistance Commission

(“EAC”) certification technically covers the PollPads (see Defs. MSJ, Doc. 1568-1

at 6) — the operation of the PollPads (or other similar devices used in their place)

remains relevant to the functioning, integrity, and reliability of the election system

challenged in this case. Evidence of this nature is plainly relevant here and can be



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presented at trial. The Court, however, will not allow the Coalition Plaintiffs to

wander into remedy turf not directly relevant to the central issues in this case.

      Conclusion

      The importance of the security, reliability, and functionality of state election

systems, classified by the U.S. Homeland Security Department as critical national

infrastructure, cannot be overstated in a world where cybersecurity challenges

have exponentially increased in the last decade. The dynamics of how a breach in

one part of a cyber system may potentially carry cybersecurity reverberations for

the entire system for years to come exemplifies the important concerns raised in

this case. The constitutional voting claims raised here involve complex evidence,

legal issues, and events, heated by the political stresses of the era. Still, the Court

reminds the reader that the fact that this Order allows Plaintiffs’ constitutional

claims to proceed to trial, with some exceptions, simply means that there are

sufficient factual disputes underlying the legal disputes here to require a trial. But,

as stated at the outset of this long Order, collaborative efforts to address the issues

raised in this case might be more productive for the public good.

      For the reasons articulated above, the State Defendants’ Motions for

Summary Judgment [Docs. 1567, 1568] are GRANTED IN PART AND

DENIED IN PART. The motions are granted as to Plaintiffs’ DRE claims (Counts

I and II of both Third Amended Complaints) but denied as to the substantive BMD

claims (Counts III and IV of the Curling Plaintiffs’ Third Amended Complaint and

Counts I and II of the Coalition Plaintiffs’ Supplemental Amended Complaint).

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Under the umbrella of the substantive BMD claims, the Coalition Plaintiffs’

collateral theories and relief requests — related to ballot secrecy, scanner settings,

and paper backups of pollbook information — are, for the most part, outside the

scope of this case, with the following express qualification:79 evidence regarding

the functioning of the pollbooks and PollPads,80 in connection with the operation

of the election system as a whole, is still relevant, as discussed in Section V.D.4.

       Additionally, as discussed herein, because the Plaintiffs’ asserted harm is not

traceable to Fulton County, Fulton County’s Motion for Summary Judgment [Doc.

1571] is GRANTED IN FULL.

       Trial is set for January 9, 2023. The current pretrial schedule is outlined

the Court’s Order of October 13, 2023. (Doc. 1700.)


                  IT IS SO ORDERED this 10th day of November, 2023.



                                            ____________________________
                                            Honorable Amy Totenberg
                                            United States District Judge




79 The Coalition Plaintiffs, however, may continue to pursue those remedies — related to ballot

secrecy, scanner settings, and pollbook paper backups — via state administrative or judicial
avenues, as discussed in Section V.D.
80 Similarly, evidence regarding any device performing the same or similar functions that

Defendants may deploy in place of, or as a supplement to, the pollbooks/PollPads is also relevant
to the issues at hand.
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